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                   EXHIBIT 1
      (FILE UNDER SEAL)
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                                                                      Page 1
                  HIGHLY CONFIDENTIAL AEO
                 UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF NEW YORK
      -----------------------------x
      VIRGINIA L. GIUFFRE,
                         Plaintiff,
              v.                  Case No:
                                  15-cv-07433-RWS

      GHISLAINE MAXWELL,

                                    Defendant.

      -----------------------------x


                            HIGHLY CONFIDENTIAL
                        DEPOSITION OF SARAH RANSOME
                            NEW YORK, NEW YORK
                        Friday, February 17, 2017




      Reported by:
      JEREMY RICHMAN
      JOB NO:  300491

                       MAGNA LEGAL SERVICES
                 320 West 37th Street, 12th Floor
                     New York, New York 10018
                         (866) 624-6221




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 1                      HIGHLY CONFIDENTIAL AEO

 2
 3
 4                                February 17, 2017

 5                                9:00 a.m.

 6
 7                      DEPOSITION of SARAH RANSOME, held

 8    at the offices of Boies, Schiller & Flexner,

 9    575 Lexington Avenue, New York, New York,

10    before JEREMY RICHMAN, a Shorthand Reporter and

11    Notary Public of the State of New York.

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                                                                      Page 3
 1                       HIGHLY CONFIDENTIAL AEO
 2    APPEARANCES:
 3
 4    BOIES, SCHILLER & FLEXNER, LLP
 5    Attorneys for plaintiff
 6             401 East Las Olas Boulevard, Suite 1200
 7             Fort Lauderdale, FL 33301-2211
 8    BY:      SIGRID STONE MCCAWLEY, ESQ.
 9             (smccawley@bsfllp.com)
10
11
12    HADDON, MORGAN AND FOREMAN, P.C
13    Attorneys for Defendant
14             150 East 10th Avenue
15             Denver, CO 80230
16    BY:      LAURA A. MENNINGER, ESQ.
17             JEFFREY S. PAGLIUCA, ESQ.
18             (lmenninger@hmflaw.com)
19             (jpagliuca@hmflaw.com)
20
21
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25




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                                                                      Page 4
 1                       HIGHLY CONFIDENTIAL AEO
 2    APPEARANCES (Continued):
 3
 4    J. STANLEY POTTINGER, PLLC
 5    Attorneys for the witness
 6              49 Twin Lakes Road, Suite 100
 7              South Salem, NY 10590
 8    BY:       J. STANLEY POTTINGER, ESQ.
 9              (stanpottinger@aol.com)
10
11
12    MINTZ & GOLD, LLP
13    Attorneys for the witness
14              600 Third Avenue
15              New York, NY 10016
16    BY:       PETER GUIRGUIS, ESQ.
17              (guirguis@mintzandgold.com)
18
19
20    ALSO PRESENT:
21    GHISLAINE MAXWELL, via teleconference
22
23
24
25




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                                                                      Page 5
 1                        HIGHLY CONFIDENTIAL AEO

 2                    IT IS HEREBY STIPULATED AND AGREED

 3    by and between the attorneys for the respective

 4    parties herein, that filing and sealing be and

 5    the same are hereby waived.

 6                    IT IS FURTHER STIPULATED AND AGREED

 7    that all objections, except as to form of the

 8    question, shall be reserved to the time of the

 9    trial.

10                    IT IS FURTHER STIPULATED AND AGREED

11    that the within deposition may be sworn to and

12    signed before any officer authorized to

13    administer an oath, with the same force and

14    effect as if signed and sworn to before the

15    Court.

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                                                                      Page 6
 1              HIGHLY CONFIDENTIAL AEO
 2                  MS. MENNINGER:           If we could
 3         have counsel enter their
 4         appearances for the record,
 5         please.
 6                  MR. GUIRGUIS:           Sure.       My
 7         name is Peter Guirguis.                I'm
 8         appearing on behalf of the
 9         witness today.
10                  MS. MCCAWLEY:           Sigrid
11         McCawley on behalf of Virginia
12         Giuffre, the plaintiff in the
13         action.
14                  MR. POTTINGER:           Stan
15         Pottinger on behalf of the
16         witness.
17                  MS. MENNINGER:           Laura
18         Menninger and Jeffrey Pagliuca on
19         behalf of Ms. Maxwell, who is
20         appearing by telephone.
21                  SARAH RANSOME, having been
22         called as a witness, having first
23         been duly sworn by a Notary
24         Public (Jeremy Richman) of the
25         State of New York, was examined




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 1                HIGHLY CONFIDENTIAL AEO
 2           and testified as follows:
 3                    EXAMINATION BY
 4                    MS. MENNINGER:
 5           Q.       Good morning, Ms. Ransome.
 6           A.       Good morning.
 7           Q.       Can you please give us your
 8    full name.
 9           A.       Sarah Emma Ashley Ransome.
10           Q.       And what is your birth date?
11           A.       13th of the 8th, 1984.
12           Q.       And what is your current
13    address?
14                    MR. GUIRGUIS:          I'm going to
15           object to current address.
16           Q.       You can answer.
17                    MR. GUIRGUIS:          You can give
18           your last permanent address.
19           A.       It was Carrer de Canuda.
20                    (An off-the-record
21           discussion was held.)
22           A.       That's Barcelona, and I
23    can't remember the post code.
24           Q.       And what does that mean,
25    that's your last permanent address?




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                                                                      Page 8
 1                HIGHLY CONFIDENTIAL AEO
 2           A.       I reside there.
 3           Q.       Do you rent an apartment?
 4           A.       My partner does.
 5           Q.       Who is your partner?
 6                    MR. GUIRGUIS:          Objection.
 7           Q.       Who is your partner?
 8                    THE WITNESS:          Do I have to
 9           answer that?
10                    MR. GUIRGUIS:          Yes.
11           A.       Peter Coulthard.
12           Q.       I'm sorry?
13           A.       Peter Coulthard.
14           Q.       How do you spell that last
15    name?
16           A.       C-O-U-L-T-H-A-R-D.
17           Q.       And how long has Peter been
18    your partner?
19                    MR. GUIRGUIS:          I'm going to
20           object.       I'm not sure what the
21           relevance of this is or where
22           you're going with this.
23           Q.       How long has Peter been your
24    partner?
25                    THE WITNESS:          Sorry, can I




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                                                                       Page 9
  1               HIGHLY CONFIDENTIAL AEO
  2          just ask a question?                I would
  3          like to just clarify.                When you
  4          say objection, does that mean I
  5          actually have to answer the
  6          question?        Because that's
  7          irrelevant.
  8                   MR. GUIRGUIS:           Right.
  9          Unless I'm telling you not to
 10          answer, you need to answer.
 11                   THE WITNESS:          So I don't
 12          need to answer?
 13                   MR. GUIRGUIS:           No, you do
 14          need to answer this.
 15          A.       Okay.      We've been together
 16    almost a year.
 17          Q.       And what is your current
 18    occupation?
 19          A.       I'm a writer.
 20          Q.       And what do you write?
 21          A.       Just stuff, you know?                Just
 22    about factual stuff.              You know, just a
 23    bit of this, bit of that.
 24          Q.       Have you been paid for any
 25    of your writing?




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                                                                   Page 10
  1               HIGHLY CONFIDENTIAL AEO
  2          A.       No.     It's more of a hobby,
  3    really.
  4          Q.       Are you employed?
  5          A.       Nope.
  6          Q.       Do you have any source of
  7    income?
  8          A.       My partner --
  9                   MR. GUIRGUIS:           I'm going to
 10          object to that.            Income is out.
 11                   You don't have to answer
 12          that.
 13          Q.       Do you have any source of
 14    income?
 15                   MR. GUIRGUIS:           I just
 16          objected to that.             You don't have
 17          to answer.
 18                   MS. MENNINGER:             Is there a
 19          privilege you're asserting?
 20                   MR. GUIRGUIS:           I'm not sure
 21          what the relevance is, and I'm
 22          not going to allow --
 23                   MS. MENNINGER:             Do you
 24          believe that relevance is a
 25          proper objection during a




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                                                                   Page 11
  1               HIGHLY CONFIDENTIAL AEO
  2          deposition?
  3                   MR. GUIRGUIS:           I believe
  4          that if you go far afield with
  5          this witness, that the judge is
  6          not going to appreciate it, and
  7          that I'm not going to just sit
  8          here and be a potted plant and
  9          allow her to answer any questions
 10          on any subject that you see fit.
 11                   MS. MENNINGER:             On
 12          relevance?         You're instructing
 13          her not to answer on a relevance
 14          objection?         Is that what you're
 15          saying?
 16                   MR. GUIRGUIS:           I just
 17          objected.
 18                   MS. MCCAWLEY:           I'm going to
 19          object on behalf of the
 20          plaintiff, Virginia Giuffre, to
 21          the extent that you're requesting
 22          from a nonparty financial
 23          information, which is not allowed
 24          under New York law.
 25                   MS. MENNINGER:             I have asked




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                                                                   Page 12
  1               HIGHLY CONFIDENTIAL AEO
  2          her whether she has any source of
  3          income, and you're going to
  4          object --
  5                   MS. MCCAWLEY:           Yes.
  6                   MS. MENNINGER:             -- and
  7          instruct her not to answer as
  8          well?
  9                   MS. MCCAWLEY:           I'm not
 10          instructing her not to answer.
 11          I'm just making a record.
 12                   MR. GUIRGUIS:           It's
 13          financial information --
 14                   MS. MENNINGER:             And whether
 15          she has a financial motive is
 16          relevant.
 17          Q.       So I'm going to ask you a
 18    last time:         Do you have any source of
 19    income?
 20                   MR. GUIRGUIS:           I'm going to
 21          instruct you again not to answer.
 22          Q.       Has any of your writing been
 23    published by anyone?
 24          A.       No.
 25          Q.       Have you sought to have your




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                                                                   Page 13
  1               HIGHLY CONFIDENTIAL AEO
  2    writing published by anyone?
  3          A.       No.
  4          Q.       What is your partner's
  5    occupation?
  6                   MR. GUIRGUIS:           Objection.
  7                   MS. MCCAWLEY:           Objection.
  8                   MR. GUIRGUIS:           I'm going to
  9          object, yeah.          Same objection.
 10                   MS. MENNINGER:             If you are
 11          going to instruct the witness not
 12          to answer, please say that
 13          contemporaneous with your
 14          objection, because there are two
 15          different things:             There are
 16          objections and instructions not
 17          to answer.
 18                   So are you instructing her
 19          not to answer what her partner's
 20          occupation is?
 21                   MR. GUIRGUIS:           Right.      Same
 22          objection.         I'm instructing the
 23          witness not to answer on the
 24          basis of both relevance and
 25          because she is a third-party non-




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  1                HIGHLY CONFIDENTIAL AEO
  2           -- I'm sorry -- nonparty witness
  3           who you are asking for financial
  4           information about --
  5                   MS. MENNINGER:             No, I asked
  6           for an occupation.
  7                   MS. MCCAWLEY:           I'm going to
  8           object.      That relates directly to
  9           financial information, so it's
 10           covered by New York law with
 11           respect to nonparty witnesses.
 12           Q.      What are the names of your
 13    parents?
 14           A.      Elizabeth Shaw and Mark
 15    Ransome.
 16           Q.      How do you spell Shaw?
 17           A.      S-H-A-W.
 18           Q.      And where do your parents
 19    live?
 20           A.      I'm not comfortable giving
 21    my mother's and my father's address to
 22    you.
 23                   MS. MENNINGER:             Are you
 24           instructing her not to answer?
 25                   MS. MCCAWLEY:           Do you want




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                                                                   Page 15
  1               HIGHLY CONFIDENTIAL AEO
  2          to confer?
  3                   MR. GUIRGUIS:           Give me a
  4          moment on this.
  5                   THE WITNESS:          We're really
  6          well organized.
  7                   (Time noted:          9:21 a.m.)
  8                   (Recess.)
  9                   (Time noted:          9:23 a.m.)
 10          Q.       Ms. Ransome, there was a
 11    question pending when you took a break
 12    with your lawyers.             Can you please
 13    answer the question.
 14                   MR. GUIRGUIS:           I'm
 15          instructing the witness not to
 16          answer questions regarding
 17          current information about her own
 18          location, her family's location,
 19          things of that nature.
 20                   The witness has expressed to
 21          me fears of harassment and the
 22          belief that she's being followed,
 23          and my understanding is that
 24          there are other witnesses that
 25          have had similar fears and




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                                                                   Page 16
  1               HIGHLY CONFIDENTIAL AEO
  2          concerns.
  3                   And unless you make some
  4          sort of proffer of the actual
  5          relevance of her parents'
  6          addresses, wherever those are,
  7          I'm not going to have her answer.
  8                   MS. MENNINGER:             Okay.    Where
  9          does that understanding come
 10          from, please, Mr. Guirguis?
 11                   Mr. Guirguis, where does
 12          your understanding come from?
 13          You just made a factual
 14          representation.            I would like to
 15          know where your understanding
 16          comes from.
 17                   MR. GUIRGUIS:           Yeah, I'm not
 18          being deposed.           I'm not going to
 19          answer your questions.
 20                   MS. MENNINGER:             All right.
 21          Q.       Ms. Ransome, did you agree
 22    to be a witness in the case of Giuffre
 23    versus Maxwell?
 24          A.       Yes.
 25          Q.       Did you voluntarily agree to




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                                                                   Page 17
  1               HIGHLY CONFIDENTIAL AEO
  2    do that?
  3          A.       Yes.
  4          Q.       Were you promised anything
  5    in exchange for your testimony in the
  6    Giuffre versus Maxwell case?
  7          A.       No.
  8          Q.       Were you provided legal
  9    counsel?
 10          A.       Sorry, does that mean --
 11                   MS. MCCAWLEY:           You have a
 12          lawyer, yes?
 13                   MR. GUIRGUIS:           Yes.
 14          A.       Yes.
 15          Q.       Okay.      How many lawyers do
 16    you have now?
 17          A.       Three.
 18                   MS. MENNINGER:             I would like
 19          the record to reflect that
 20          witness is checking with the
 21          lawyers to get answers to these
 22          questions.
 23                   MR. POTTINGER:             Wait, wait,
 24          wait.      Objection.
 25                   MR. GUIRGUIS:           There is




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  1               HIGHLY CONFIDENTIAL AEO
  2          absolutely no exchange.                   No words
  3          were spoken by --
  4                   MS. MENNINGER:
  5          Mr. Pottinger, did you put up a
  6          number of fingers?
  7                   Did you put up a number of
  8          fingers, Mr. Pottinger?
  9                   MR. POTTINGER:             You said,
 10          I'm going to object because the
 11          witness is answering these
 12          questions, in the plural.
 13                   MS. MENNINGER:             Mm-hmm.
 14                   MR. POTTINGER:             That is
 15          inaccurate.         When she looked at
 16          me to ask how many lawyers she
 17          had, I said three with three
 18          fingers.        That is a single
 19          request on her part and a single
 20          answer, not multiple.
 21                   MS. MENNINGER:             No.     She has
 22          looked to her lawyers for
 23          previous answers.
 24                   We'll just make a record as
 25          we go along.          Thank you.




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  1               HIGHLY CONFIDENTIAL AEO
  2                   MS. MCCAWLEY:           You could
  3          have had a videotape here so that
  4          we would have a record of that,
  5          because I think your verbal
  6          record is inaccurate, so...
  7                   MR. POTTINGER:             And, in
  8          fact, she -- this is Mr.
  9          Pottinger speaking.
 10                   And, in fact, she has not
 11          looked at me during this
 12          deposition except one time, which
 13          was for what I took to be a
 14          request to know how many lawyers
 15          she has.
 16                   MS. MENNINGER:             So are you
 17          being deposed, Mr. Pottinger?
 18                   MR. POTTINGER:             I am not.
 19          Q.       Ms. Ransome, how many
 20    lawyers do you think you have?
 21          A.       Three.
 22          Q.       Can you please name them?
 23          A.       Peter, Sigrid and Stan.
 24          Q.       Is Mr. Bradley Edwards
 25    representing you?




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  1               HIGHLY CONFIDENTIAL AEO
  2          A.       Yes.
  3          Q.       Is Mr. Paul Cassell
  4    representing you?
  5          A.       No.
  6          Q.       Is Mr. David Boies
  7    representing you?
  8          A.       Yes.
  9                   MS. MCCAWLEY:           I just want
 10          to be clear for the record if
 11          you're talking about representing
 12          generally or you're talking about
 13          a particular matter.                Because we
 14          have a couple matters.
 15                   MS. MENNINGER:             I'm asking
 16          questions here.
 17                   MS. MCCAWLEY:           No, I
 18          understand that you have to make
 19          the record clear --
 20                   MS. MENNINGER:             Ms.
 21          McCawley, if you want to ask her
 22          questions later, you are more
 23          than welcome to do so.                I am
 24          going to ask questions of the
 25          witness I am deposing.




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                                                                   Page 21
  1               HIGHLY CONFIDENTIAL AEO
  2                   MS. MCCAWLEY:           Well, we want
  3          the record to be clear that there
  4          are more than one action --
  5                   MS. MENNINGER:             You can ask
  6          questions when you're doing your
  7          questioning.          I'm doing my
  8          questioning now, and so I will
  9          ask the questions.
 10                   MS. MCCAWLEY:           I'm going to
 11          object.       The record should be
 12          clear there is more than one
 13          action pending here.                She is
 14          represented here as a nonparty
 15          witness, and she also has her own
 16          action pending.
 17                   MR. PAGLIUCA:           Thank you for
 18          that speaking objection, Ms.
 19          McCawley, and communicating that
 20          information to the witness, which
 21          you know is totally improper.
 22                   MS. MCCAWLEY:           Now, that's
 23          two people objecting right now.
 24          Is it going to be Laura taking
 25          this deposition or you, Jeff?




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  1               HIGHLY CONFIDENTIAL AEO
  2          You guys have done this to me
  3          before, and it's not a position
  4          where you're allowed to object
  5          and she's allowed to object.                   You
  6          guys pulled that at the last
  7          deposition, so please do not do
  8          this here.
  9                   MR. PAGLIUCA:           I was just
 10          thanking you.
 11          Q.       All right.         So the number of
 12    lawyers we're up to so far is
 13    Mr. Guirguis, Ms. McCawley,
 14    Mr. Pottinger, Mr. Edwards, Mr. Boies.
 15                   That's five, correct?
 16          A.       Can I just ask you a
 17    question?
 18          Q.       No, you cannot.
 19          A.       Okay.
 20          Q.       Are those five lawyers that
 21    are representing you?
 22                   MR. GUIRGUIS:           Objection.
 23          Q.       Yes or no?
 24          A.       Yes.
 25          Q.       All right.         Anyone else




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  1                HIGHLY CONFIDENTIAL AEO
  2    representing you?
  3           A.      No.
  4           Q.      Ms. Schultz?          Is
  5    Ms. Meredith Schultz representing you?
  6           A.      No.
  7           Q.      How much are you paying for
  8    any of those lawyers?
  9           A.      It's on a pro-bono basis.
 10           Q.      Do you know what each of
 11    those lawyers' normal hourly rates
 12    are?
 13           A.      No.
 14           Q.      Do you know how many hours
 15    you have spent with your attorneys?
 16           A.      No.
 17                   MR. GUIRGUIS:           Objection.
 18           Q.      How many hours have you
 19    spent with Mr. Guirguis?
 20                   MR. GUIRGUIS:           Objection.
 21           Q.      Without communicating to me
 22    any information you and he have
 23    shared.
 24           A.      A few, maybe.
 25           Q.      How many?




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  1               HIGHLY CONFIDENTIAL AEO
  2          A.       About 11 hours in total.
  3          Q.       When is the first time that
  4    you met Mr. Guirguis?
  5                   MR. GUIRGUIS:           Objection.
  6                   MS. MCCAWLEY:           You can
  7          answer.
  8                   MR. GUIRGUIS:           You can
  9          answer.
 10          A.       Yesterday.
 11          Q.       You met Mr. Guirguis
 12    yesterday?         Was that your answer?
 13          A.       Yes.
 14          Q.       And who is paying for
 15    Mr. Guirguis's fees, if you know?
 16          A.       I have a pro-bono
 17    arrangement.
 18          Q.       Do you know if he's
 19    receiving money from anyone else in
 20    exchange for representing you?
 21          A.       No.
 22          Q.       No, you don't know, or no,
 23    he is not?
 24          A.       I don't know.
 25          Q.       How many hours have you




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                                                                   Page 25
  1               HIGHLY CONFIDENTIAL AEO
  2    spent with Ms. McCawley?
  3          A.       Can I just clarify that
  4    question?        Does that mean on the
  5    phone?      Like what are you referring
  6    to, in person or --
  7          Q.       Either one.          How many hours,
  8    how much time have you spent with
  9    Ms. McCawley in person?
 10          A.       I met with Ms. McCawley for
 11    the first time in person yesterday,
 12    but I've spent -- yeah, we've been --
 13    Ms. McCawley was the first person I
 14    actually spoke to.
 15          Q.       And how many hours have you
 16    spent with her on the phone?
 17          A.       Many, many hours.
 18          Q.       Approximately how many?
 19          A.       I don't know.
 20          Q.       Five?
 21                   MR. GUIRGUIS:           Objection.
 22          A.       More than five.
 23          Q.       Ten?
 24                   MR. GUIRGUIS:           Objection.
 25          Q.       Ten?




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                                                                   Page 26
  1               HIGHLY CONFIDENTIAL AEO
  2          A.       Well, 10, 15.           She's been
  3    with me the whole way since when I
  4    came forward, so she's been a very
  5    prominent person.
  6          Q.       And when did you first speak
  7    with her on the phone?
  8          A.       I think it was --
  9          Q.       Without telling me what you
 10    said.
 11          A.       I think it was November.
 12          Q.       November what?
 13          A.       I can't remember the date.
 14          Q.       Early November?            Late
 15    November?
 16                   MR. GUIRGUIS:           Objection.
 17          A.       I can't remember.
 18          Q.       Was she speaking to you on
 19    your cell phone or a landline?
 20          A.       Cell phone.
 21          Q.       A mobile number or a
 22    landline?
 23          A.       A cell phone.
 24          Q.       Okay.      And what's that cell
 25    phone number?




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                                                                   Page 27
  1               HIGHLY CONFIDENTIAL AEO
  2          A.       I don't have it anymore.
  3          Q.       That's okay.          What's the
  4    cell phone number?
  5          A.       I actually don't know.                I
  6    can't remember my cell phone number.
  7    I don't have anything with me, so I
  8    can't remember that number offhand.
  9          Q.       How long did you have that
 10    cell phone?
 11          A.       About eight months.
 12          Q.       What happened to it?
 13          A.       I got rid of it.
 14          Q.       Why?
 15          A.       Because I fear for my life
 16    because of Jeffrey Epstein and
 17    Ghislaine Maxwell.
 18          Q.       What did you do with it?
 19          A.       I sold it.
 20          Q.       When?
 21          A.       November.
 22          Q.       Before or after you first
 23    spoke with Ms. McCawley?
 24          A.       Before.
 25          Q.       So then how did you speak




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                                                                   Page 28
  1               HIGHLY CONFIDENTIAL AEO
  2    with Ms. McCawley over the phone?
  3          A.       On my partner's cell phone.
  4          Q.       What's his cell phone
  5    number?
  6                   MS. MCCAWLEY:           Objection.
  7          What's the relevance of her
  8          partner's cell phone?
  9                   Again, this is irrelevant.
 10          It's harassing.            It's -- you're
 11          seeking information to be able
 12          to -- the witness has already
 13          expressed fear about her --
 14          people currently going after her.
 15          So we would object to that
 16          intimidation of a nonparty
 17          witness.
 18          Q.       What is your partner's cell
 19    phone number?
 20                   MR. GUIRGUIS:           I'm directing
 21          the witness not to answer.
 22          Q.       How many hours have you
 23    spent speaking with Mr. Pottinger?
 24          A.       I've been speaking to
 25    Mr. Pottinger from November.




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                                                                   Page 29
  1               HIGHLY CONFIDENTIAL AEO
  2          Q.       When in November?
  3          A.       I can't remember.
  4          Q.       On your same cell phone that
  5    you got rid of?
  6          A.       No, on my partner's cell
  7    phone.
  8          Q.       And when did you first meet
  9    Mr. Pottinger in person?
 10          A.       It was in the beginning of
 11    January.
 12          Q.       And where was that meeting?
 13          A.       Barcelona.
 14          Q.       Where in Barcelona?
 15          A.       Barcelona.         It's Barcelona.
 16    We meet -- I can't remember the area.
 17          Q.       In a restaurant?            In a
 18    hotel?      In an office?
 19          A.       In a hotel.
 20          Q.       And how long did you spend
 21    with Mr. Pottinger on that occasion?
 22          A.       Two days.
 23          Q.       How many hours over the two
 24    days?
 25          A.       Gosh, about 16.




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                                                                   Page 30
  1               HIGHLY CONFIDENTIAL AEO
  2          Q.       How many hours did you spend
  3    with Mr. Edwards?
  4                   MS. MCCAWLEY:           Objection.
  5          A.       The same amount.
  6          Q.       He was with Mr. Pottinger?
  7          A.       Yeah, yes.
  8          Q.       And Mr. Boies, how much time
  9    have you spent with Mr. Boies?
 10          A.       I haven't spent any time
 11    with him yet.
 12          Q.       Have you met him?
 13          A.       No.
 14          Q.       Have you spoken to him on
 15    the phone?
 16          A.       No.
 17          Q.       And you have not paid any
 18    money for any of those lawyers' time,
 19    correct?
 20          A.       Yes.
 21          Q.       In addition to your free
 22    legal counsel, were you given anything
 23    else in exchange for your agreement to
 24    be a witness in this case?
 25                   MR. GUIRGUIS:           Objection.




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                                                                   Page 31
  1               HIGHLY CONFIDENTIAL AEO
  2          A.       No.
  3          Q.       Did you fly over here?
  4          A.       Yes.
  5          Q.       From Barcelona?
  6          A.       Yes.
  7          Q.       Did you pay for the plane
  8    ticket?
  9          A.       Yes.
 10          Q.       How much was the plane
 11    ticket?
 12          A.       It was -- I think it was
 13    1,000 -- it was 1,000 -- I can't
 14    remember the exact total.
 15          Q.       Has anyone agreed to
 16    reimburse you for that?
 17          A.       No.
 18          Q.       And you're staying where
 19    while you're here?
 20                   MR. GUIRGUIS:           Objection.
 21                   And direct you not to answer
 22          that.
 23          Q.       Are you staying in a hotel
 24    while you're here?
 25                   MR. GUIRGUIS:           You can




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                                                                   Page 32
  1               HIGHLY CONFIDENTIAL AEO
  2          answer that.
  3          A.       Yeah.
  4          Q.       Are you paying for that?
  5                   MR. GUIRGUIS:           Objection.
  6                   I'm directing you not to
  7          answer.
  8                   MS. MCCAWLEY:           You can
  9          answer.
 10                   MR. GUIRGUIS:           I think you
 11          can answer.
 12                   MS. MCCAWLEY:           Yeah, I think
 13          you can answer.
 14                   MR. GUIRGUIS:           That's fine.
 15          I agree.
 16                   MS. MCCAWLEY:           You're a
 17          nonparty witness.             You can answer
 18          that question.
 19                   MS. MENNINGER:             Who is --
 20                   MS. MCCAWLEY:           I am
 21          representing Virginia.                He is
 22          representing the witness.
 23                   MS. MENNINGER:             Well, you're
 24          representing the witness as well,
 25          right?




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                                                                   Page 33
  1               HIGHLY CONFIDENTIAL AEO
  2                   MS. MCCAWLEY:           I'm not.
  3                   MS. MENNINGER:             Well, did
  4          you just tell her she can answer
  5          a question?
  6                   MS. MCCAWLEY:           I did.
  7          Q.       Are you paying for the
  8    hotel?
  9          A.       No.
 10          Q.       Who's paying for the hotel?
 11          A.       It's on expenses, I think,
 12    of a witness.          It's expenses from --
 13    yeah, I don't know, actually.
 14          Q.       You don't know who is paying
 15    for your hotel?
 16          A.       No.
 17          Q.       It's not you?
 18          A.       No.
 19          Q.       And how much per night is
 20    your hotel?
 21          A.       I have no idea.
 22          Q.       How long are you staying
 23    here on this trip?
 24          A.       Just for the deposition.
 25          Q.       Okay.      When did you arrive?




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                                                                   Page 34
  1               HIGHLY CONFIDENTIAL AEO
  2          A.       It was Tuesday, late Tuesday
  3    night.
  4          Q.       And when are you leaving?
  5          A.       Tomorrow evening.
  6          Q.       In addition to your legal
  7    counsel and your hotel, is there
  8    anything else you've been given in
  9    exchange for your --
 10          A.       No.
 11          Q.       -- to be a witness in this
 12    case?
 13                   You have to wait for me to
 14    finish my question before you answer.
 15          A.       Sorry.
 16          Q.       Have you been given anything
 17    else?
 18          A.       No.
 19          Q.       Have you been promised
 20    anything else?
 21          A.       No.
 22          Q.       Have you been promised that
 23    you would have counsel to help you
 24    bring a lawsuit against a number of
 25    people?




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                                                                   Page 35
  1               HIGHLY CONFIDENTIAL AEO
  2                   MS. MCCAWLEY:           Objection.
  3                   To the extent this gets into
  4          attorney/client privileged
  5          information, you're not allowed
  6          to answer.
  7          Q.       Have your lawyers agreed to
  8    bring a lawsuit on your behalf against
  9    a number of people?
 10          A.       Yes.
 11          Q.       And are you paying for that
 12    counsel?
 13          A.       No.
 14          Q.       Have you reached any
 15    agreement about a contingency fee for
 16    that case?
 17          A.       Can you explain what
 18    contingency means?             Sorry.
 19          Q.       Do you expect to receive
 20    money as a result of that lawsuit?
 21          A.       Oh, no.       No.
 22          Q.       You're not asking to receive
 23    any money as a result of that lawsuit?
 24          A.       No.     No.
 25          Q.       All right.          So have you had




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                                                                   Page 36
  1               HIGHLY CONFIDENTIAL AEO
  2    any agreements regarding writing a
  3    book --
  4          A.       No.
  5          Q.       -- about your experience?
  6                   You have to wait for me to
  7    finish my question.
  8                   Have you had any agreements
  9    with your lawyers about media rights
 10    in any form?
 11                   MR. GUIRGUIS:           Objection to
 12          the extent that you're asking
 13          about communications with the
 14          attorneys.
 15                   MS. MENNINGER:             I'm asking
 16          about her arrangement with her
 17          attorneys, which is not
 18          privileged.
 19          A.       Can you please repeat the
 20    question.
 21          Q.       Have you reached any
 22    agreement with your attorneys
 23    regarding media rights for your story?
 24          A.       No.
 25          Q.       Have you talked to anyone




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                                                                   Page 37
  1                HIGHLY CONFIDENTIAL AEO
  2    about publishing anything relating to
  3    your story?
  4           A.      Can you repeat the question,
  5    please.
  6                   MS. MENNINGER:             Can you read
  7           it back.
  8                   (Requested portion of the
  9           record was read back.)
 10           A.      Yes, I have.
 11           Q.      Who have spoken to?
 12           A.      The New York Post.
 13           Q.      Who at the New York Post?
 14           A.      Maureen Callahan.
 15           Q.      And when did you speak with
 16    her?
 17           A.      I think it was later
 18    October.
 19           Q.      Have you spoken with her
 20    since?
 21           A.      No.
 22           Q.      And how long did you speak
 23    to her?
 24           A.      I spoke to her for, gosh,
 25    about 30 minutes on the phone once.




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                                                                   Page 38
  1               HIGHLY CONFIDENTIAL AEO
  2          Q.       And what was -- what did you
  3    tell her in your phone call?
  4          A.       I told her what Jeffrey
  5    Epstein and Ghislaine Maxwell did to
  6    me and the other girls.
  7          Q.       Did she give you any money
  8    in exchange for that interview?
  9          A.       No.
 10          Q.       Did she publish anything
 11    related to that interview?
 12          A.       No.
 13          Q.       How did you get in touch
 14    with Ms. Callahan?
 15          A.       I emailed after I read an
 16    article that she had written about
 17    Jeffrey Epstein, and the last sentence
 18    was -- it was on the 16th of October,
 19    and one of the last sentences I
 20    remember was, will we ever know the
 21    true extent of Jeffrey Epstein's
 22    victims.       And I wrote her after that
 23    because, well, it still continues,
 24    doesn't it.
 25          Q.       Where is the email that you




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                                                                   Page 39
  1               HIGHLY CONFIDENTIAL AEO
  2    wrote her?
  3          A.       It's on a -- it's on my
  4    computer.
  5          Q.       Okay.      In your Yahoo
  6    account?
  7          A.       Yes.
  8          Q.       Did you have any agreement
  9    with her to have any additional
 10    conversation?
 11          A.       Yes.
 12          Q.       And what was that agreement?
 13          A.       It wasn't an agreement per
 14    such.      What actually happened was I
 15    came forward.          As soon as I came
 16    forward, there was -- where I live in
 17    Barcelona, there's quite a lot -- it's
 18    quite busy traffic with people.
 19                   I came forward to Maureen
 20    Callahan.        I wanted to tell my story,
 21    and I want to run a campaign in which
 22    all the girls that have been abused by
 23    Ghislaine and Jeffrey can come
 24    forward.       And I wanted to run a
 25    campaign with the New York Post to get




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                                                                     Page 40
  1               HIGHLY CONFIDENTIAL AEO
  2    these girls to have the courage to
  3    come forward, because I know a lot of
  4    them are frightened like myself.
  5                   The email correspondence I
  6    had with Maureen Callahan, she was
  7    going away or something and she was
  8    going to write a piece in the New York
  9    Post about my story.              During that time
 10    it was the elections, so there was a
 11    lot more other things going on.
 12                   There were two people
 13    following me after I came forward to
 14    Maureen Callahan.            I went to -- I
 15    walked downstairs.             I walked around --
 16    I have a usual routine that I do.                        In
 17    the morning I went out, I saw the same
 18    two people.         Later on that afternoon,
 19    I saw the same two people again.                     I
 20    was frightened.           I'm frightened for my
 21    life, absolutely frightened.                   So there
 22    you go.
 23                   So that's what I was --
 24    communication stopped between Maureen
 25    Callahan and I.           I got really angry




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                                                                   Page 41
  1                HIGHLY CONFIDENTIAL AEO
  2    with Maureen because she had obviously
  3    told someone.          Being the New York
  4    Post, so, you know.
  5           Q.      So you had an email to
  6    Ms. Callahan and an email back from
  7    her?
  8           A.      Yes.
  9           Q.      More than one?
 10           A.      Yes.
 11           Q.      How many?
 12           A.      I can't remember.
 13           Q.      More than ten or less than
 14    ten?
 15           A.      Less than ten.
 16           Q.      And you had one phone call
 17    with her or more than one?
 18           A.      Just one.
 19           Q.      And it lasted about 30
 20    minutes?
 21           A.      About that.
 22           Q.      And was that also on the
 23    cell phone that you got rid of?
 24           A.      That was on my partner's
 25    cell phone.




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                                                                   Page 42
  1               HIGHLY CONFIDENTIAL AEO
  2          Q.       And what had you read in the
  3    press that caused you to get in touch
  4    with Ms. Callahan?
  5                   MS. MCCAWLEY:           Objection to
  6          form.      Go ahead.
  7          A.       You can read the article
  8    yourself.        It's on the 16th of
  9    October, there's an article in the New
 10    York Post written by Maureen Callahan.
 11    You can read it.            And that's what
 12    inspired me to come forward.
 13          Q.       What do you recall about
 14    that article?
 15          A.       Oh, I can't remember.               The
 16    one thing I do remember is the last
 17    sentence of the article, which has
 18    stuck with me and quite prominent, and
 19    that is, will we ever know the true
 20    extent of Jeffrey Epstein's victims.
 21          Q.       Do you recall anything else
 22    about the article?
 23          A.       It's just the same.              When I
 24    read the article, the stuff that I had
 25    experienced myself with Jeffrey, it's




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                                                                    Page 43
  1               HIGHLY CONFIDENTIAL AEO
  2    just same old stuff, just continuing.
  3    I thought he had stopped abusing
  4    girls.
  5          Q.       What do you recall reading a
  6    article that Jeffrey Epstein was
  7    doing?
  8          A.       I can't remember.
  9          Q.       Anything at all?
 10          A.       You can read the article.                 I
 11    can't remember.
 12          Q.       The question is what you
 13    remember.
 14          A.       I can't remember.
 15          Q.       You remember nothing else
 16    about the article --
 17                   MS. MCCAWLEY:           Asked and
 18          answered objection.
 19          Q.       -- except it was related to
 20    Jeffrey Epstein and it ended with the
 21    sentence that you've described?
 22                   MS. MCCAWLEY:           Objection,
 23          asked and answered.
 24          A.       Yes.
 25          Q.       What do you know about other




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                                                                   Page 44
  1               HIGHLY CONFIDENTIAL AEO
  2    girls being frightened?
  3          A.       I know that the girls on the
  4    island and in New York during my time
  5    with Jeffrey and Ghislaine, that they
  6    were frightened.
  7          Q.       Okay.      What are the names of
  8    those girls?
  9          A.       Natalya Malyshev.
 10    -- I don't know her surname.                   I can't
 11    remember her surname.
 12          Q.       How do you spell the first
 13    name?
 14
 15
 16
       guess,
       think.
             A.
                      -      -- I'm just taking a
                                   , I'm guessing, I


 17                   MR. GUIRGUIS:           I'm going to
 18          remind the witness I told her not
 19          to speculate, but that's okay.
 20          Q.       In addition to Natalya
 21    Malyshev and                   , what are the
 22    names of the other girls who you
 23    believe are frightened?
 24          A.       Jennifer.         There were a
 25    couple other girls I met during my




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                                                                    Page 45
  1               HIGHLY CONFIDENTIAL AEO
  2    time with Ghislaine and Jeffrey that
  3    were frightened.
  4          Q.       What were the names of the
  5    girls that you met that were
  6    frightened?
  7          A.       There was Jennifer,                       ,
  8    Natalya Malyshev.            And there were two
  9    other girls, I can't remember their
 10    names.
 11          Q.       Okay.      Please describe them.
 12          A.       The -- describe all the
 13    girls or --
 14          Q.       No.     We're talking about the
 15    girls that you met on the island that
 16    you described as frightened.
 17          A.       Okay.      On the island --
 18                   MR. GUIRGUIS:           Objection.
 19          You seem to be suggesting that
 20          all those girls are from the
 21          island.        I'm not sure that's the
 22          testimony.
 23          Q.       All right.         You said girls
 24    on the island and in New York who are
 25    frightened.          I asked you for their




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  1               HIGHLY CONFIDENTIAL AEO
  2    names.
  3                   You gave me three, correct?
  4          A.       Yes.
  5          Q.       You said there were two
  6    others, correct?
  7          A.       Mm-hmm.
  8          Q.       What did those two other
  9    girls look like?
 10          A.       I can't really remember.
 11    One had blonde hair; long, blonde
 12    hair.
 13          Q.       Anything else about that?
 14          A.       I can't remember.
 15          Q.       The other girl, can you
 16    remember her hair color?
 17          A.       No, I can't remember.
 18          Q.       Do you know the height of
 19    either one of them?
 20          A.       No, I can't remember.
 21          Q.       Do you have a photograph of
 22    either one of them?
 23          A.       No.
 24          Q.       And where did you meet these
 25    two other girls?




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  1               HIGHLY CONFIDENTIAL AEO
  2          A.       In New York.
  3          Q.       Where in New York?
  4          A.       I can't remember.
  5          Q.       You don't know the location
  6    at all?
  7          A.       No.     It was ten years ago.
  8          Q.       Was it in a home or in a
  9    commercial setting?
 10          A.       I met girls commercially and
 11    in home settings.
 12          Q.       Where did you meet these two
 13    other girls you described as being
 14    frightened?
 15          A.       I can't remember.
 16          Q.       What is Jennifer's last
 17    name?
 18          A.       I don't know.
 19          Q.       What does Jennifer look
 20    like?
 21          A.       She's got long, blonde hair.
 22          Q.       How long?
 23          A.       Long, long hair.
 24          Q.       Longer than your hair now?
 25          A.       I think so.          I think it was




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                                                                   Page 48
  1               HIGHLY CONFIDENTIAL AEO
  2    longer.
  3          Q.       So middle of her back?
  4          A.       I can't -- I can't remember
  5    on how long her hair is.
  6          Q.       Where did you meet Jennifer?
  7          A.       I met Jennifer first in New
  8    York.
  9          Q.       Where in New York?
 10          A.       I can't remember.
 11          Q.       Anywhere in New York?               You
 12    can't remember at all?
 13          A.       I can't remember the
 14    location.
 15          Q.       Was it at Mr. Epstein's
 16    home?
 17                   MR. GUIRGUIS:           Objection.
 18          You have asked her now almost 20
 19          questions about where she met
 20          these girls, and she has
 21          consistently said that she does
 22          not remember.
 23          Q.       Was it in Mr. Epstein's
 24    home?
 25          A.       No.




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                                                                   Page 49
  1               HIGHLY CONFIDENTIAL AEO
  2          Q.       Was it at a club?
  3                   MR. GUIRGUIS:           Are we going
  4          to spend seven hours with her
  5          saying I can't remember where she
  6          met these two girls?
  7          Q.       Was it at a club?
  8          A.       One was at a club.
  9          Q.       Which one?
 10          A.       Natalya Malyshev.
 11          Q.       Where did you meet                       ?
 12          A.       I first met                     on the
 13    island.
 14          Q.       Did you meet her a second
 15    time?
 16          A.       Yes.
 17          Q.       Where did you meet her the
 18    second time?
 19          A.       I can't remember.
 20          Q.       State?
 21          A.       Can't remember.
 22          Q.       Country?
 23          A.       Well, U.S.
 24                   THE WITNESS:          Sorry, can I
 25          have a break?          I actually need to




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                                                                   Page 50
  1               HIGHLY CONFIDENTIAL AEO
  2          go to the bathroom.              Sorry.
  3                   MS. MENNINGER:             Yes, I don't
  4          think I have a question pending.
  5          We'll go off the record now.
  6                   (Time noted:          9:52 a.m.)
  7                   (Recess.)
  8                   (Time noted:          10:07 a.m.)
  9          Q.       So I want to return to your
 10    conversations with Ms. Callahan,
 11    conversation with Ms. Callahan.
 12                   Did you have any further
 13    communications with her after the
 14    phone call you described?
 15          A.       There were, I think, a few
 16    emails exchanged, but nothing ever
 17    came about it.
 18          Q.       And, again, those are emails
 19    from your Yahoo account?
 20          A.       Yes.
 21          Q.       Did you ask Ms. Callahan for
 22    compensation in exchange for your
 23    story?
 24                   MS. MCCAWLEY:           Objection,
 25          asked and answered.




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                                                                   Page 51
  1               HIGHLY CONFIDENTIAL AEO
  2          A.       No.
  3          Q.       Had you seen any other
  4    stories in the press about Jeffrey
  5    Epstein?
  6          A.       Through the last ten years,
  7    I've seen a few articles written about
  8    Jeffrey Epstein.
  9          Q.       What do you recall about
 10    those articles?
 11          A.       The way he used to abuse
 12    girls.      Basically articles written
 13    very similar to my own story -- well,
 14    identical, so...
 15          Q.       And have you written down
 16    your story?
 17          A.       No.
 18          Q.       Nowhere?
 19          A.       No.
 20          Q.       Did you see any articles
 21    about Virginia Roberts?
 22          A.       Yes.
 23          Q.       Which articles did you see
 24    about Virginia Roberts?
 25          A.       I can't remember.             It was




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                                                                   Page 52
  1               HIGHLY CONFIDENTIAL AEO
  2    quite some time ago.
  3          Q.       What do you recall about it?
  4          A.       She came forward and I
  5    was -- it was a few years ago that she
  6    came forward, and her story was
  7    exactly the same as mine.
  8                   I can't remember
  9    specifically what article I read, but
 10    every single article I did read during
 11    the duration of that time, she
 12    experienced the same thing I did.
 13                   So it was more or less the
 14    same context and it's the same story
 15    in all articles, really.
 16          Q.       So you were reading these
 17    articles over the course of a period
 18    of ten years, you think?
 19          A.       Yeah.      I didn't pay much
 20    attention to it because I've spent the
 21    last ten years trying to get over that
 22    experience, and I've been frightened
 23    to come forward.
 24          Q.       And when you read the
 25    articles, you noticed that there were




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                                                                   Page 53
  1               HIGHLY CONFIDENTIAL AEO
  2    details that you thought were similar
  3    to your experience?
  4                   MS. MCCAWLEY:           Objection.
  5          A.       They were details that were
  6    exactly the same as what I had
  7    experienced.
  8          Q.       Do you know whether anyone
  9    else had brought lawsuits against
 10    Mr. Epstein?
 11          A.       No.
 12          Q.       Did you save any of these
 13    articles that you read?
 14          A.       Sorry, can you repeat that.
 15          Q.       Did you save any of the
 16    articles that you read?
 17          A.       No.
 18          Q.       Where did you grow up?
 19          A.       I grew up in South Africa.
 20    I then finished school in Scotland.
 21          Q.       When did you move to
 22    Scotland?        How old were you?
 23          A.       I was 14.
 24          Q.       Did your family move to
 25    Scotland or just you?




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                                                                   Page 54
  1               HIGHLY CONFIDENTIAL AEO
  2          A.       Just myself.
  3          Q.       Are you a South African
  4    citizen?
  5          A.       Yes.
  6          Q.       Do you have a South African
  7    passport?
  8          A.       Well, yeah.          It was stolen.
  9    I'm reapplying for a new one.                   I have
 10    to renew my South African passport.
 11    It was stolen.           South Africa for you.
 12          Q.       So when did you get that
 13    South African passport?
 14          A.       I can't remember.             I've had
 15    a South African passport my whole
 16    life, so...
 17          Q.       And when was it stolen?
 18          A.       I think it was 2014, 2015.
 19          Q.       So you were born in South
 20    Africa, you're a South African
 21    citizen, and you had a South African
 22    passport your whole life.
 23                   Have I got that right?
 24          A.       Mm-hmm.
 25          Q.       Yes or no?




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                                                                   Page 55
  1               HIGHLY CONFIDENTIAL AEO
  2                   MR. GUIRGUIS:           Objection to
  3          form.
  4                   You can answer.
  5          A.       Yes.
  6          Q.       Did you also have a British
  7    passport?
  8          A.       Yes.
  9          Q.       How did that come about?
 10          A.       My mom's side of the family
 11    is British.
 12          Q.       And when did you get a
 13    British passport?
 14          A.       I think when I was about
 15    five.
 16          Q.       Do you have a dual
 17    citizenship?
 18          A.       Yes.
 19          Q.       And do you travel using both
 20    passports?
 21          A.       It's really complicated.                 I
 22    only use my South African passport
 23    when I enter into South Africa.                    So
 24    that's the only time I use my South
 25    African passport, then.




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  1               HIGHLY CONFIDENTIAL AEO
  2                   Other than that, I use my
  3    British passport for all other
  4    transportation.           Because South Africa
  5    you need, like, a visa; it's really
  6    complicated.          So I'm lucky I've got a
  7    British passport.
  8          Q.       It's easier to travel on a
  9    British passport than a South African
 10    passport?
 11          A.       Yeah, a lot easier.              A lot
 12    easier.
 13          Q.       All right.         Did you have any
 14    siblings growing up?
 15          A.       Yes.
 16          Q.       How many?
 17          A.       I've got one real older
 18    brother and then I've got a half
 19    younger brother and a half younger
 20    sister.
 21          Q.       Did you all grow up in the
 22    same home?
 23          A.       No.
 24          Q.       Who did you grow up in the
 25    same home with?           I don't need their




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                                                                   Page 57
  1               HIGHLY CONFIDENTIAL AEO
  2    names, but just the people you just
  3    described.
  4                   MR. GUIRGUIS:           Objection.
  5                   You can answer.
  6          A.       I grew up with my mom and my
  7    stepdad, and my brother was just
  8    entering boarding school.
  9                   And then I lived with my
 10    auntie and uncle in Scotland.
 11          Q.       And cousins?
 12          A.       Yeah, and cousins.              One
 13    cousin.
 14          Q.       And how long did you attend
 15    school in Scotland?
 16          A.       About three years.
 17          Q.       Did you graduate?
 18          A.       Yep, yes.
 19          Q.       Is that the equivalent of
 20    our high school?
 21          A.       Yeah, it is.
 22          Q.       Did you go to college?
 23          A.       I went to university to
 24    study psychology and sociology.
 25          Q.       Where did you go?




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                                                                    Page 58
  1               HIGHLY CONFIDENTIAL AEO
  2          A.       Queen Margaret University in
  3    Edinburgh.
  4          Q.       Did you graduate?
  5          A.       No, I didn't.
  6          Q.       Did you go to that college
  7    immediately after graduating from high
  8    school?
  9          A.       No.
 10          Q.       When did you go to that
 11    college?
 12          A.       2004.
 13          Q.       And how long did you stay at
 14    Queen Margaret college?
 15          A.       A year and a half.
 16          Q.       Why did you leave college?
 17          A.       I chose the wrong course.                 I
 18    didn't -- I didn't really agree with
 19    what I was being taught in sociology,
 20    so I quit.
 21          Q.       During the time you were in
 22    college, did you work?
 23          A.       Yes.
 24          Q.       Where did you work?
 25          A.       I was a waitress at a bar.




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                                                                   Page 59
  1               HIGHLY CONFIDENTIAL AEO
  2          Q.       Anything else?
  3          A.       No.
  4          Q.       Have you ever been married?
  5          A.       No.
  6          Q.       Have you ever been engaged?
  7          A.       Yes.
  8          Q.       To whom?
  9          A.       Peter Coulthard.
 10          Q.       Your current partner?
 11          A.       Yes.
 12          Q.       Anyone else?
 13          A.       Yes, I have.
 14          Q.       Who else have you been
 15    engaged to?
 16                   MS. MCCAWLEY:           Objection.
 17                   MR. GUIRGUIS:           Objection.
 18          A.       I don't really see the
 19    relevance in that.
 20          Q.       Who else have you been
 21    engaged to?
 22          A.       Andrew Ralph.
 23          Q.       Was he listed in your
 24    passport?
 25          A.       Yes.




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  1               HIGHLY CONFIDENTIAL AEO
  2          Q.       Anyone else?
  3          A.       Listed on my passport?
  4    Sorry.
  5          Q.       Have you been engaged to
  6    anyone else?
  7          A.       Oh, sorry.         I've got a
  8    really bad train...              No.
  9          Q.       During what period of time
 10    were you engaged to Andrew Rolph?
 11          A.       I can't remember.
 12          Q.       Was it before 2006 or after?
 13          A.       After.
 14          Q.       How long after?
 15          A.       Three years.
 16          Q.       Did you know Mr. Rolph
 17    during 2006?
 18          A.       It's Ralph, sorry.
 19    R-A-L-P-H.
 20                   Vaguely, vaguely.             We lost
 21    contact.
 22          Q.       When did you lose contact?
 23          A.       In 2006.
 24          Q.       And when did you reestablish
 25    contact?




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                                                                   Page 61
  1               HIGHLY CONFIDENTIAL AEO
  2          A.       2008.
  3          Q.       Do you go by any other
  4    names?
  5          A.       No.
  6          Q.       Do you go by SarahEmmaAshley
  7    online?
  8          A.       I don't think so.             I don't
  9    know.
 10          Q.       On Twitter?
 11          A.       I don't have any social
 12    media platforms, so I can't remember.
 13          Q.       Have you ever gone by
 14    SarahEmmaAshley, all one word, on
 15    Twitter?
 16          A.       I can't remember.
 17          Q.       Do you have any tattoos?
 18          A.       Yes.
 19          Q.       Where?
 20          A.       One here.
 21          Q.       Indicating on your arm?
 22          A.       Indicating on my arm, sorry.
 23    No camera.
 24                   Yes, I have one, two, three
 25    four.




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  1               HIGHLY CONFIDENTIAL AEO
  2          Q.       Where is the second one?
  3          A.       I've got four.
  4          Q.       All right.         Just tell me
  5    where they are.
  6          A.       One is on my arm, one is on
  7    my right hip, one's on my upper bikini
  8    line on my right inner thigh, and I've
  9    got one on my left side on my rib
 10    cage.
 11          Q.       Okay.      Have you had them for
 12    a long time?
 13          A.       I've had -- hang on.               Two I
 14    have had for a long time.
 15          Q.       Which ones are they?
 16          A.       The scorpion on my right hip
 17    and my Leo symbol on my bikini line.
 18          Q.       Have you ever obtained a
 19    college degree?
 20          A.       No.
 21          Q.       Have you ever gone back to
 22    college?
 23          A.       I have tried to.            I wanted
 24    to.
 25          Q.       When did you do that?




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  1               HIGHLY CONFIDENTIAL AEO
  2          A.       When I moved to New York.
  3          Q.       In 2006?
  4          A.       Correct.
  5          Q.       Any other time?
  6          A.       Well, recent.           I mean, I'm
  7    going back to university next year, so
  8    I'm currently relooking at colleges.
  9    I'm going back to do my psychology
 10    degree.
 11          Q.       Where?
 12          A.       I haven't decided yet
 13    because I'm looking for an open degree
 14    -- well, sorry, home learning, so I
 15    haven't found somewhere yet.                   But I'm
 16    currently going -- well, my aim is to
 17    go back to university and get
 18    qualified.
 19          Q.       Between 2006 and today, have
 20    you applied to any other colleges?
 21          A.       No.
 22                   Oh, yes.        Sorry, can you
 23    repeat the question?              Sorry.
 24                   MS. MENNINGER:             He can read
 25          it back.




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  1               HIGHLY CONFIDENTIAL AEO
  2          A.       Yes.      Yes.
  3          Q.       Okay.      When did you apply to
  4    colleges between 2006 and today?
  5          A.       It was 2006.
  6          Q.       Is that FIT?
  7          A.       That's correct.
  8          Q.       Anywhere else?
  9          A.       No.
 10          Q.       Other than working as a
 11    waitress at a bar during college in
 12    2004-2005, what other employment have
 13    you had?
 14          A.       I have worked in
 15    hospitality.          I've worked in
 16    superyachting, those wealthy people
 17    that have superyachts.               I used to work
 18    for them.        I have done modeling.               And
 19    I can't remember any...
 20          Q.       Did you have a modeling
 21    agent?
 22          A.       I did in Scotland.
 23          Q.       In college?
 24          A.       Mm-hmm, that's correct.
 25          Q.       Any other time?




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  1               HIGHLY CONFIDENTIAL AEO
  2          A.       No.
  3          Q.       And what type of modeling
  4    was that?
  5          A.       Just commercial.
  6          Q.       Print?
  7          A.       Yep.
  8          Q.       Runway?
  9          A.       Yep.
 10          Q.       TV or ads?
 11          A.       No.
 12          Q.       And all in Scotland?
 13          A.       No.
 14          Q.       Where else did you model?
 15          A.       New York.
 16          Q.       Anywhere else?
 17          A.       No.
 18          Q.       London?
 19          A.       Oh, yeah, I did, sorry.                I
 20    did do modeling, a bit of modeling in
 21    London.
 22          Q.       All right.         When did you do
 23    modeling in New York?
 24          A.       During -- when I first
 25    arrived in New York in 2006.




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  1               HIGHLY CONFIDENTIAL AEO
  2          Q.       How much money did you make
  3    as a model?
  4                   MR. GUIRGUIS:           Objection.
  5          A.       I can't remember.
  6          Q.       When did you work in
  7    superyachting?
  8          A.       I can't remember.             About
  9    2011.      About 2011.
 10          Q.       And when did you work in
 11    hospitality?
 12          A.       I've worked in hospitality
 13    my whole life.           I've worked in -- I
 14    mean, hospitality, I've either done
 15    bar work, waitressing, superyachting,
 16    yeah.
 17          Q.       So on and off?
 18          A.       Yeah, on and off.
 19          Q.       And since you were an adult?
 20          A.       And since I was an adult, I
 21    worked in corporate jobs as well.
 22          Q.       Where did you work in
 23    corporate jobs?
 24          A.       In South Africa.
 25          Q.       And just so I understand,




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  1               HIGHLY CONFIDENTIAL AEO
  2    you lived in Scotland from the ages of
  3    14 to 22?
  4          A.       That's correct.
  5          Q.       And then where did you move?
  6          A.       To New York.
  7          Q.       And how long did you live in
  8    New York?
  9          A.       About seven, eight months.
 10          Q.       And where did you move?
 11          A.       Back in London.
 12          Q.       And how long did you live in
 13    London?
 14          A.       Well, I lived in the UK.
 15    Because I moved around a few times, so
 16    I didn't just specifically live in
 17    London.       But I was in the UK about
 18    2012.
 19          Q.       And then where did you move?
 20          A.       I then went into the
 21    superyachting industry, so I didn't --
 22    I lived on a boat in Italy and south
 23    of France.
 24          Q.       Did you work for a company?
 25          A.       I worked for a private




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  1               HIGHLY CONFIDENTIAL AEO
  2    owner.
  3          Q.       On one yacht?
  4          A.       On multiple yachts.
  5          Q.       And what was your job?
  6          A.       Stewardess -- stewardess,
  7    and then I was a deckhand.
  8          Q.       With wine?
  9          A.       Sorry?
 10          Q.       What's a decant?
 11          A.       A deckhand.
 12                   MS. MCCAWLEY:           D-E-C-K.
 13                   THE WITNESS:          Sorry.
 14                   MS. MENNINGER:             Oh,
 15          deckhand.        I thought you were
 16          decanting wine.            It's a pretty
 17          good job.
 18          Q.       Who is the owner of the
 19    ship?
 20          A.       I'm not allowed to specify.
 21          Q.       Do you have a
 22    confidentiality agreement?
 23          A.       I did sign a confidentiality
 24    agreement when I started employment.
 25          Q.       And how long were you




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  1               HIGHLY CONFIDENTIAL AEO
  2    employed in superyachting?
  3          A.       Two and a half years.
  4          Q.       Okay.      And what did you do
  5    after that?
  6          A.       I moved back to Cape Town.
  7          Q.       So that was in 2014?
  8          A.       I can't remember the
  9    specific dates or year.
 10          Q.       Between 2014 and 2016?
 11          A.       I've moved 47 times, so I
 12    can't remember.
 13          Q.       You can't remember what year
 14    you moved back to Cape Town?
 15          A.       No.
 16          Q.       Okay.      And who did you live
 17    with when you moved back to Cape Town?
 18          A.       Myself.
 19          Q.       And how long did you live
 20    there?
 21          A.       Four years.
 22          Q.       And you, when did you move
 23    after that?
 24          A.       December.         Yeah, it was
 25    December 2015.           Sorry.      It was




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  1               HIGHLY CONFIDENTIAL AEO
  2    December 2015.
  3          Q.       Where did you move?
  4          A.       I moved from Cape Town to
  5    London.
  6          Q.       And how long did you live
  7    there?
  8          A.       Three months.
  9          Q.       And then where did you move?
 10          A.       Barcelona.
 11          Q.       So in March 2016?
 12          A.       Sorry, no, just hang on.
 13    Sorry.      I moved to Barcelona around
 14    June, June last year.
 15          Q.       2016 June?
 16          A.       Yeah.
 17          Q.       You moved to Barcelona?
 18          A.       Yeah.
 19          Q.       When you came to the U.S.,
 20    you said that was in 2006?
 21          A.       Correct.
 22          Q.       And who did you come with?
 23          A.       Myself.
 24          Q.       And who paid for your plane
 25    ticket?




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  1               HIGHLY CONFIDENTIAL AEO
  2          A.       Myself.
  3          Q.       Why did you come?
  4          A.       I wanted to advance my
  5    career.
  6          Q.       What year?
  7          A.       I wanted to go to FIT
  8    university.
  9          Q.       Did you have a student visa
 10    when you came in 2006?
 11          A.       No.
 12          Q.       Had you applied to FIT when
 13    you came to New York in 2006?
 14          A.       No.
 15          Q.       Did you have a job when you
 16    came here in 2006?
 17          A.       No.
 18          Q.       Where did you stay when you
 19    got here in 2006?
 20          A.       The Upper East Side.
 21          Q.       With whom?
 22          A.       It was just a housemate,
 23    house.
 24          Q.       What was that person's name?
 25          A.       Chris.




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  1               HIGHLY CONFIDENTIAL AEO
  2          Q.       How do you spell Chris?
  3          A.       C-H-R-I-S.
  4          Q.       And what's the last name of
  5    Chris?
  6          A.       I can't remember.
  7          Q.       Male or female?
  8          A.       Male.
  9          Q.       How old?
 10          A.       I think he was in his 40s.
 11          Q.       And how did you meet Chris?
 12          A.       I met Chris just via -- I
 13    met him when -- why can't I remember?
 14    I think, yeah, I was looking for an
 15    apartment when I got here so it was
 16    just a -- like, we just kind of met on
 17    the Upper East Side and, yeah, I said
 18    I was looking for somewhere to stay.
 19          Q.       Did you pay rent?
 20          A.       Yes.
 21          Q.       How much did you pay?
 22          A.       I can't remember.
 23          Q.       A thousand dollars?
 24                   MR. GUIRGUIS:           Objection.
 25          A.       I think it was less than




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                                                                   Page 73
  1               HIGHLY CONFIDENTIAL AEO
  2    that.
  3          Q.       Did you have your own
  4    bedroom?
  5          A.       No.
  6          Q.       Was Chris the only other
  7    occupant?
  8          A.       There was another guy.
  9          Q.       Did you share a bed with
 10    anyone at that house?
 11          A.       With Chris.
 12          Q.       Were you in a relationship
 13    with Chris?
 14          A.       No.
 15          Q.       You slept in a bed with
 16    Chris in the apartment on the Upper
 17    East Side?
 18          A.       That's correct.
 19          Q.       What was the address of that
 20    apartment?
 21          A.       I can't remember.
 22          Q.       Do you have any way of
 23    reaching Chris now?
 24          A.       No, no, I don't.
 25          Q.       Do you know approximately




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                                                                   Page 74
  1               HIGHLY CONFIDENTIAL AEO
  2    where in New York it was besides the
  3    Upper East Side?
  4          A.       I just remember it being in
  5    the Upper East Side.              I can't remember
  6    the exact location.
  7          Q.       Any of the cross-streets?
  8          A.       I went there the other day,
  9    and it looks -- it looks familiar.                      I
 10    can't -- I can't remember
 11    specifically.
 12          Q.       You went to the apartment
 13    the other day?
 14          A.       No, I didn't go to the
 15    apartment the other day.                  I went to
 16    the Upper East Side yesterday -- the
 17    other day, sorry.            But I can't
 18    remember where the apartment was, no.
 19          Q.       Was it a walkup or a doorman
 20    or elevator kind of building?
 21          A.       It was an elevator building.
 22          Q.       Was there a doorman?
 23          A.       No.
 24          Q.       What floor were you on?
 25          A.       I can't remember.




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                                                                   Page 75
  1               HIGHLY CONFIDENTIAL AEO
  2          Q.       And you don't remember how
  3    you met Chris?
  4                   MR. GUIRGUIS:           Objection.
  5          A.       I met loads of people during
  6    that time.         I can't specifically
  7    remember how I met every individual.
  8          Q.       And in the same house, there
  9    was Chris and another guy?
 10          A.       That's correct.
 11                   MS. MCCAWLEY:           Objection,
 12          misstates --
 13          Q.       Do you remember the other
 14    guy's name?
 15          A.       I can't remember.
 16          Q.       How long did you live with
 17    Chris and the other guy?
 18          A.       For a -- I think it was a
 19    couple months until I moved.
 20          Q.       And where did you move?
 21          A.       To Jeffrey Epstein's
 22    apartment.
 23          Q.       What was the address to
 24    that?
 25          A.       I think it was 2000 -




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                                                                   Page 76
  1               HIGHLY CONFIDENTIAL AEO
  2    sorry -- 205 East.             It was Midtown
  3    somewhere.
  4          Q.       I'm sorry, what?
  5          A.       It was sort of Midtown.                I'm
  6    not familiar with New York because I
  7    haven't been here and I don't live
  8    here.      It was kind of Midtown, his
  9    apartment.
 10          Q.       Okay.
 11          A.       If I recall, yeah.
 12          Q.       So it's 205 East something?
 13          A.       It's East -- it's East
 14    something.         It was the same -- it was
 15    the same apartment building that Nadia
 16    lived in, because we lived in the same
 17    building.
 18          Q.       Did you live in the same
 19    apartment?
 20          A.       No.
 21          Q.       Did you have your own
 22    apartment?
 23          A.       Yes.
 24          Q.       How big was the apartment?
 25          A.       It was massive.




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                                                                   Page 77
  1               HIGHLY CONFIDENTIAL AEO
  2          Q.       How many bedrooms did it
  3    have?
  4          A.       I can't remember.             I can't
  5    remember.        I can't --
  6          Q.       Two or seven?
  7          A.       I just -- I remember just
  8    the -- like, the living room, and it
  9    was very spacious.
 10          Q.       Can you draw a picture of
 11    the layout of it?
 12          A.       I wouldn't remember the
 13    layout.       There was -- I remember like
 14    a pale blue decor.
 15          Q.       And no one else lived there
 16    with you?
 17          A.       No.
 18          Q.       And you don't know how many
 19    bedrooms?
 20          A.       I can't remember how many
 21    bedrooms there were.
 22          Q.       Was there a doorman?
 23          A.       Oh, I can't remember.
 24          Q.       Was it a walkup or elevator?
 25          A.       Elevator.




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                                                                   Page 78
  1               HIGHLY CONFIDENTIAL AEO
  2          Q.       What floor were you on?
  3          A.       I can't remember.
  4          Q.       Approximately when did you
  5    move into this apartment?
  6          A.       It was not long after I
  7    moved in with Chris.              About two
  8    months, I think.            About two months, I
  9    think, roughly.
 10          Q.       So you lived with Chris for
 11    about two months and then you moved
 12    into this other apartment?
 13          A.       That's correct.
 14          Q.       And how much were you paying
 15    for this new apartment?
 16          A.       Oh, it was Jeffrey's.               I
 17    didn't pay a single thing.
 18          Q.       And who else lived in the
 19    apartment building?
 20          A.       Quite a -- gosh.            A few,
 21    actually.        I recall Nadia.
 22          Q.       Do you know Nadia's last
 23    name?
 24          A.       I can't remember her last
 25    name, Nadia's last name.




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                                                                   Page 79
  1               HIGHLY CONFIDENTIAL AEO
  2          Q.       Okay.      Who else?
  3          A.       There were a few other
  4    girls.      I can't remember their names.
  5          Q.       None of them?
  6          A.       No.     It was a long time ago.
  7          Q.       What did they look like,
  8    these other names you can't remember?
  9          A.       I can't remember.             There
 10    were so many.          There were so many
 11    girls, a constant influx of girls.
 12          Q.       How many?
 13                   MS. MCCAWLEY:           Objection.
 14          A.       I can't remember.
 15          Q.       50?
 16                   MR. GUIRGUIS:           Objection.
 17          A.       I can't remember.
 18          Q.       A hundred?
 19                   MR. GUIRGUIS:           Objection.
 20          A.       I can't remember.
 21          Q.       Can you say if it was more
 22    than a thousand or less?
 23                   MR. GUIRGUIS:           Objection.
 24          A.       I can't remember.
 25          Q.       You can't remember if it was




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                                                                   Page 80
  1               HIGHLY CONFIDENTIAL AEO
  2    more than a thousand?
  3          A.       I can't remember.
  4                   MR. GUIRGUIS:           Objection.
  5                   MS. MCCAWLEY:           Objection.
  6          This is harassing.
  7                   MR. GUIRGUIS:           Objection.
  8          We're crossing a line here.
  9                   MS. MENNINGER:             Okay.    I'm
 10          asking if she can remember if it
 11          was more than a thousand or less.
 12                   MS. MCCAWLEY:           But you
 13          haven't defined it.              You're not
 14          saying where.          In the apartment?
 15          In general when she met with
 16          Jeffrey?        I mean --
 17                   MS. MENNINGER:             I'm asking
 18          her -- she said there were so
 19          many women that were influx in
 20          the apartment, and I'm asking how
 21          many.
 22                   MS. MCCAWLEY:           She didn't
 23          say in the apartment.                Go back
 24          and look at the testimony.
 25                   THE WITNESS:          In the




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                                                                   Page 81
  1               HIGHLY CONFIDENTIAL AEO
  2          building.
  3          Q.       Right.       In the building.
  4    How many females did you meet in the
  5    building?
  6                   MR. GUIRGUIS:           Objection.
  7          A.       I can't remember.
  8          Q.       And can you say it was more
  9    or less than one thousand?
 10                   MR. GUIRGUIS:           Objection.
 11          A.       It was less than a thousand
 12    girls.
 13          Q.       Was it less than a hundred?
 14          A.       Yes, it was less than a
 15    hundred.
 16          Q.       Was it less than 50?
 17          A.       I can't remember.
 18          Q.       Apart from Nadia, can you
 19    name any other one of the females that
 20    you met in the apartment building?
 21                   MR. GUIRGUIS:           Objection.
 22          A.       I can't remember.
 23          Q.       Can you describe any of
 24    them?
 25                   MR. GUIRGUIS:           Objection.




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                                                                   Page 82
  1               HIGHLY CONFIDENTIAL AEO
  2          A.       I can't remember.
  3          Q.       Did you do any employment
  4    while you were here in the U.S. in the
  5    fall of 2006?
  6                   MR. GUIRGUIS:           Objection.
  7          A.       I did freelance modeling.
  8          Q.       Who did you do that for?
  9          A.       Various photographers.
 10          Q.       Do you have those
 11    photographs still?
 12          A.       No.
 13          Q.       Do you have a portfolio?
 14          A.       I used to have one.
 15          Q.       Do you currently have a
 16    modeling portfolio?
 17          A.       No.
 18          Q.       Do you have any of your
 19    modeling photos?
 20                   MS. MCCAWLEY:           Objection,
 21          asked and answered.
 22          A.       Yeah, I got a couple.
 23          Q.       Where are they?
 24          A.       At home.
 25          Q.       In Barcelona?




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                                                                   Page 83
  1               HIGHLY CONFIDENTIAL AEO
  2          A.       That's correct.
  3          Q.       Are they on a computer?
  4          A.       No.
  5          Q.       When you came to the U.S. in
  6    the fall of 2006, was there a limit on
  7    how long you could stay here?
  8                   MR. GUIRGUIS:           Objection.
  9          A.       Yes, there was.
 10          Q.       What was that?
 11          A.       It was a three-month tourist
 12    visa.
 13          Q.       Were you permitted to be
 14    employed while you were here on a
 15    tourist visa?
 16                   MR. GUIRGUIS:           Objection.
 17          Hold on a second.
 18                   MS. MENNINGER:             I don't know
 19          what kind of visa she was on.
 20          I'm just asking the question.
 21                   MR. GUIRGUIS:           I don't -- I
 22          don't know why her visa status is
 23          relevant or why we're going to
 24          get into things that Mr. Trump
 25          might be interested in, so I'm




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                                                                   Page 84
  1               HIGHLY CONFIDENTIAL AEO
  2          not going to have her sit here
  3          and testify about whether she was
  4          complying with immigration law or
  5          not.
  6                   MS. MENNINGER:             Is she
  7          taking the Fifth Amendment?
  8                   MR. GUIRGUIS:           I'm just not
  9          sure that you need to ask the
 10          question.
 11                   MS. MENNINGER:             Well, I did
 12          ask the question.             I want to know
 13          if she was permitted, on the type
 14          of visa she came in on the fall
 15          of 2006, to engage in paid
 16          employment.
 17                   MR. GUIRGUIS:           Okay.       Now
 18          that I hear the question, you can
 19          answer it if you know the answer.
 20          A.       No.
 21          Q.       No, you were not permitted
 22    to do paid employment, correct?
 23          A.       That's correct.
 24          Q.       You did paid employment
 25    while you were here on the tourist




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                                                                   Page 85
  1               HIGHLY CONFIDENTIAL AEO
  2    visa, correct?
  3          A.       I wouldn't quite say -- I
  4    kind of -- I wasn't that great at it,
  5    so I didn't make a lot of money doing
  6    modeling.        I was too fat, apparently.
  7    So I wouldn't say I milked the bank
  8    there.
  9                   (An off-the-record
 10          discussion was held.)
 11          A.       Milked the bank with my
 12    modeling -- amazing modeling career.
 13          Q.       So you came over in order to
 14    further your education, I think you
 15    testified to earlier, correct?
 16          A.       That's correct.
 17          Q.       So while you were here
 18    during those three months -- was it
 19    three months you said, at first, on
 20    the tourist visa?            Correct?
 21          A.       Yes, yeah.
 22          Q.       When you were here those
 23    first three months, what did you do to
 24    further your education?
 25          A.       I started looking at




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                                                                   Page 86
  1               HIGHLY CONFIDENTIAL AEO
  2    universities or colleges, researching
  3    what was the right one for me to go
  4    to.
  5                   By that stage, I -- I've
  6    always been interested in the fashion
  7    industry, designing, clothes
  8    designing.         And New York was -- well,
  9    this is the place to be for it.
 10                   So, yeah, I did quite a lot
 11    of research on which university, what
 12    kind of people were there and
 13    etcetera, so...
 14          Q.       How were you supporting
 15    yourself while you were living in New
 16    York during the three-month period
 17    after you initially arrived?
 18          A.       I had some savings.
 19          Q.       Was your family providing
 20    you any money?
 21          A.       No.
 22          Q.       Apart from your savings, was
 23    there any other source of income
 24    during October or so of 2006?
 25          A.       I did the occasional, I




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  1               HIGHLY CONFIDENTIAL AEO
  2    guess, job where I was called to
  3    entertain or spend time with people,
  4    but that was about it.
  5          Q.       What does that mean?
  6          A.       Well, I don't really like to
  7    use the word per se, because you guys
  8    kind of, in your legal minds, have it
  9    in a box of what you think it is.
 10                   But, like, once or twice, I
 11    was paid to spend dinner with a
 12    gentleman during that time.
 13          Q.       And how did you meet the
 14    gentleman?
 15          A.       It was through an agency.
 16          Q.       What was the name of the
 17    agency?
 18          A.       I can't remember.
 19          Q.       Do you know where it was
 20    located?
 21          A.       No.
 22          Q.       Do you know how much you
 23    were paid to spend dinner time with a
 24    gentleman?
 25          A.       It depended how long the




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                                                                   Page 88
  1               HIGHLY CONFIDENTIAL AEO
  2    dinner was for.
  3          Q.       And what was the most that
  4    you recall making for spending dinner
  5    with a gentleman?
  6          A.       $1,500.
  7          Q.       Did you engage in any sexual
  8    relations with the gentleman?
  9          A.       One, yeah, once or twice,
 10    but it was on my own accord.                   It was
 11    after that time period had finished.
 12          Q.       What time period?
 13          A.       My appointment, my dinner
 14    with them.
 15          Q.       Okay.
 16          A.       He just happened to be
 17    really good looking.
 18                   MR. GUIRGUIS:           It's been
 19          about an hour.           Maybe we can take
 20          five minutes, stretch.
 21                   MS. MENNINGER:             Sure.
 22                   (Time noted:          10:47 a.m.)
 23                   (Recess.)
 24                   (Time noted:          11:05 a.m.)
 25          Q.       Approximately how many times




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                                                                   Page 89
  1               HIGHLY CONFIDENTIAL AEO
  2    do you recall being paid to spend
  3    dinner with a gentleman in New York
  4    when you were living here in late
  5    2006?
  6          A.       I can't remember.
  7          Q.       Ten times?
  8                   MR. GUIRGUIS:           Objection.
  9          A.       It could be, it wasn't --
 10    yeah, it could be that.                It wasn't
 11    really...
 12          Q.       Apart from that income, did
 13    you have any other sources of income?
 14                   MR. GUIRGUIS:           I'm sorry.
 15          Off the record for a second.
 16                   (An off-the-record
 17          discussion was held.)
 18                   MS. MENNINGER:             I think
 19          there's a question pending.
 20                   (Requested portion of the
 21          record was read back.)
 22          A.       Yes, I did, yes.
 23          Q.       What were the other sources?
 24          A.       Jeffrey Epstein.
 25          Q.       Any other source?




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                                                                   Page 90
  1               HIGHLY CONFIDENTIAL AEO
  2          A.       No.
  3          Q.       Who introduced you to
  4    Jeffrey Epstein?
  5          A.       Natalya Malyshev.
  6          Q.       And how did you meet Natalya
  7    Malyshev?
  8          A.       I met her in a nightclub.
  9          Q.       Do you know which nightclub?
 10          A.       I can't remember the exact
 11    name.      It was a rock club.             The owner
 12
 13
       of the club, his name is
       his name -- it's quite a well-known -        .    Yeah,


 14
 15
 16
       club.      If you Google the name
       you'll find the name.
                                          -
       nightclub owner; he's quite famous in
                                             -    the
                                                            ,




 17    New York.
 18          Q.       Do you know where in New
 19    York the club is located?
 20          A.       I can't remember.             I don't
 21    know the exact location.
 22          Q.       Were you there socially or
 23    were you working?
 24          A.       Socially.
 25          Q.       And were you with anyone?




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                                                                    Page 91
  1               HIGHLY CONFIDENTIAL AEO
  2                   MR. GUIRGUIS:           Objection.
  3          A.       I can't remember.             I would
  4    have been with an acquaintance or
  5    something, but I can't remember who I
  6    was with.
  7          Q.       Were you able to make some
  8    friends with people here in New York
  9    when you moved here?
 10          A.       Yes.      Natalya, Jennifer,
 11               , a girl named Pam.             Pam.
 12    There were a few other -- I can't
 13    remember their -- they weren't close
 14    friends, they were just acquaintances.
 15    You don't really make friends in New
 16    York.
 17          Q.       Tell me about your meeting
 18    of Natalya.
 19          A.       She was a very attractive
 20    girl, Russian.           I think Russian.            Very
 21    friendly, very beautiful girl, very --
 22    we clicked immediately.
 23                   Yeah.      She approached me.             I
 24    wasn't -- yeah, I didn't go out of my
 25    way to meet any friends in a




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                                                                   Page 92
  1               HIGHLY CONFIDENTIAL AEO
  2    nightclub, so -- especially girls.
  3          Q.       What do you mean, she
  4    approached you?
  5          A.       So when I go to a club, I
  6    don't really speak to girls.                   I speak
  7    to guys.       So Natalya approached me and
  8    came on to me.
  9          Q.       Where were you?
 10          A.       In the nightclub.
 11          Q.       Where in the nightclub?
 12          A.       I can't -- I can't remember
 13    the exact location.
 14          Q.       Were you at the bar area?
 15    On the dance floor?              In the bathroom?
 16          A.       I would say she pretty much
 17    hit on me everywhere in the club.
 18          Q.       Was there a dance floor?
 19          A.       Yes, there was.
 20          Q.       Was it a one floor club or
 21    two floors?
 22          A.       I can't remember how many
 23    floors.
 24          Q.       And what did she do to hit
 25    on you?




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                                                                   Page 93
  1                HIGHLY CONFIDENTIAL AEO
  2           A.      She befriended me, she --
  3    yeah, she kissed me.
  4           Q.      Where did she kiss you?
  5           A.      On the mouth.
  6           Q.      Anywhere else?
  7           A.      Can -- is that in general or
  8    at that --
  9           Q.      I'm just talking about the
 10    first time you met.
 11           A.      The first time we met?
 12           Q.      Right.
 13           A.      I can't remember if we had
 14    sex the first night we met, but we
 15    definitely were intimate the first
 16    time we met.          But I can't remember if
 17    we had had sex on that first night.
 18           Q.      Okay.      Was that consensual
 19    sex?
 20           A.      Yes, it was with Nataly,
 21    Natalya.
 22           Q.      And where did you have
 23    consensual sex with Natalya?
 24           A.      In the club the first time.
 25           Q.      Where in the club?




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                                                                   Page 94
  1                HIGHLY CONFIDENTIAL AEO
  2           A.      In the owner's office.
  3           Q.      Was the owner present?
  4           A.      Yes, the owner was present.
  5
  6
              Q.
              A.      -                    ?
                      Is that -- I don't know his
  7
  8
  9
       surname, so -- is it --
       give you a description of
       want.
                                               --   -- I can
                                                       if you


 10           Q.      Sure.
 11           A.      Grayish hair, dark eyes.
 12    Looks a bit like the devil, got a
 13    little goatee.           Got kind of like olivy
 14    skin.       I've got a photo of myself and
 15
 16    -      , so...
              Q.      Okay.      So you and Natalya
 17
 18
 19
       and
       office?-      had consensual sex in


                      MR. GUIRGUIS:
                                                       -
                                               Objection.
                                                             's




 20                   MS. MCCAWLEY:            Objection.
 21           Q.      Is that right?
 22           A.      That's correct.
 23           Q.      Did I get that wrong in any
 24    way?
 25                   MR. GUIRGUIS:            Here's the




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                                                                   Page 95
  1               HIGHLY CONFIDENTIAL AEO
  2          question.
  3          A.       Yeah, that's correct.
  4          Q.       Was anyone else present?
  5          A.       No.
  6          Q.       Did you have any alcohol
  7    that night?
  8          A.       I did.
  9          Q.       How much?
 10          A.       Not enough to forget or
 11    black out, so not much.                I was able to
 12    make decisions.
 13          Q.       Do you recall what you were
 14    wearing?
 15          A.       No, I don't.
 16          Q.       Did you have any cocaine
 17    that night?
 18          A.       I don't remember.
 19          Q.       Did you use cocaine during
 20    the fall of 2006?
 21          A.       Yes, I did.
 22          Q.       And where did you get that
 23    cocaine?
 24
 25
             A.
             Q.
                      From
                              -
                      Anywhere else?
                                      and Natalya.




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                                                                   Page 96
  1               HIGHLY CONFIDENTIAL AEO
  2
  3
  4
             A.       From
                              -
       guy named Peter Lambrakis.
       know how to spell that.
                                    's best friend, a
                                                  I don't


  5          Q.       Anywhere else?
  6          A.       No.
  7          Q.       Did you pay for any of the
  8    cocaine?
  9          A.       No.
 10          Q.       Did you use any other
 11    controlled substances in the fall of
 12    2006?
 13          A.       No.
 14          Q.       Did you take any
 15    prescriptions in the fall of 2006?
 16          A.       I did.
 17          Q.       What did you take?
 18          A.       Jeffrey's psychiatrist
 19    prescribed me lithium, Ritalin, and
 20    there was a bipolar description drug
 21    that was also prescribed to me by
 22    Jeffrey Epstein's psychiatrist.                    I
 23    can't remember the exact name of that
 24    bipolar drug.          But I was started off
 25    with lithium and Ritalin.




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                                                                   Page 97
  1               HIGHLY CONFIDENTIAL AEO
  2          Q.       Okay.      What was the name of
  3    the psychiatrist?
  4          A.       I can't remember her name.
  5          Q.       It was a woman?
  6          A.       It was a woman.
  7          Q.       And where was she located?
  8          A.       I can't -- I can't remember
  9    the exact location of her office.
 10          Q.       Can you describe the office
 11    in any way?
 12          A.       I can't remember.
 13          Q.       Did anyone go with you?
 14          A.       No, I went on my own.
 15          Q.       Where did you go to get your
 16    prescriptions filled?
 17          A.       A pharmacy near Jeffrey
 18    Epstein's apartment that I was living
 19    in at the time.           I think it was a
 20    Duane Reade.
 21          Q.       Were they in your name?
 22          A.       Yes, they were.
 23          Q.       Were you taking these in the
 24    fall of 2006 or in 2007 or both?
 25          A.       Jeffrey first put me in




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                                                                   Page 98
  1               HIGHLY CONFIDENTIAL AEO
  2    touch with his psychiatrist, it was
  3    before -- it was -- yeah, it was well
  4    before December, so it was the fall
  5    of -- fall/winter, going into winter
  6    2006.
  7          Q.       Do you recall what month you
  8    came to the U.S.?
  9          A.       It was September 2006.
 10          Q.       Did you leave and come back
 11    in October?
 12          A.       I think I may have.              I may
 13    have made a trip to London or like a
 14    quick, brief trip.
 15          Q.       Who paid for that?
 16          A.       I can't remember.
 17          Q.       Why did you go back?
 18          A.       I actually can't even
 19    remember why I went back.
 20          Q.       So you think you came in
 21    September?
 22          A.       I know I came in September.
 23          Q.       And you said you could stay
 24    for three months?
 25          A.       And then I left the country




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                                                                    Page 99
  1                HIGHLY CONFIDENTIAL AEO
  2    briefly for a day and then I came back
  3    in again.
  4           Q.       When did you do that?
  5           A.       So if you look at my
  6    passport when I entered -- you've got
  7    my passport.          So I arrived on the 1st,
  8    I think, of September, and then it was
  9    just before the three months were up,
 10    and then I left.
 11                    I think that was the trip
 12    that I made to London in -- October,
 13    November -- October, November -- yeah,
 14    so I was -- I left before the due time
 15    that my tourist visa was up, and I
 16    spent a summer and came back.
 17           Q.       Where did you go?
 18           A.       I think it was London.               I
 19    went to -- I went to London.                   And then
 20    Jeffrey paid for a flight for me to
 21    visit my family in South Africa in
 22    February.
 23           Q.       Okay.      So there's two trips
 24    to London we're talking about?
 25    There's one you went and you came




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                                                                  Page 100
  1                HIGHLY CONFIDENTIAL AEO
  2    right back?
  3           A.       I only recall one trip to
  4    London.       I didn't really kind of
  5    catalog every trip I made.                  I did a
  6    lot of traveling during my time in the
  7    U.S., so...
  8           Q.       Had you traveled a lot
  9    before you came to the U.S.?
 10           A.       Yeah.      I spent my whole life
 11    traveling.
 12           Q.       How were you able do that?
 13           A.       Through savings, through
 14    waitressing jobs, that kind of thing.
 15           Q.       Did your family ever pay for
 16    you to go on trips?
 17           A.       No.
 18           Q.       Never?
 19           A.       No.
 20           Q.       Does your family travel?
 21           A.       Yeah, they travel.             They go
 22    on holidays overseas.               They go on
 23    holidays.
 24           Q.       So you said you got a
 25    passport your whole life, I think you




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                                                                  Page 101
  1                HIGHLY CONFIDENTIAL AEO
  2    said, right?
  3           A.       Well, I can't remember the
  4    specific date when -- I was like from
  5    3 to 5 when I got my passport.                    I
  6    didn't arrange my passport at 3 years
  7    old; my mom kind of did that.
  8                    So I've always grown up with
  9    a British and South African passport.
 10    I had dual nationality right from the
 11    get-go.
 12           Q.       Right.      So when you were a
 13    child, did you travel internationally?
 14           A.       Yeah, I did, to visit my
 15    family in Scotland.
 16           Q.       And apart from the UK and
 17    South Africa, did you go anywhere as a
 18    child?
 19           A.       We went on holidays and
 20    Africa.       Maybe I went to Scotland to
 21    visit my family, yeah, possibly.                      I
 22    don't remember.
 23           Q.       Okay.
 24           A.       They weren't photo-happy in
 25    my family.




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                                                                  Page 102
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       They were what?
  3           A.       They weren't photo-happy,
  4    so...
  5           Q.       So back in the fall 2006,
  6    you were here for three months and
  7    then you left --
  8           A.       Yeah.      I didn't want to go
  9    over my visa and get in trouble, and I
 10    wasn't making much money anyway.                     And
 11    Jeffrey was with FIT, so he was going
 12    to organize me a visa so I could stay.
 13                    So I didn't do anything
 14    wrong or illegal with my visa, just to
 15    clarify.
 16           Q.       I understand.          I'm just
 17    trying to get the timing of when you
 18    were here and then you left and then
 19    you came back; is that right?
 20           A.       So the duration that I was
 21    here, I arrived in September and I
 22    left -- I think it was the 1st of May.
 23                    So during that time, there
 24    was a trip that I made to South Africa
 25    to visit my family and there was a




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                                                                  Page 103
  1                HIGHLY CONFIDENTIAL AEO
  2    trip to London.            I don't recall -- I
  3    don't remember any other trips that I
  4    made during that duration of time,
  5    away from Jeffrey and Ghislaine, if
  6    you understand, on my independent own.
  7           Q.       Right.      So if you came in
  8    September and you could stay for three
  9    months --
 10           A.       Mm-hmm.
 11           Q.       So you left in December?
 12                    MS. MCCAWLEY:          Objection,
 13           asked and answered.
 14           A.       September, October,
 15    November.         Yeah, I did -- I did make a
 16    trip to -- I don't recall the specific
 17    dates, but I did make a trip to London
 18    and I did make a trip to South Africa
 19    in February.          So I don't...
 20           Q.       Did you go from London to
 21    South Africa?
 22           A.       I don't remember the exact
 23    trip itinerary.            But, yeah, I flew to
 24    South Africa on a plane.
 25           Q.       From London?




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                                                                       Page 104
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       From New York.
  3           Q.       Okay.      So you recall having
  4    been on two trips independently
  5    between September 2006 and May 2007,
  6    right?       One to London and one to South
  7    Africa?
  8           A.       Yeah, that's correct.
  9           Q.       And the one to London, you
 10    recall being a brief trip to then
 11    allow you to stay in the country
 12    longer?
 13           A.       I don't remember why I went.
 14    I don't even remember the trip, okay?
 15    I really don't recall.                I probably
 16    visited my mom or -- or whatever.                      I
 17    just know that I made two trips during
 18    that duration and I know that I did
 19    not over go the three-month thing.                         So
 20    I made those for those specific
 21    reasons.
 22           Q.       Okay.
 23           A.       But those -- I just wanted
 24    to make clear that those were the only
 25    two trips I made independently without




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                                                                  Page 105
  1                HIGHLY CONFIDENTIAL AEO
  2    Jeffrey aiding, and I would like to
  3    make that clear.            I made multiple
  4    trips with Jeffrey, so independently I
  5    did those two.
  6           Q.       Were any of your trips with
  7    Jeffrey international?
  8           A.       No.
  9           Q.       Can you tell me when in your
 10    stay in the U.S. you initially met
 11    Natalya?
 12           A.       It was pretty soon after I
 13    arrived.        I can't remember the exact
 14    time frame.           I think it was about
 15    maybe two, three weeks after I
 16    arrived.
 17           Q.       Were you living at Chris's?
 18           A.       Yes.
 19           Q.       Did you consider yourself in
 20    a relationship with Natalya?
 21           A.       No, we were just having fun.
 22    And she was -- she was really
 23    friendly, and I didn't know anyone in
 24    New York, so -- and, you know, I
 25    wanted to make friends.                She was a




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                                                                  Page 106
  1                HIGHLY CONFIDENTIAL AEO
  2    girl and was just very friendly,
  3    pretty.
  4           Q.       Was she also involved in the
  5    fashion industry at all?
  6           A.       I don't recall.           I just
  7    recall her working for Jeffrey.
  8           Q.       What did you observe her
  9    doing for Jeffrey?
 10           A.       The exact same thing she did
 11    with me.        She recruited me and was
 12    paid for it.
 13           Q.       Okay.      Did you see her get
 14    paid?
 15           A.       No.
 16           Q.       How do you know she got
 17    paid?
 18           A.       The girls told me.
 19           Q.       Who were the girls?
 20           A.       I can't remember their
 21    names.
 22           Q.       Okay.      So the girls told
 23    you're that Natalya got paid by
 24    Jeffrey?
 25           A.       That's correct.




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                                                                  Page 107
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       So what did you see Natalya
  3    do for Jeffrey?
  4           A.       Well, she recruited me.                I
  5    think she recruited other girls for
  6    Jeffrey.
  7           Q.       Did you see her do that?
  8           A.       No, but I met some of the
  9    other girls that had been introduced
 10    to Jeffrey and Ghislaine via Natalya.
 11           Q.       Got it.
 12                    So you were recruited by
 13    Natalya, correct?             Yes or no.
 14           A.       Yes.
 15           Q.       And you met other girls who
 16    knew Natalya and Jeffrey, correct?
 17           A.       Well, all the girls knew
 18    each other, really.              All the girls
 19    kind of...
 20           Q.       Are these the same girls
 21    that are in the apartment building or
 22    a different set of girls?
 23           A.       Different set of girls.
 24           Q.       Okay.
 25           A.       You know, there was a




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                                                                     Page 108
  1                HIGHLY CONFIDENTIAL AEO
  2    constant flow of women, girls.
  3           Q.       So where did you see these
  4    other girls?
  5           A.       In Manhattan, with Jeffrey,
  6    a few social occasions that we went
  7    on, the island.            On the plane, Jeffrey
  8    Epstein's plane.            I met girls
  9    everywhere -- every time I went with
 10    Jeffrey.        Well, not every time, but he
 11    was always surrounded by new girls.                       I
 12    couldn't keep up with the names, to be
 13    honest.       That's why I can't remember
 14    any of them.
 15           Q.       Getting back to Natalya, you
 16    met her at the nightclub?
 17           A.       Mm-hmm.
 18           Q.       Did she work as a model at
 19    all?
 20           A.       I wasn't quite clear what
 21    she actually did, to be honest.                     I
 22    have absolutely no idea.
 23           Q.       Do you know where she lived?
 24           A.       No, I didn't.          I don't know
 25    where she lives.




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                                                                  Page 109
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Did you ever go to her
  3    apartment?
  4           A.       No.
  5           Q.       When is the last time you
  6    talked to her?
  7           A.       I haven't -- I think before
  8    I left New York.
  9           Q.       Did you have a cell phone
 10    when you were in New York?
 11           A.       Yes, I did.
 12           Q.       Do you recall who your cell
 13    phone provider was?
 14           A.       I don't remember.
 15           Q.       Do you know your cell phone
 16    number?
 17           A.       No, I have no idea.
 18           Q.       When you were living in New
 19    York, were your parents living in
 20    South Africa?
 21           A.       My dad was living in South
 22    Africa, my mom was in the UK.
 23           Q.       Can you tell me about your
 24    first conversation with Natalya?
 25           A.       I can't remember my first




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                                                                   Page 110
  1                 HIGHLY CONFIDENTIAL AEO
  2    conversation with her.
  3           Q.       Can you remember any
  4    conversation with her?
  5           A.       Yeah, I can.          I can remember
  6    chatting.         She was my friend.             I mean,
  7    we spoke about everything.                  We spoke
  8    about life with Jeffrey, we spoke
  9    about Ghislaine, we spoke about the
 10    other girls, we spoke about Jen.                     Jen
 11    was a really nice girl as well.                     Like,
 12    we often got coffee with each other,
 13    lunches, dinners.
 14           Q.       Okay.      Do you remember any
 15    specifics of your conversations?
 16                    MS. MCCAWLEY:          Objection,
 17           asked and answered.
 18           A.       We spoke very frequently
 19    about the faces Jeffrey used to pull
 20    when he used to masturbate over the
 21    girls, which was quite funny.
 22                    We spoke about Ghislaine
 23    quite a lot and what a monster she
 24    was.        She's really not a nice person,
 25    so -- yeah, I mean, we spoke about




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                                                                  Page 111
  1                HIGHLY CONFIDENTIAL AEO
  2    them a lot, actually.
  3           Q.       Okay.      So you spoke about
  4    the faces Jeffrey made when he
  5    masturbates over the girls?
  6           A.       And the way he spits on his
  7    hand when he masturbates.                 It's really
  8    gross.       It's quite funny.
  9           Q.       Any other conversations with
 10    Natalya that you remember?
 11           A.       I remember I didn't really
 12    get on with Ghislaine.                As I said,
 13    she's -- in my opinion, she's not a
 14    nice person.          I didn't really get her.
 15                    And Jeffrey Epstein promised
 16    me a -- going to FIT.               So we
 17    frequently spoke about just everyday
 18    things, you know.
 19                    Natalya and I -- Natalya
 20    really -- Jeffrey Epstein and I once
 21    had a fight and Natalya patched things
 22    up between us, because I didn't want
 23    to speak to Jeffrey anymore.
 24                    I often spoke to Natalya
 25    about why Ghislaine didn't like me and




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                                                                    Page 112
  1                HIGHLY CONFIDENTIAL AEO
  2    why the other girls didn't like me:
  3    Nadia didn't like me, Ghislaine didn't
  4    like me, Sarah Kellen definitely
  5    didn't like me.            Yeah, that kind of
  6    stuff.
  7           Q.       How is it that you came to
  8    meet Jeffrey Epstein?
  9           A.       Through Natalya.
 10           Q.       Tell me about that.
 11           A.       I first met Jeffrey --
 12    Natalya introduced me to Jeffrey.                      She
 13    kind of described him to me.                   She knew
 14    I wanted to go back to school to get a
 15    degree, and I was really battling
 16    financially because at that time I
 17    wasn't really modeling material.
 18                    So, yeah, she told me about
 19    this guy who was really wealthy, a
 20    philanthropist, you know, really
 21    enjoyed -- you know, he really cares
 22    about people and he really wants to
 23    help them, and he was a really good,
 24    decent guy.
 25                    Then we -- he was helping




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                                                                  Page 113
  1                HIGHLY CONFIDENTIAL AEO
  2    her at that time, as well as Jen and
  3    other girls.
  4           Q.       That's what she told you?
  5           A.       Yes.
  6           Q.       Where were you when Natalya
  7    was describing Jeffrey?
  8           A.       I can't remember the
  9    location, but -- I mean, she first
 10    described Jeffrey -- I think it was
 11    the second time we met, because I had
 12    discussed with her that I was
 13    struggling financially because my
 14    modeling career hadn't really taken
 15    off as I had hoped, so I was -- yeah,
 16    she wanted to help.
 17           Q.       And you don't remember where
 18    you had this conversation?
 19           A.       No, not specifically the
 20    exact location.
 21           Q.       Was it in person or over the
 22    phone?
 23           A.       It was in person.
 24           Q.       Was anybody else there?
 25           A.       I think
                                   -       could have been




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                                                                  Page 114
  1                HIGHLY CONFIDENTIAL AEO
  2    there, Peter Lambrakis could have been
  3    there, a few other people could have
  4    been there.          Various people.           She was
  5    quite open about it.
  6           Q.       And do you know when this
  7    was in the fall of 2006?
  8           A.       It was very close to after I
  9    had first arrived, so it was quite
 10    soon after I arrived.               I don't know
 11    specifically if it was three weeks or
 12    two weeks, but it was quite soon after
 13    I first got to...
 14           Q.       Okay.      So did you meet
 15    Jeffrey?        Did you agree to meet
 16    Jeffrey?        What happened next?
 17                    MR. GUIRGUIS:          Objection to
 18           form.
 19           Q.       What happened next?
 20                    MR. GUIRGUIS:          Objection to
 21           that one too.
 22           A.       I agreed to -- yeah, I met
 23    Jeffrey.
 24           Q.       How?
 25           A.       We went to -- the first




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                                                                  Page 115
  1                HIGHLY CONFIDENTIAL AEO
  2    meeting I had with Jeffrey was at the
  3    cinema.       There were about ten other
  4    girls with him.
  5           Q.       How did that meeting get
  6    arranged?
  7           A.       Natalya arranged it, and
  8    said she had spoken to Jeffrey and
  9    Jeffrey wanted to meet me.
 10           Q.       And what movie did you see?
 11           A.       I can't remember what movie
 12    it was.
 13           Q.       Did you sit with him?
 14           A.       Yes, I did.
 15           Q.       Next to him?
 16           A.       I can't remember if it was
 17    next to him, but I was close by him.
 18           Q.       You, Natalya, ten other
 19    girls and Jeffrey?
 20           A.       I don't know if it was
 21    exactly ten, but there were -- there
 22    were many other girls there.                   There
 23    was like a big group of us.
 24           Q.       And where was the theater?
 25           A.       I can't remember the exact




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                                                                     Page 116
  1                HIGHLY CONFIDENTIAL AEO
  2    location, but it was quite a
  3    prominent -- it was a big cinema.                        It
  4    was like a huge -- like one of your
  5    main cinemas.           Somewhere -- is there a
  6    cinema on Lexington, maybe?
  7                    I don't know.          Sorry.
  8    Navigation isn't in my strong points.
  9    I'm going to stop speculating.                    I'm
 10    sorry, okay?           I said it for you.            I
 11    don't know.
 12           Q.       It was somewhere in New
 13    York?
 14           A.       It was in New York.
 15           Q.       And you went with Natalya?
 16           A.       Yes.
 17           Q.       How did you go?
 18           A.       By cab.
 19           Q.       From your apartment with
 20    Chris?
 21           A.       Yes.
 22           Q.       And tell me about your
 23    experience at the cinema?
 24           A.       I bought popcorn and sweets
 25    and juice, and I had an awesome time




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                                                                  Page 117
  1                HIGHLY CONFIDENTIAL AEO
  2    watching the movie with a bunch of new
  3    people.
  4           Q.       And you do not remember the
  5    name of the movie?
  6                    MR. GUIRGUIS:          Objection.
  7           A.       No.
  8           Q.       And what happened after the
  9    movie was over?
 10                    MR. GUIRGUIS:          Objection.
 11           A.       I got in a taxi.
 12           Q.       And?
 13                    MR. GUIRGUIS:          Objection.
 14                    MS. MENNINGER:            What's the
 15           objection?
 16                    MR. GUIRGUIS:          The question
 17           and, objection to form.               That's a
 18           good objection.
 19           A.       I went home.
 20           Q.       When was the next time you
 21    met Jeffrey?
 22           A.       I can't remember specific --
 23    I can't remember -- I think I met
 24    him -- again, I'm not trying to
 25    speculate.         I think I met him in New




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  1                HIGHLY CONFIDENTIAL AEO
  2    York again.          I can't remember that
  3    meeting.        I then met him again on his
  4    private plane.
  5           Q.       So you believe the third
  6    time you met him was on the private
  7    plane?
  8           A.       That's correct.
  9           Q.       And do you remember anything
 10    about the second time you met him?
 11           A.       No, I can't remember.
 12           Q.       And do you know how long
 13    after the first time you met him the
 14    second time was?
 15           A.       Pretty soon after.
 16           Q.       What does that mean to you?
 17           A.       Couple days.
 18           Q.       Where did you meet him that
 19    second time?
 20           A.       In New York.
 21           Q.       Where?
 22           A.       I can't remember.
 23           Q.       At his house?
 24           A.       No, it wasn't at his house.
 25           Q.       Was anyone else there the




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                                                                  Page 119
  1                HIGHLY CONFIDENTIAL AEO
  2    second time you met him?
  3           A.       Natalya.
  4           Q.       Anyone else?
  5           A.       No, not that I recall.
  6           Q.       Anything memorable about
  7    that event?
  8           A.       Nothing, nothing memorable.
  9           Q.       Anything sexual happen at
 10    the second meeting?
 11           A.       No.
 12           Q.       At the first meeting?
 13           A.       No.
 14           Q.       How did the flight meeting
 15    become arranged, if you know?
 16           A.       So it was pretty a
 17    last-minute thing.              Natalya phoned me
 18    up and said that Jeffrey Epstein would
 19    very much like to have me go to his
 20    island.       It was going to be so much
 21    fun, it was going to be a girls' week,
 22    there were lots of other girls going,
 23    we were going to have so much fun,
 24    etcetera, etcetera, etcetera.
 25           Q.       And what did you do?




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                                                                  Page 120
  1                HIGHLY CONFIDENTIAL AEO
  2                    MR. GUIRGUIS:          Objection.
  3           A.       I went on the -- I went with
  4    them to the island.
  5           Q.       Where was the plane located?
  6           A.       I can't remember the exact
  7    airport.        I think it was either Newark
  8    or JFK.
  9           Q.       Did you fly commercially or
 10    private?
 11           A.       Private.
 12           Q.       Was it Jeffrey's plane?
 13           A.       Yes.
 14           Q.       Who else was on the plane?
 15           A.       Nadia, Natalya -- I would
 16    like to say Jen, but I can't remember
 17    her specifically being there on the
 18    first trip, so...             Natalya and Nadia
 19    were definitely there.
 20           Q.       Had you met Nadia before?
 21           A.       No.
 22           Q.       And you don't remember
 23    anyone else?
 24           A.       No, it was -- I mean, there
 25    were always new people around Jeffrey




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                                                                  Page 121
  1                HIGHLY CONFIDENTIAL AEO
  2    and Ghislaine, so I don't really --
  3           Q.       Well, you just said and
  4    Ghislaine.         Was Ghislaine there?
  5           A.       No, not the first time.
  6           Q.       And do you recall what month
  7    this was?
  8           A.       I can't remember what month
  9    it was.
 10           Q.       It was sometime during your
 11    first three-month period?
 12           A.       Yeah, it was within that
 13    first three months.
 14           Q.       So sometime between
 15    September and December?
 16           A.       That's correct.
 17           Q.       And did you have a camera
 18    with you when you went?
 19           A.       I did.
 20           Q.       Did you take pictures?
 21           A.       I took a couple.
 22           Q.       Describe for me what
 23    happened on the plane ride?
 24           A.       Nadia walked in, sat down in
 25    front of me, Nataly.               We all buckled




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                                                                  Page 122
  1                HIGHLY CONFIDENTIAL AEO
  2    up, we took off.
  3                    The rest of the passengers
  4    in the -- I think it's towards the
  5    front of the plane where all the seats
  6    are -- we all -- all the guests
  7    were -- fell asleep.               I pretended to
  8    be asleep.
  9                    Jeffrey then went -- Jeffrey
 10    went to his -- was in his bed on the
 11    plane, having open sex with Nadia for
 12    everyone to see, on display.
 13           Q.       Did you participate in that
 14    sex at all?
 15           A.       No, I didn't.
 16           Q.       Did anyone ask you to?
 17           A.       No.
 18           Q.       Did you and Natalya have any
 19    sexual relationship on that plane, the
 20    first plane ride?
 21           A.       No.
 22           Q.       Were you still having an
 23    occasional sexual relationship with
 24    Natalya at that time?
 25                    MS. MCCAWLEY:          Objection.




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                                                                  Page 123
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       I can't remember.
  3           Q.       What types of sexual
  4    relationship did Jeffrey and Nadia
  5    have on the plane in your presence?
  6           A.       Well, Nadia was straddling
  7    Jeffrey for quite some time.                   I
  8    watched them both ejaculate with each
  9    other.       They were having quite a good
 10    time together.
 11           Q.       How long was the plane ride?
 12           A.       Gosh, a few hours.             Few
 13    hours.
 14           Q.       Did you say anything?
 15           A.       No.     I was a guest.             I
 16    thought it would be quite
 17    inappropriate.
 18           Q.       All right.         Can if I ask you
 19    if you could just draw a layout of the
 20    plane?
 21                    I'm going to reach over?
 22                    Just kind of describe where
 23    everyone was sitting and the bed area.
 24           A.       I don't remember if it was
 25    the back or front.              The front of the




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                                                                  Page 124
  1                HIGHLY CONFIDENTIAL AEO
  2    plane, I think there was a round --
  3    there was, like, a round bed at the
  4    back of the plane.
  5                    There was seating.             Pilots
  6    are there.         Nadia walked in with her
  7    Louis Vuitton handbag.                She sat there
  8    in front of me at the side of the
  9    plane.       So there was seating here.
 10           Q.       Can you just write Nadia
 11    next to that --
 12           A.       Okay.
 13           Q.       -- so I will remember later.
 14           A.       Nadia sat there when she
 15    first walked in.            And I remember her
 16    specifically with a Louis Vuitton
 17    handbag that she had, a black one.
 18           Q.       Okay.      And where were you
 19    sitting?
 20           A.       I was sitting opposite her.
 21    And then I think we changed positions
 22    or there was -- I just remember at the
 23    front, there was seating here, okay.
 24           Q.       Well, where was Natalya
 25    sitting?




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                                                                  Page 125
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       I don't remember where she
  3    was sitting.
  4           Q.       Can you just put where the
  5    other seats were, if you don't
  6    remember who was in them?
  7           A.       I remember there was seating
  8    here.       I think there was -- I'm
  9    speculating here, but I can't remember
 10    if they were sitting on the -- on the
 11    other side of the plane.                  I can't -- I
 12    just remember that I sat on a seat in
 13    the front of the plane and there were
 14    people opposite me.
 15           Q.       When you say opposite, do
 16    you mean in front and back of you or
 17    are you saying to your sides?
 18           A.       In front of me.
 19           Q.       Okay.
 20           A.       So it's like a seating --
 21           Q.       Is it one seat in a row?
 22           A.       I can't remember the
 23    specific layout of the seating on the
 24    aircraft, but I know that there's a
 25    big, fat, round open -- there's a bed




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                                                                  Page 126
  1                HIGHLY CONFIDENTIAL AEO
  2    on the back of the plane --
  3           Q.       Okay.
  4           A.       -- which there's no door, so
  5    you can quite easily have sex and show
  6    the whole plane.            Which is how it's
  7    designed, I'm guessing.
  8           Q.       Okay.
  9           A.       Because there's no privacy
 10    around the bed.
 11           Q.       I understand.
 12                    Can you just draw where the
 13    other seats are, though?
 14                    MS. MCCAWLEY:          Objection,
 15           asked and answered.
 16           A.       I don't remember where the
 17    other seats are.            I remember me
 18    sitting in a specific airplane seat at
 19    the beginning, you know, at the front
 20    of the plane.           I don't remember the
 21    decor of the plane.              I remember there
 22    was a bed.         It was open, it was open
 23    plan.
 24           Q.       Were there bathrooms on the
 25    plane?




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                                                                  Page 127
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       Yes.
  3           Q.       Where were they?
  4           A.       I can't remember where the
  5    bathrooms were located on the
  6    aircraft.
  7           Q.       Do you know what kind of
  8    plane it was?
  9           A.       It was a nice, big plane.
 10    Yeah, it was a plane.               A plane.
 11           Q.       Had you been on a private
 12    plane before?
 13           A.       No.
 14           Q.       Do you know how many people
 15    it carried?
 16           A.       I just know it's a plane.
 17                    MS. MENNINGER:            Can we mark
 18           that.      Can you mark that as
 19           Defendant's Exhibit 1.
 20                    MR. GUIRGUIS:          Have you seen
 21           it before you want to mark it?
 22                    THE WITNESS:          It's really
 23           bad.     Do you want me to redraw
 24           that?      It's really embarrassing.
 25           I'm not an artist or anything.




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                                                                  Page 128
  1                HIGHLY CONFIDENTIAL AEO
  2           It's really bad.
  3                    MR. GUIRGUIS:          Just hand it
  4           over.
  5                    (Defendant's Exhibit 1,
  6           hand-drawn picture marked for
  7           identification.)
  8           Q.       Was there a kitchen on the
  9    plane that you recall?
 10           A.       I can't remember any, no.
 11           Q.       Was there an office area?
 12           A.       I can't remember the layout
 13    of the plane.           I remember the bed.
 14    The only thing I remember is the
 15    open-plan bed where I watched Nadia
 16    and Jeffrey have sex.
 17           Q.       Apart from the Louis Vuitton
 18    bag, do you remember what Nadia was
 19    wearing?
 20           A.       I just remember she had a
 21    black Louis Vuitton handbag.                   And I
 22    don't remember what she was wearing,
 23    no.     But I remember the black handbag
 24    because I liked it so much, I bought
 25    the red-colored version a few years




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                                                                  Page 129
  1                HIGHLY CONFIDENTIAL AEO
  2    later.       It was really nice.
  3           Q.       How long did you stay on the
  4    island during this first trip?
  5           A.       A few days.
  6           Q.       Was it a week or two days?
  7           A.       I can't remember.
  8           Q.       Apart from Nadia, Natalya,
  9    Jeffrey and yourself, is there anyone
 10    else you recall being on that first
 11    trip?
 12                    MR. GUIRGUIS:          Objection.
 13           A.       On that particular first
 14    trip, I can't remember.                I just
 15    remember Nadia, Natalya, Jeffrey,
 16    myself on the first trip.
 17           Q.       When you got to the island,
 18    was there anyone there?
 19           A.       Yes.     There was a lovely
 20    couple from Zimbabwe, somewhere in
 21    Africa.       I think they were either
 22    South African or from Zimbabwe, but
 23    they was a lovely middle-age couple.
 24    Chef, like staff, really nice staff on
 25    the island.




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                                                                  Page 130
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Any other guests?
  3           A.       No, not that first trip.
  4           Q.       Did you engage in any sexual
  5    acts with Jeffrey Epstein on your
  6    first trip?
  7           A.       Yes.
  8           Q.       What happened?
  9                    MR. GUIRGUIS:          Objection.
 10           A.       It was -- I had to give him
 11    a massage in his bedroom.
 12           Q.       And how did that come about?
 13           A.       So the entire basics were
 14    explained to me, there's this wealthy
 15    dude, this philanthropist, loves
 16    women, loves getting massages.                    And
 17    this was a nice way to make extra
 18    cash, which is great.
 19                    I got to the island -- oh, I
 20    was made to massage Jeffrey on the
 21    plane.       Sorry.      That's where I gave my
 22    first massage to Jeffrey.
 23                    So my first massage started
 24    with him on the plane, with his feet
 25    and his hands.           And on that trip I




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  1                HIGHLY CONFIDENTIAL AEO
  2    was -- I had to give him other
  3    massages, like legs, arms, feet,
  4    hands, head, shoulders.                And it wasn't
  5    straight away, but they got more
  6    sexual.       Then I was called to his
  7    bedroom.
  8           Q.       Okay.      I just want to make
  9    sure we're talking about the same time
 10    frame.
 11                    There was a massage you gave
 12    on the plane on the way down there?
 13           A.       Yes.
 14           Q.       That was not sexual?
 15           A.       That was not sexual, no.
 16           Q.       Was that before or after he
 17    was having sex with Nadia in the open
 18    bed in the plane area?
 19           A.       It was before.            It was
 20    before they had sex, because we all
 21    fell asleep.
 22           Q.       Okay.      And then how did the
 23    massage come about?
 24           A.       On the island or --
 25           Q.       No, on the plane.            Just on




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                                                                   Page 132
  1                HIGHLY CONFIDENTIAL AEO
  2    the plane.
  3           A.       Jeffrey asked me to massage
  4    him.
  5           Q.       So you were asleep and
  6    Jeffrey woke you up?
  7                    MS. MCCAWLEY:          Objection.
  8           A.       When we first got on the
  9    plane, we sat down.              You know, like
 10    when you first get on an airplane, you
 11    settle in and chat, chat, chat.                     And I
 12    massaged him, and then it was after
 13    that we find of all fell asleep.                     And
 14    then I woke up and I saw Jeffrey and
 15    Nadia.
 16           Q.       Okay.
 17           A.       So in that effect, I was
 18    probably sitting -- I was facing the
 19    bed.
 20           Q.       You were rear-facing?
 21           A.       Yeah.
 22           Q.       Can I just hand you back
 23    Defendant's Exhibit 1.                Is it still,
 24    in your recollection, the same place?
 25           A.       Yeah.      We switched seats a




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                                                                  Page 133
  1                HIGHLY CONFIDENTIAL AEO
  2    few times.
  3           Q.       So where was Jeffrey when
  4    you gave him the massage on the
  5    airplane?
  6           A.       He was -- he was seated at
  7    the front.
  8           Q.       In front of where you were?
  9           A.       We weren't really all seated
 10    throughout the entire duration of the
 11    flight.       So as soon as the flight took
 12    up, we took our seat belts off and
 13    kind of moved around freely, because
 14    it's not a commercial flight.                    You can
 15    do that on private planes.                  So we
 16    weren't in our seats the whole time.
 17    There was a lot of moving around.
 18           Q.       Okay.      Can you just draw on
 19    Defendant's Exhibit 1 where he was
 20    when you gave him the massage?
 21           A.       I can't remember where
 22    specifically on what seat or where I
 23    was facing that I gave Jeffrey his
 24    massage, so I'm not comfortable
 25    putting something because that's




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                                                                  Page 134
  1                HIGHLY CONFIDENTIAL AEO
  2    speculating.
  3           Q.       Do you have a general area
  4    at all?       Was it in the front area?
  5           A.       The general area -- the
  6    general area here is at the front of
  7    the plane, and then the bed at the
  8    back of the plane.
  9           Q.       So which of those two
 10    general areas was the massage?
 11           A.       So the massage was at the
 12    front, because I didn't give him it on
 13    the bed; it was in the front of the
 14    plane.       I don't remember what specific
 15    seat plan I gave him a massage.
 16           Q.       Was he wearing clothes?
 17           A.       Yes.
 18           Q.       During the whole massage?
 19           A.       During the whole massage,
 20    yes.
 21           Q.       What was he wearing?
 22           A.       I don't remember.
 23           Q.       Did he have on shoes?
 24           A.       Yes, he had on shoes when he
 25    walked onto the plane.                But then he




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  1                HIGHLY CONFIDENTIAL AEO
  2    took his shoes off to have the
  3    massage.
  4           Q.       And do you recall what he
  5    said when he asked you to give him a
  6    massage?
  7           A.       Yes.     He asked me to massage
  8    his feet and massage him.
  9           Q.       Were you surprised by that
 10    request?
 11           A.       No.
 12           Q.       Why not?
 13           A.       Because Natalya told me that
 14    he liked getting massages from girls
 15    and that he paid for them.
 16           Q.       Did he pay you for that
 17    massage on the plane?
 18           A.       No.
 19           Q.       Did you expect him to?
 20           A.       Well it was a -- it was the
 21    beginning of the trip, so I'm hardly
 22    going to go, I don't really know you.
 23    Can you please pay me.                It's not
 24    something you really discuss, I don't
 25    think.       It's not really appropriate.




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  1                HIGHLY CONFIDENTIAL AEO
  2    It's not very businesslike.
  3           Q.       And you were clothed during
  4    the massage on the plane?
  5           A.       Yes.
  6           Q.       Where was the second
  7    massage?
  8           A.       On his island.
  9           Q.       Where on the island?
 10           A.       So the second time I
 11    massaged him was probably on -- it
 12    was -- I was then asked to massage him
 13    again later that day, to massage him
 14    again in the open-planned seating area
 15    on the island.
 16           Q.       Who asked you to do that?
 17           A.       Sarah Kellen.
 18           Q.       So Sarah Kellen was on the
 19    island?
 20           A.       Yes.
 21           Q.       Did she travel with you?
 22           A.       Not all -- I can't remember
 23    specifically who traveling -- I can't
 24    say that I a hundred percent remember
 25    her there on that first flight.                     I




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  1                HIGHLY CONFIDENTIAL AEO
  2    don't -- I can't visually see her
  3    there.       But I know that she traveled
  4    with us pretty much every time with
  5    Jeffrey.        She traveled everywhere with
  6    Jeffrey.
  7           Q.       How many times did you go to
  8    the island?
  9           A.       Several.
 10           Q.       How many?
 11           A.       Several.        Several times.
 12    There were multiple occasions that I
 13    went to the island.
 14           Q.       Three times?
 15           A.       Several.        Several.       I can't
 16    remember how many times specifically.
 17           Q.       I understand you don't have
 18    a specific answer.
 19           A.       Yeah.
 20           Q.       Do you believe it was more
 21    than ten times?
 22           A.       I don't think it was as much
 23    as ten times, no.             Maybe a little bit
 24    less, but not that many.
 25           Q.       Do you know how many times




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  1                HIGHLY CONFIDENTIAL AEO
  2    you went on the private plane versus a
  3    commercial plane?
  4           A.       I flew both, so I can't
  5    remember how many times I did
  6    commercial, how many times I did
  7    private.        I mean, it was -- I know
  8    that I did fly commercially at some
  9    times when the plane wasn't available.
 10           Q.       And the total number of
 11    trips to the island you think was less
 12    than ten times?
 13                    MR. GUIRGUIS:          Objection.
 14           A.       There was several times.
 15    I'm not sure if it was more than ten.
 16    I don't know the accurate number.                      It
 17    was several times.
 18           Q.       Did you go through any type
 19    of passport control when you went to
 20    the island at all?
 21           A.       No, they didn't check
 22    passports.
 23           Q.       How did you get from where
 24    the plane landed to the island?
 25           A.       Jeffrey's speedboat.




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  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Was that the only method?
  3           A.       Also a helicopter.
  4           Q.       Who flew the helicopter?
  5           A.       I don't -- a guy.
  6           Q.       Was he cute?
  7                    MR. GUIRGUIS:          Objection.
  8           A.       I don't remember.
  9                    MR. GUIRGUIS:          Objection,
 10           and I direct the witness not to
 11           answer.
 12                    MS. MENNINGER:            I'm learning
 13           about superyachting.               I thought I
 14           would find out about the
 15           helicopter.
 16                    MR. GUIRGUIS:          I thought you
 17           were going to ask if he was
 18           taller than 6 feet or less than 6
 19           feet.      I thought that was the
 20           next series of questions.
 21           Q.       So you said the second
 22    massage you gave Jeffrey was on the
 23    island the same day you flew down
 24    there the first time?
 25           A.       Yes.




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  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       And it was in the open-plan
  3    area?
  4           A.       Yes.
  5           Q.       And you recall Sarah Kellen
  6    being the one to ask you to give the
  7    message?
  8           A.       We were all sitting there
  9    socially.         Jeffrey asked me.            And that
 10    wasn't a sexual massage in the seating
 11    area on the island, the second
 12    massage.        He was still training me to
 13    massage, so my standards weren't quite
 14    high enough.
 15           Q.       How did he train you to
 16    massage him?
 17           A.       He let the girls massage me
 18    in front of him.            He showed me how
 19    to -- because his body's full of
 20    knots, so -- and he likes his massage
 21    really hard.           So when you really push
 22    on those knots that he has, you have
 23    to be quite firm with him.
 24           Q.       So he told you what he
 25    liked?




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                                                                  Page 141
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       Yes, yeah.         And some of the
  3    other girls -- sorry.               Natalya showed
  4    me how he like his massages.
  5           Q.       Was he clothed during the
  6    second massage?
  7           A.       Yes.
  8           Q.       Were you clothed?
  9           A.       Yes.
 10           Q.       Did any sexual contact occur
 11    on the second massage?
 12           A.       No.
 13           Q.       When do you recall there
 14    being a third massage?
 15           A.       The next day.
 16           Q.       And what happened that gave
 17    rise to the third massage?
 18           A.       I was called to Jeffrey's
 19    bedroom to massage him.
 20           Q.       Who called you?
 21           A.       I'm -- I don't want to
 22    speculate, so I can't remember
 23    specifically who called me.
 24           Q.       Okay.      So some third person
 25    you don't recall --




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                                                                  Page 142
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       It was a female.            It was
  3    either Sarah Kellen or Natalya, so I
  4    can't remember which of the two that
  5    called me, because they called me many
  6    times during the duration of my trip.
  7           Q.       So when you say called me,
  8    what does that mean?
  9           A.       They come up to me and say,
 10    please go to Jeffrey's bedroom and
 11    massage Jeffrey.            He is waiting for
 12    you.
 13           Q.       What time of day was it?
 14           A.       I think it was -- I can't
 15    remember what specific time of day it
 16    was.
 17           Q.       Can you kind of describe the
 18    island for me.           Were there more than
 19    one building on it?
 20           A.       Yeah, there were multiple
 21    buildings.         You had the main house.
 22    You had certain accommodation areas
 23    where the girls sit.
 24                    There were various buildings
 25    around the island where he used to




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                                                                  Page 143
  1                HIGHLY CONFIDENTIAL AEO
  2    have all -- him and his other guests,
  3    like beds and beds, like little
  4    shelter things where him and his
  5    guests used to have sex with the
  6    girls, like beds set up for instant
  7    sexual entertainment.               So --
  8           Q.       On a beach area?
  9           A.       All over the island.              All
 10    over the island.            So if you go on one
 11    of his quad bikes and do a tour of his
 12    island, which I'm sure you guys have
 13    done, you will see multiple buildings
 14    around the island.
 15           Q.       And where were you staying
 16    during this first trip?
 17           A.       I was staying in one of the
 18    guest houses that Natalya -- the main
 19    guest house that all the girls shared.
 20           Q.       Were you staying in your own
 21    room?
 22           A.       No.
 23           Q.       Who were you sharing a room
 24    with?
 25           A.       Natalya.        I think Nadia




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                                                                  Page 144
  1                HIGHLY CONFIDENTIAL AEO
  2    slept in the bungalow; she didn't stay
  3    there per se.           She was explained to be
  4    Jeffrey Epstein's girlfriend at the
  5    time.
  6           Q.       When you were asked to give
  7    Jeffrey a massage on the third
  8    occasion by a female, do you recall
  9    what words were used?
 10           A.       I can't remember the exact
 11    words, no.         But I was -- it was
 12    generally -- it was, can you please go
 13    and give Jeffrey -- it's kind of like
 14    your turn type of thing.
 15           Q.       Did you know where his
 16    bedroom was?
 17           A.       I was shown to his bedroom.
 18           Q.       Who showed you to his
 19    bedroom?
 20           A.       I can't remember who showed
 21    me to his bedroom.
 22           Q.       All right.         Tell me what
 23    happened during the third massage?
 24           A.       So I went into Jeffrey
 25    Epstein's bedroom.              His bedroom is




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                                                                  Page 145
  1                HIGHLY CONFIDENTIAL AEO
  2    ice-cold; it's always ice-cold.                     He
  3    likes his bedrooms very well air
  4    conditioned.
  5                    There was a massage table
  6    laid out in his bedroom.                  He asked me
  7    to undress and that he wanted to give
  8    me a massage, and he asked me to lay
  9    on the table.           He then started
 10    touching my body.
 11                    I was -- I was -- it didn't
 12    start off as a sexual massage; it was
 13    just -- you know, it was just doing a
 14    normal massage, and then he started to
 15    touch me.         He touched my vaginal
 16    region and he touched me all over.
 17           Q.       Were you draped with a
 18    towel?
 19           A.       No.
 20           Q.       For no part of the massage?
 21           A.       For the -- I can't remember.
 22           Q.       Was anyone else present in
 23    the room?
 24           A.       No.
 25           Q.       And after he started




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                                                                      Page 146
  1                HIGHLY CONFIDENTIAL AEO
  2    touching you while you were on the
  3    table, did you give him a massage?
  4           A.       I can't remember the
  5    specific sequence of events, but I
  6    remember the third massage, it wasn't
  7    for Jeffrey; it was for me.                  He
  8    performed the massage on me.
  9           Q.       Did you tell him to stop?
 10           A.       No, I didn't.
 11           Q.       Did you have any sexual
 12    contact with him?
 13           A.       No, he just touched me.                  And
 14    he was touching himself too, so...
 15           Q.       Did you have an orgasm?
 16           A.       I did have an orgasm.               He
 17    used a specific vibrator on me, which
 18    it was quite hard not to.
 19           Q.       Can you describe it?
 20           A.       Yeah.      It's quite big.           It's
 21    not an actual vibrator.                It's really
 22    good; you should get one if you don't.
 23                    THE WITNESS:          Sorry.      I'm
 24           allowed to talk.            Okay.     Sorry.
 25           A.       It's -- I'll -- can I draw




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                                                                  Page 147
  1                HIGHLY CONFIDENTIAL AEO
  2    it?     Can I draw it?           I'll draw you the
  3    exact -- I can actually get you -- I
  4    actually own one, so I can get you a
  5    photo of it, you know.                It's also in
  6    the pictures in the dentist chair, in
  7    one of the photos, so...
  8                    It's like this.
  9                    THE WITNESS:          I'm sorry.
 10                    MR. GUIRGUIS:          You're fine.
 11                    MS. MCCAWLEY:          You're fine.
 12           A.       So it's actually a massager
 13    for shoulders.           It's got a long base.
 14    It's got quite a -- it's got like a
 15    rubber white head.
 16                    And, yeah, it was really --
 17    it's not -- it's not used for sexual
 18    purposes.
 19           Q.       It's not?
 20           A.       No, that's what I'm saying.
 21    It's not a vibrator.
 22           Q.       Okay.
 23           A.       It was actually quite
 24    painful for me --
 25           Q.       Okay.




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                                                                  Page 148
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       -- actually.
  3           Q.       Okay.      Did you tell him to
  4    stop?
  5           A.       I told him to stop when
  6    he -- because he pressed the vibrator
  7    head on my clitoris and it was
  8    incredibly painful.              It hurt me.
  9    That's a very sensitive area, and the
 10    strength of this specific device he
 11    used is -- it's not really meant for
 12    that.
 13           Q.       Right.      Did he stop when you
 14    said stop?
 15           A.       No.
 16           Q.       And how long did this
 17    massage --
 18           A.       Until -- until I orgasmed.
 19           Q.       And then what happened?
 20           A.       He just stopped.            And I got
 21    dressed and I left.
 22           Q.       Was there any discussion?
 23           A.       No.
 24           Q.       Did he give you any money?
 25           A.       No.




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                                                                  Page 149
  1                HIGHLY CONFIDENTIAL AEO
  2                    MR. GUIRGUIS:          Can we stop
  3           for a moment?          The witness is
  4           crying.       I think maybe we should
  5           take a moment, have a moment.
  6                    MS. MENNINGER:            Okay.     Mark
  7           that as Defendant's Exhibit 2,
  8           and then we'll take a break for
  9           ten minutes.
 10                    (Defendant's Exhibit 2,
 11           hand-drawn picture, was marked
 12           for identification.)
 13                    (Time noted:          12:07 p.m.)
 14                    (Recess.)
 15                    (Time noted:          12:19 p.m.)
 16           Q.       So you just described for
 17    us, I think, what you recall being the
 18    third massage with Jeffrey?
 19           A.       Yeah.
 20           Q.       Do you recall the next one
 21    after that?
 22           A.       It was -- it was basically
 23    the same.         I was called to give
 24    Jeffrey massages.
 25           Q.       During that first trip to




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                                                                  Page 150
  1                HIGHLY CONFIDENTIAL AEO
  2    the island?
  3           A.       During the first trip, yeah.
  4           Q.       Can you approximate how many
  5    massages you gave to him during that
  6    first trip?
  7           A.       I would give him up to maybe
  8    two a day.         The other girls, they had
  9    to also give him massages during that
 10    trip.
 11           Q.       And you don't remember how
 12    many days that trip was?
 13           A.       No, not specifically how
 14    many.       It was a few days.            It was a
 15    few days.
 16           Q.       At some point did the
 17    massages become different than the one
 18    you just described as the third
 19    massage?
 20           A.       It was either Jeffrey lying
 21    on the massage -- me massaging him and
 22    it turning sexual or vice versa.
 23    Pretty much from the third sexual
 24    massage I had with Jeffrey, all other
 25    massages were sexual.




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                                                                  Page 151
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Do you recall who was on the
  3    flight home from the first trip?
  4           A.       I don't recall who was on
  5    the flight home.            I think it was all
  6    the people that were on the first
  7    flight there.
  8           Q.       Did you receive any
  9    compensation from Jeffrey during that
 10    first trip?
 11           A.       I received like $300 or
 12    something.         Not a lot.
 13           Q.       When did you get that?
 14           A.       At the end of the trip.
 15           Q.       How was it given to you?
 16           A.       In cash.
 17           Q.       By whom?
 18           A.       That specific time it was
 19    Jeffrey.
 20           Q.       Where were you when he gave
 21    that you money?
 22           A.       I can't recall where I was
 23    when he gave me the cash.
 24           Q.       Did -- were you still with
 25    the other females that had been on the




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                                                                  Page 152
  1                HIGHLY CONFIDENTIAL AEO
  2    plane?
  3           A.       When he gave me the cash?
  4           Q.       Yes.
  5           A.       I can't recall.           I don't
  6    remember if someone was with me.                     But
  7    we all knew that we were going to get
  8    cash.
  9           Q.       Did you see him give cash to
 10    anyone else?
 11           A.       I saw him give cash to
 12    Natalya.
 13           Q.       How much did he give her, if
 14    you know?
 15           A.       I don't know.
 16           Q.       Did you see Natalya having
 17    any type of sexual relations with
 18    Jeffrey during the trip?
 19           A.       Yes, I did.
 20           Q.       When did you see that?
 21           A.       I didn't see it in the
 22    bedroom, but we were called on, like,
 23    a rotation visit for Jeffrey
 24    throughout the day and evening.
 25           Q.       When did you see Natalya




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                                                                  Page 153
  1                HIGHLY CONFIDENTIAL AEO
  2    having some type of sexual
  3    relationship with Jeffrey on the
  4    island during the first trip?
  5           A.       I didn't see her perform
  6    sexual acts on Jeffrey.
  7           Q.       Did anyone see you
  8    performing sexual acts on Jeffrey
  9    during the first trip to the island?
 10           A.       No.
 11           Q.       Did you tell any of these
 12    other women about what was going on
 13    during your massages with Jeffrey?
 14           A.       Yes.
 15           Q.       Who did you tell?
 16           A.       All the girls that were
 17    there.
 18           Q.       And, again, that is Natalya,
 19    Nadia and Jen?
 20                    MR. GUIRGUIS:          Objection.
 21           Q.       Do you remember?
 22           A.       I can't say specifically if
 23    Jen was there.           I can't remember Jen
 24    being there, so I don't like to bring
 25    Jen into the first trip.




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                                                                   Page 154
  1                HIGHLY CONFIDENTIAL AEO
  2                    I saw her multiple times on
  3    the island, but I can't specifically
  4    place her there on the first trip.                      I
  5    just remember the key people that were
  6    there because they were the most vivid
  7    in my memory.
  8           Q.       Do you know if you took any
  9    pictures during that first trip?
 10           A.       I don't think during that
 11    first trip, no.            We weren't actually
 12    allowed to bring any electronic
 13    devices with us.
 14           Q.       How did you learn that rule?
 15           A.       Natalya told me and the
 16    other girls told me.
 17           Q.       Who are the other girls?
 18           A.       Jen.
 19           Q.       Did you take a camera to the
 20    island?
 21           A.       Not the first time, no.
 22           Q.       Did you have a digital
 23    camera at the time?
 24           A.       Yes, I did.
 25           Q.       What kind?




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                                                                  Page 155
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       I can't remember.
  3           Q.       Did you have a phone with a
  4    camera on it?
  5           A.       I had a BlackBerry, yes,
  6    which you could take photos on.
  7           Q.       All right.         Do you recall
  8    there being any sexual acts performed
  9    on the plane on the ride home during
 10    the first trip?
 11           A.       No.
 12           Q.       Okay.      Do you recall going
 13    down a second time?
 14           A.       To the island?
 15           Q.       Yes.
 16           A.       Yes.
 17           Q.       When did that happen?
 18           A.       Shortly.        I can't remember
 19    specifically when it was, but it
 20    wasn't on -- I don't know the time
 21    length.       I saw Jeffrey and Ghislaine
 22    and the crowd quite a lot in New York
 23    as well, so it's not clear to me when
 24    the second trip was.
 25           Q.       When was the first time you




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                                                                  Page 156
  1                 HIGHLY CONFIDENTIAL AEO
  2    met Ghislaine?
  3           A.       I'd been to the island a
  4    couple times before, and then I met
  5    Ghislaine on the island.
  6           Q.       Tell me about your meeting
  7    with her?
  8           A.       I remember being told by
  9    everyone before she arrived who she
 10    was.        And I was pretty much told the
 11    type of person she was and that I had
 12    to do everything she told me to do.
 13           Q.       Who told that you?
 14           A.       Nadia, Sarah Kellen,
 15    Natalya, Jen.           Every single girl that
 16    I came in communication with told me
 17    that.
 18           Q.       And what type of person did
 19    they tell you that she was?
 20           A.       She's incredibly
 21    intimidating.           She's not someone you
 22    want to be stuck in an alley at night,
 23    put it that way.            She's a very
 24    dangerous character and has
 25    connections.




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                                                                  Page 157
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       And that was communicated to
  3    you by this group of females:                    Nadia,
  4    Sarah, Natalya and Jen?
  5           A.       Yes.
  6           Q.       Anyone else?
  7           A.       I mean, it was a general
  8    conversation amongst the girls about
  9    Ghislaine, so there were other girls
 10    all the time.           So during the duration
 11    of my stay -- so pretty much from
 12    my -- when I first arrived in New
 13    York, my entire time was spent with
 14    Jeffrey and Ghislaine and that crowd.
 15                    So, yeah, it was -- that's
 16    about everything.
 17           Q.       Okay.      So you met --
 18           A.       I met a lot of girls who we
 19    all had the same opinion of Ghislaine;
 20    we were all frightened of her.                    She
 21    had a very odd relationship with
 22    Jeffrey and -- yeah, she's not a
 23    nice -- I'm sorry, I know she's your
 24    client, but she's not -- she's not a
 25    friendly, warm person.




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                                                                  Page 158
  1                HIGHLY CONFIDENTIAL AEO
  2                    I liked her dog, though, her
  3    Yorkshire Terrier.              Her dog was nice.
  4           Q.       You recall meeting her for
  5    the first time on the island?
  6           A.       Yeah.      She flew in by
  7    helicopter.
  8           Q.       And that was after you were
  9    on the island a couple of times?
 10           A.       Yeah.
 11           Q.       Did she fly the helicopter?
 12           A.       I can't remember if she flew
 13    it or not.         I just remember her
 14    getting out -- like getting out of
 15    a -- and going Ghislaine, and I was
 16    like -- I was quite frightened when
 17    she arrived, so...
 18           Q.       Was she alone or with
 19    someone?
 20           A.       I can't remember if she was
 21    with someone.           I just remember the
 22    first time I saw her, I was like, is
 23    that it?        She didn't look that scary
 24    when I first met her.               Looks are
 25    deceiving.




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                                                                  Page 159
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       So the first time you saw
  3    her, she was getting off of a
  4    helicopter?
  5           A.       Yeah.
  6           Q.       And you don't recall if she
  7    flew the helicopter?
  8           A.       I don't recall if she flew
  9    it herself or if there was a pilot
 10    there.       I just remember she arrived on
 11    a helicopter.
 12           Q.       What's the next thing you
 13    remember about your interactions with
 14    her personally?
 15           A.       She stayed on the island a
 16    few days, and I didn't have a lot of
 17    interaction with            her.      I avoided her,
 18    to be honest.
 19           Q.       Did you take pictures of
 20    her?
 21           A.       No.     We weren't allowed any
 22    digital cameras on the island.
 23           Q.       Have you ever taken a
 24    picture of her?
 25           A.       No.     I didn't really feel




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                                                                  Page 160
  1                HIGHLY CONFIDENTIAL AEO
  2    the need to take pictures of Ghislaine
  3    for my photo album.
  4           Q.       Apart from staying away from
  5    her and not having a lot of
  6    interactions, do you recall anything
  7    else about your first interaction with
  8    her on the island?
  9           A.       Yeah.      She was incredibly
 10    unpleasant to me.             She wasn't friendly
 11    or warm.
 12           Q.       What did she say or do?
 13           A.       She was very dismissive.
 14    Just another girl, really.
 15           Q.       Did you ever give her a
 16    massage?
 17           A.       No.
 18           Q.       Did she ever give you a
 19    massage?
 20           A.       She massaged me once or
 21    twice, but it was to -- it was to
 22    refine my technique for Jeffrey.
 23           Q.       This was on the first time
 24    you met her?
 25           A.       Yeah, during that trip




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                                                                  Page 161
  1                HIGHLY CONFIDENTIAL AEO
  2    she -- because Jeffrey, again, he's
  3    quite specific on how he likes his
  4    massages and, yeah, I'm not -- that's
  5    not my forte, massages.
  6           Q.       How did it come about that
  7    she was helping you to refine your
  8    massage techniques?
  9           A.       We were just sitting in the
 10    main area by the big house.                  That's
 11    where we chilled out.               There's a table
 12    there as well.
 13                    And, yeah, we were just
 14    sitting on the sofas, and I think -- I
 15    can't remember if I was giving Jeffrey
 16    a massage, but we were all sitting
 17    together, and I think he was getting
 18    massaged by one girl and we were kind
 19    of taking it in turns.
 20           Q.       Was it sexual?
 21           A.       No, it wasn't sexual.               But
 22    Ghislaine was there, and I wasn't
 23    doing it properly and she showed me
 24    how to massage him and how he liked
 25    it.




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                                                                    Page 162
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       What part of his body did
  3    she show you how to massage?
  4           A.       His feet, his hands.
  5           Q.       Did she say anything to you?
  6           A.       I can't remember
  7    specifically what she said to me.                      She
  8    said a lot of things to me.
  9           Q.       Okay.      Well, tell me what
 10    you remember she said to you.
 11                    MR. GUIRGUIS:          Objection.
 12           When?      Where?      What?       What are we
 13           talking about?
 14           A.       I can't remember
 15    specifically what she said to me.                      All
 16    I know is that she wasn't -- she
 17    wasn't a particularly nice person, to
 18    me or anybody.           So very dictorial
 19    [sic].
 20           Q.       Unlimited by time or
 21    anything, do you recall anything
 22    Ghislaine said to you?
 23                    MR. GUIRGUIS:          Objection.
 24           You're asking her --
 25           A.       It was how to massage




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  1                HIGHLY CONFIDENTIAL AEO
  2    Jeffrey.
  3                    I remember speaking to her
  4    quite a lot about my FIT application.
  5                    I remember speaking to
  6    Ghislaine about my psychiatrist, about
  7    my weight.         My weight was a big issue.
  8    And, in fact, everything was an issue
  9    with Ghislaine.
 10           Q.       During this first time you
 11    met her, other than discussing
 12    massages, did those other topics come
 13    up?
 14           A.       I can't remember the first
 15    encounter with Ghislaine, but it was
 16    pretty soon after.              Everything
 17    snowballed quite quickly.
 18           Q.       Well, you saw her getting
 19    off the helicopter, correct?
 20           A.       Yeah.
 21           Q.       And you saw her on the
 22    island for a couple days that time,
 23    you said, correct?
 24           A.       Yeah.
 25           Q.       So during that time you saw




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                                                                  Page 164
  1                HIGHLY CONFIDENTIAL AEO
  2    her over a couple days, do you
  3    remember any other discussions you had
  4    with her apart from this massage?
  5           A.       We spoke about why I was
  6    there, New York.            I mean, we -- you
  7    know, she got to know me.                  She asked
  8    me a lot of questions about my family
  9    life, my -- I mean, she questioned me
 10    a lot on my personal life.
 11           Q.       Was anyone else present when
 12    you were having these discussions with
 13    Ghislaine?
 14           A.       Yes, everyone.            Everyone
 15    that was -- Sarah Kellen, Jeffrey,
 16    Natalya.
 17           Q.       Was there anyone different
 18    on this trip?
 19           A.       Nadia as well.            Nadia was
 20    there.
 21           Q.       Anyone else on this trip?
 22           A.       I can't remember.
 23           Q.       Was Jean Luc Brunel there?
 24           A.       Not the first time I met
 25    Ghislaine.




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                                                                  Page 165
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Was anyone else there?
  3           A.       I can't remember.
  4           Q.       Anything that would refresh
  5    your memory?
  6           A.       If you could give me the
  7    plane logs or something, or names or
  8    photos.       Ten years, as I said, is an
  9    incredibly long time.               I don't
 10    remember who -- I mean, it was such a
 11    long time for me.
 12                    I came to New York, my
 13    intention was to meet many people,
 14    make new friends, make a new life for
 15    myself.       So I didn't really -- I don't
 16    remember names specifically.
 17           Q.       Do you remember any
 18    descriptions of other people who were
 19    on the island the first time you met
 20    Ghislaine?
 21           A.       They were all beautiful
 22    people.       I just remember being
 23    surrounded by beautiful young people.
 24    They were always girls.                There were
 25    always girls.           You know, girls didn't




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                                                                   Page 166
  1                HIGHLY CONFIDENTIAL AEO
  2    even have time to kind of remember
  3    girls' names because there was always
  4    people leaving the island, popping in,
  5    flying in.         So there was a constant
  6    flux of people coming in, popping in
  7    visiting Jeffrey and Ghislaine.
  8           Q.       So the first time you met
  9    Ghislaine, you saw her get off a
 10    helicopter.          She was on the island for
 11    a couple days.
 12                    Any other females you
 13    remember being there on that occasion?
 14                    MS. MCCAWLEY:          Objection,
 15           asked and answered.
 16           A.       Sarah Kellen, Nadia,
 17    Natalya, and I can't remember any
 18    others.
 19           Q.       Can you remember any
 20    descriptions of other people who were
 21    there on that occasion?
 22                    MR. GUIRGUIS:          Objection,
 23           asked and answered.
 24           A.       They were just pretty.               They
 25    were just beautiful.




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                                                                  Page 167
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Hair color?
  3                    MR. GUIRGUIS:          Objection.
  4           A.       Normal.
  5           Q.       Height?
  6           A.       I don't recall height.
  7           Q.       Any other physical
  8    characteristics at all?
  9                    MR. GUIRGUIS:          Objection.
 10           A.       Just that they were
 11    extremely beautiful.               I've never seen
 12    girls like this.
 13           Q.       Well, you had been a model
 14    in London, right?
 15           A.       Yeah, I have, but, you know,
 16    Jeffrey Epstein, he acquired the
 17    elite, didn't he, you know, him and
 18    Ghislaine.         So they were pretty much
 19    the crème de la crème of the crop, I
 20    would say, the girls that were around
 21    him.
 22           Q.       On this first occasion when
 23    you met Ghislaine and there were
 24    beautiful girls, who you don't recall
 25    what they look like; you recall they




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                                                                       Page 168
  1                HIGHLY CONFIDENTIAL AEO
  2    were beautiful?
  3           A.       Yeah, there were beautiful
  4    people constantly surrounded by
  5    Jeffrey Epstein and Ghislaine.                       They
  6    were only surrounded by beautiful
  7    people, beautiful girls.
  8           Q.       But apart from that, you
  9    don't have any other specifics?
 10           A.       I don't recall the
 11    appearance of the other girls.                       I
 12    don't -- as I will say again, there
 13    was a constant stream of people coming
 14    in, going off the island, popping in,
 15    popping out, girls flying in, girls
 16    flying out.          There were girls on the
 17    island that were there shorter time
 18    frames than me and flew out.
 19                    I didn't really -- I hung
 20    out with my crew:             Natalya, Jen.              They
 21    were -- they were my friends.                    I
 22    thought they were my friends.                    So I
 23    didn't really cozy up to any of the
 24    other girls.
 25                    It's like high school, you




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                                                                   Page 169
  1                HIGHLY CONFIDENTIAL AEO
  2    know, you're not friends with
  3    everybody.         You ask me who -- everyone
  4    I went to school with, I don't
  5    remember.         I don't have a clue.              I
  6    don't know who they are.
  7           Q.       Do you have a best friend
  8    from school?
  9                    MR. GUIRGUIS:          Objection.
 10           A.       Several.        Several.       I mean,
 11    who has any best friend at school?
 12    School's school.            We don't make best
 13    friends at school.
 14           Q.       Who is Pumla?
 15           A.       She was an acquaintance that
 16    I met in New York.
 17           Q.       Where did you meet her?
 18           A.       I think I met her at a bar
 19    or something.
 20           Q.       Was she a friend of yours
 21    during this time period?
 22           A.       She was an acquaintance.                I
 23    would say friend is -- yeah, I
 24    wouldn't say friend.               I'd say
 25    acquaintance.




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                                                                  Page 170
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       So on this occasion where
  3    you met Ghislaine on the island and
  4    you spoke to her about massage, did
  5    you ever have any other sexual-type
  6    interactions with her?
  7                    MS. MCCAWLEY:          I didn't hear
  8           the end of that.            Did you say
  9           "him"?
 10           Q.       Sexual-type interactions
 11    with her?
 12           A.       With her?
 13           Q.       Ghislaine?
 14           A.       No.
 15           Q.       And do you recall if she
 16    flew with you back on the plane?
 17           A.       I can't remember.
 18           Q.       What's the next time you
 19    went to the island?
 20           A.       Again, I don't remember
 21    specifically.           I went various several
 22    times during the duration.                  So I
 23    remember there was a -- it was several
 24    times.       I can't remember the next time
 25    I went to the island.               I mean, it's...




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                                                                  Page 171
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Was it before you went back
  3    to South Africa to visit?
  4           A.       Yes.
  5           Q.       All the visits to the island
  6    were before that?
  7                    MS. MCCAWLEY:          Objection.
  8           A.       Yeah.
  9           Q.       What's the next time you
 10    remember meeting Ghislaine?
 11           A.       I met her at the office in
 12    New York.
 13           Q.       What's the office?
 14           A.       Jeffrey's office, main
 15    office.
 16           Q.       Where is that?
 17           A.       I don't remember the
 18    location.         It's central.           It's got a
 19    courtyard.         Like when you walk in,
 20    there's like a courtyard.
 21           Q.       What were you doing at
 22    Jeffrey's office in New York?
 23           A.       We were preparing for my
 24    college application.               Jeffrey often
 25    wanted to see just how I was doing, so




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                                                                     Page 172
  1                HIGHLY CONFIDENTIAL AEO
  2    I had to regularly pop in to see him
  3    and Ghislaine.           And Ghislaine would
  4    often check how I was doing and blah,
  5    blah, blah, etcetera.
  6           Q.       What were you doing to
  7    prepare for your college application?
  8           A.       I had to write an essay.
  9           Q.       When did you --
 10           A.       Also, I had to do -- like,
 11    you know how you apply for college
 12    applications; you've got your
 13    application forms and such.                  So it was
 14    more admin.
 15           Q.       And you were going to
 16    Jeffrey's office to work on your
 17    forms?
 18           A.       Yes.     And to just say hi.              I
 19    was -- well, I never went on my own
 20    accord.       I was either invited or told
 21    to be there by either Ghislaine or
 22    Jeffrey.        I also went to the offices
 23    on a number of occasions for private
 24    legal matter.
 25           Q.       What's the private legal




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                                                                  Page 173
  1                HIGHLY CONFIDENTIAL AEO
  2    matter?
  3                    MR. GUIRGUIS:          Objection.
  4           I'm going to direct you not to
  5           answer if it's unrelated to this
  6           case.
  7           Q.       Was there an attorney
  8    present?
  9           A.       Yes.
 10           Q.       What was the name of the
 11    attorney who was present?
 12           A.       Alan Dershowitz.
 13           Q.       So I was asking about the
 14    second time you met Ghislaine.                    It was
 15    at Jeffrey's office in New York?
 16           A.       Yes.
 17           Q.       How did you come to be in
 18    Jeffrey's office in New York where you
 19    met Ghislaine the second time?
 20           A.       I was told to be there.
 21           Q.       Who told you to be there?
 22           A.       I think it was Ghislaine.
 23           Q.       How did Ghislaine tell you
 24    to be there?
 25           A.       I can't remember if it was




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                                                                  Page 174
  1                HIGHLY CONFIDENTIAL AEO
  2    via telephone call.              I can't remember
  3    the exact communication that she used.
  4    But I was told to regularly be there
  5    when they wanted me there, and just
  6    grabbed a taxi and arrived at the
  7    office.
  8           Q.       Well, I'm asking you about
  9    the second time.
 10                    So you met her on the
 11    island, and the next thing you know,
 12    you have a communication from her in
 13    New York?
 14           A.       Well, she was always with
 15    Jeffrey in his office, so it's like --
 16    okay, so let me explain it.
 17                    So you go to an office and
 18    you see Jeffrey's office there and
 19    Ghislaine -- Ghislaine was always at
 20    Jeffrey's office, so I think she had
 21    her own office there.
 22                    So when you walk in and
 23    you've met people before, you kind of
 24    say hi to everyone.              You know, you
 25    have a little chitchat.




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                                                                  Page 175
  1                 HIGHLY CONFIDENTIAL AEO
  2                    Do you understand?             You
  3    don't -- you don't -- you know, I
  4    chatted with Ghislaine, I chatted with
  5    Jeffrey.        It was a busy office.                I
  6    can't remember specifically what was
  7    said.        It was just a check-in, kind
  8    of.
  9           Q.       So you were going there to
 10    work on your college application, and
 11    you happened to see Ghislaine in the
 12    offices?
 13                    MS. MCCAWLEY:          Objection.
 14           A.       She -- you know, she
 15    participated in the -- you know, a
 16    lot.        She was interested in me.                I
 17    was -- you know, she interacted with
 18    me.
 19           Q.       I know.       I'm trying to
 20    understand when you did this.                    When
 21    was it?
 22           A.       It was the second time, the
 23    first time I went to the office.
 24           Q.       The first time you went to
 25    the office, the second time you met




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                                                                  Page 176
  1                HIGHLY CONFIDENTIAL AEO
  2    Ghislaine?
  3           A.       Yes.
  4           Q.       And when was it relative to
  5    the first time you met Ghislaine?
  6           A.       I can't remember if it was a
  7    couple of weeks later.                I don't
  8    remember the exact time frame of how
  9    many days or weeks there was between
 10    the first trip and the -- when I went
 11    in to the office.
 12           Q.       But you do recall going into
 13    the office to work on your college
 14    application?
 15                    MS. MCCAWLEY:          Objection.
 16           A.       Yes.     Well, I went in a
 17    number of times to the office.                    So,
 18    like, we regularly had to report to
 19    Jeffrey in the office.                It was a -- we
 20    were called all the time there.
 21           Q.       What do you mean, you had to
 22    report there?
 23           A.       Well, Jeffrey liked to check
 24    in with all of us.
 25           Q.       How was it communicated to




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                                                                  Page 177
  1                HIGHLY CONFIDENTIAL AEO
  2    you that you needed to report to the
  3    office?
  4           A.       Jeffrey.        I was just told to
  5    be there; I had to be there.
  6           Q.       Who told that you?
  7           A.       Jeffrey and Ghislaine.
  8           Q.       Anyone else?
  9           A.       Sarah Kellen and Lesley
 10    Groff.
 11           Q.       How did they communicate it
 12    to you?
 13           A.       By telephonic call.
 14           Q.       To your cell phone?
 15           A.       And BlackBerry, which they
 16    provided me.
 17           Q.       So you did not have a
 18    BlackBerry before you met Jeffrey?
 19           A.       No.
 20           Q.       Then you got a BlackBerry
 21    when you were --
 22           A.       That's correct.
 23           Q.       -- acquainted with him.
 24                    And what happened with the
 25    phone you had before?




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                                                                   Page 178
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       It's got lost through
  3    translation.          I have moved several
  4    times through the years, so...
  5           Q.       So you got messages or phone
  6    calls?
  7           A.       BBMs, phone calls, text
  8    messages.
  9                    All the emails that they
 10    sent me, I think you guys have.                     There
 11    wasn't a lot of email correspondence.
 12    The majority of it was done by phone
 13    call.
 14           Q.       Did you have any emails with
 15    Ghislaine?
 16           A.       No, no email correspondence
 17    with Ghislaine.
 18           Q.       Did you have her phone
 19    number?
 20           A.       I did at the time, yeah.
 21           Q.       Do you remember what it was?
 22           A.       No.
 23           Q.       Do you remember what your
 24    number was?
 25           A.       No.




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                                                                  Page 179
  1                HIGHLY CONFIDENTIAL AEO
  2                    MR. GUIRGUIS:          Objection,
  3           asked and answered.
  4           Q.       Tell me about any
  5    conversations you had with Ghislaine
  6    that involved FIT.
  7                    MR. GUIRGUIS:          Objection,
  8           form.
  9           A.       I can't remember the
 10    specific conversation.                There were
 11    many conversations.              I was just
 12    applying -- doing an application form.
 13    And they were trying to get me in.
 14    They -- yeah, I can't remember the
 15    exact -- I think Ghislaine also knew
 16    people there, so they were basically
 17    trying to get me into FIT.
 18           Q.       Well, tell me what you
 19    recall Ghislaine saying versus they?
 20           A.       I can't remember
 21    specifically the conversation, so I
 22    would not like to speculate.                   But I
 23    will give you the overall conversation
 24    was regarding my FIT application, but
 25    I cannot remember the specific content




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                                                                  Page 180
  1                HIGHLY CONFIDENTIAL AEO
  2    or the specific words used.
  3                    But it was surrounding my
  4    FIT application and an essay I had to
  5    write, and they both proofread my FIT
  6    application as well.
  7           Q.       And did they both read your
  8    essay?
  9           A.       Yes, they did.
 10           Q.       When did you write that
 11    essay?
 12           A.       I can't remember.
 13           Q.       Before you went to South
 14    Africa?
 15           A.       Yes.
 16           Q.       Do you know what the
 17    application deadline was?
 18           A.       I don't know.          I don't know.
 19    I can't remember.
 20           Q.       When did you meet Alan
 21    Dershowitz?
 22           A.       I don't remember the
 23    specific date.           It was a few months
 24    after I had been here in New York.
 25           Q.       Was it after you had gone to




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                                                                  Page 181
  1                HIGHLY CONFIDENTIAL AEO
  2    the island?
  3           A.       Yes.
  4           Q.       Do you know what time of
  5    year?
  6           A.       I mean, I think it was
  7    before winter.
  8           Q.       Well, you were here in the
  9    fall.
 10           A.       Yeah.
 11           Q.       And you left in the winter?
 12           A.       Yeah.      I left in May.
 13           Q.       So did you meet him before
 14    you went to South Africa?
 15           A.       Yes.
 16           Q.       Well, let's be clear.               You
 17    were here until you went to South
 18    Africa, and you left for a while and
 19    then you came back, right?
 20           A.       Mm-hmm.
 21           Q.       How long were you gone?
 22           A.       I think about three -- about
 23    three weeks.
 24           Q.       So you met him before you
 25    went to South Africa?




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  1                HIGHLY CONFIDENTIAL AEO
  2           A.       Yes.
  3           Q.       And tell me about when you
  4    met Alan.
  5           A.       I first met Alan at the
  6    offices.
  7           Q.       And tell me what happened.
  8           A.       I can't really tell you what
  9    happened, because it's about a legal
 10    matter.
 11           Q.       Was he your lawyer?
 12           A.       He was going to be assigned
 13    to be my lawyer.
 14           Q.       Assigned to be your lawyer?
 15           A.       Through Jeffrey's
 16    instruction.
 17           Q.       Okay.      Was he your lawyer?
 18                    MS. MCCAWLEY:          Objection,
 19           asked and answered.
 20                    MS. MENNINGER:            I don't know
 21           if there's a privilege.
 22                    MR. GUIRGUIS:          There's a
 23           privilege whether he was retained
 24           or not, right?           I mean, if you're
 25           at a cocktail party and you speak




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  1                HIGHLY CONFIDENTIAL AEO
  2           to a lawyer, you know that
  3           conversation is privileged.
  4           So...
  5                    MS. MENNINGER:            Well, I
  6           don't, actually.
  7                    MR. GUIRGUIS:          You're free
  8           to research it.
  9                    MS. MENNINGER:            I will ask
 10           questions, then, to try to
 11           establish whether or not there's
 12           a good-faith basis.
 13           Q.       Did you approach Alan
 14    Dershowitz for the purpose of seeking
 15    legal advice?
 16           A.       I was introduced to Alan.
 17           Q.       By whom?
 18           A.       Jeffrey Epstein.
 19           Q.       On what day?
 20           A.       I don't recall what day.
 21           Q.       Was it related to some event
 22    that had occurred just before that?
 23           A.       Yes, that's correct.
 24           Q.       Were you in touch with any
 25    law enforcement authorities?




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  1                HIGHLY CONFIDENTIAL AEO
  2           A.       No.
  3           Q.       Hmm?
  4           A.       No.
  5           Q.       Was Jeffrey Epstein in the
  6    room when you were speaking with Alan
  7    Dershowitz?
  8           A.       Yes.
  9           Q.       Did Jeffrey Epstein overhear
 10    your conversation with Alan
 11    Dershowitz?
 12           A.       Yes.
 13           Q.       What did you talk about with
 14    Alan Dershowitz?
 15                    MR. GUIRGUIS:          Objection.
 16           A.       It --
 17                    MR. GUIRGUIS:          Objection.         I
 18           direct the witness not to answer.
 19                    MS. MENNINGER:            A third
 20           party was in the room; you've
 21           heard that, Counsel.               And you
 22           know that means that's a waiver.
 23                    MS. MCCAWLEY:          No.     I mean,
 24           they would have been involved --
 25           we don't know what the situation




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  1                 HIGHLY CONFIDENTIAL AEO
  2           is.     They could have been
  3           involved together.             There could
  4           be a number of reasons why
  5           Jeffrey had some sort of common
  6           interest with her with that.
  7           Q.       Did you sign a common
  8    interest agreement with Jeffrey?
  9                    MR. GUIRGUIS:          Objection.
 10           Do not answer.
 11                    MS. MENNINGER:            Whether she
 12           had a common interest agreement
 13           with Jeffrey, you're instructing
 14           her not to answer; is that right,
 15           Counsel?
 16                    MR. GUIRGUIS:          Do you have
 17           realtime in front of you,
 18           Counsel?
 19                    MS. MENNINGER:            I don't.
 20                    MR. GUIRGUIS:          You don't?
 21           You can borrow mine.
 22                    MS. MENNINGER:            I don't want
 23           it.     Thank you.
 24                    MR. GUIRGUIS:          Okay.
 25           Q.       Anyone else in the room when




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  1                HIGHLY CONFIDENTIAL AEO
  2    you spoke with Mr. Dershowitz?
  3           A.       No.
  4           Q.       Describe Mr. Dershowitz for
  5    me.
  6           A.       He -- old age; white, pasty
  7    skin; not very attractive.                  Wears
  8    glasses.        Bit of an ugly man, really.
  9           Q.       Did he have any facial hair?
 10           A.       I can't recall at that time,
 11    no.
 12           Q.       Mustache?
 13           A.       I can't remember.
 14           Q.       Beard?
 15           A.       I can't remember.
 16           Q.       You can't remember if he had
 17    a mustache or a beard?
 18                    MR. GUIRGUIS:          Objection,
 19           asked and answered.
 20                    MS. MCCAWLEY:          Objection.
 21           A.       I don't recall seeing a
 22    massage -- sorry, a mustache on Alan
 23    Dershowitz.           I don't recall a massive
 24    amount of facial hair.                I recall Alan
 25    Dershowitz.           Whether he had stubble or




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                                                                  Page 187
  1                HIGHLY CONFIDENTIAL AEO
  2    not, I'm -- yeah, it's -- he didn't
  3    have a beard, I don't think.
  4           Q.       All right.         Did you sign an
  5    affidavit that you submitted in this
  6    case?
  7           A.       Yes.
  8           Q.       Did you make the allegation
  9    in your declaration that you had a
 10    sexual relationship with Alan
 11    Dershowitz?
 12           A.       Yes, I absolutely did.
 13           Q.       When did you have sex with
 14    Alan Dershowitz?
 15           A.       I can't remember the exact
 16    time, but it was in Jeffrey's New York
 17    apartment.
 18           Q.       Where in the apartment?
 19           A.       It was in a bathroom.               I
 20    can't remember.
 21           Q.       Was it before or after you
 22    had this conversation that you won't
 23    describe?
 24           A.       It was after.
 25           Q.       So do you recall what month




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                                                                  Page 188
  1                HIGHLY CONFIDENTIAL AEO
  2    that was?         Before you went to South
  3    Africa or after you went to South
  4    Africa?
  5           A.       I can't remember.
  6           Q.       How long did you speak to
  7    Alan Dershowitz during your first
  8    meeting with him?
  9           A.       Until I was finished
 10    explaining what my legal matter was.
 11           Q.       Did he believe you to be --
 12    did he believe that he was your lawyer
 13    during that conversation?
 14                    MR. GUIRGUIS:          Objection.
 15                    MS. MCCAWLEY:          Objection.
 16                    MR. POTTINGER:            Please.
 17                    MR. PAGLIUCA:          All right,
 18           guys.      You know, let's just do
 19           the deposition here without the
 20           chorus over there.
 21                    MR. GUIRGUIS:          And without
 22           the speeches as well.
 23                    We agree, let's carry on
 24           without asking ridiculous
 25           questions about what other




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                                                                  Page 189
  1                HIGHLY CONFIDENTIAL AEO
  2           people's mental state was.                 I
  3           think that's a good idea.                 Let's
  4           carry on.
  5                    Counsel?
  6           Q.       Did you ever sign a fee
  7    agreement with Alan Dershowitz?
  8           A.       No.
  9           Q.       Did you ever appear in court
 10    with Alan Dershowitz?
 11           A.       No.
 12           Q.       Did you ever appear in court
 13    yourself?
 14           A.       No.
 15           Q.       Did you ever have any
 16    contact with any law enforcement
 17    officers while you were in New York?
 18           A.       No.
 19           Q.       Any police?
 20           A.       No.
 21           Q.       After you left that meeting
 22    with Alan Dershowitz, when did you see
 23    him next?
 24           A.       I can't remember.            I think
 25    it was at dinner.             There was a dinner,




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                                                                  Page 190
  1                HIGHLY CONFIDENTIAL AEO
  2    yeah.
  3           Q.       And do you know whether the
  4    dinner was before or after you went to
  5    South Africa?
  6           A.       I can't remember the
  7    specific time period, so I don't
  8    remember if it was before or after.
  9    But it was --
 10           Q.       Where was the dinner?
 11           A.       It was in a restaurant in
 12    New York.
 13           Q.       What restaurant?
 14           A.       I can't remember.
 15           Q.       Who else was there?
 16           A.       I remember Alan, Jeffrey,
 17    myself.       And I can't remember if
 18    others -- if there were other people
 19    there.
 20           Q.       What type of restaurant was
 21    it?
 22           A.       It was a nice restaurant.
 23           Q.       Do you remember the type of
 24    cuisine?
 25           A.       No.




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                                                                  Page 191
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       When was the next time --
  3    what do you remember discussing that
  4    dinner?
  5           A.       The legal matter I had.
  6           Q.       Did you consider him to be
  7    your lawyer at that dinner?
  8           A.       Yes, I did.
  9           Q.       What's the next time that
 10    you saw Alan Dershowitz?
 11           A.       At Jeffrey's New York
 12    mansion.
 13           Q.       When was that?
 14           A.       It was after the second time
 15    I had met Alan.
 16           Q.       Had you been to South
 17    Africa?
 18           A.       I can't remember.
 19           Q.       Tell me what happened during
 20    that encounter.
 21           A.       I walked in the room -- I
 22    walked in the house.               Jeffrey and
 23    Nadia and Alan were there.
 24           Q.       What happened after you
 25    walked in the house?




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                                                                  Page 192
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       I -- it was really strange,
  3    because Nadia didn't like me.                    And so
  4    when I arrived, we had -- I think -- I
  5    can't remember if I had, like, water
  6    or whatever.
  7                    Nadia took me upstairs.                I
  8    remember there was a room.                  I didn't
  9    quite understand what was going on at
 10    the time.         I knew obviously something
 11    was going on, because I never met
 12    Nadia socially.
 13                    So Nadia started undressing
 14    me in the room.            She started
 15    undressing me by the bed.                 We got on
 16    the bed.        I kind of knew what was
 17    going on from that.              The girls were
 18    often forced to have sex with each
 19    other for Jeffrey's pleasure, so it
 20    was just another occasion, I guess.
 21                    Jeffrey then walked in the
 22    room.       He started masturbating under
 23    his clothes.          He put his hand in his
 24    trousers.         A few minutes later Alan
 25    walked in the room.              He started




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                                                                  Page 193
  1                HIGHLY CONFIDENTIAL AEO
  2    undressing, he got on the bed with
  3    Nadia and myself, and we basically had
  4    a three-way sexual interaction.
  5           Q.       Was Alan fully unclothed?
  6           A.       During -- when?           At what
  7    specific -- he walked in with clothes.
  8           Q.       And he got fully undressed?
  9           A.       Yes.
 10           Q.       So you saw his entire naked
 11    body?
 12           A.       Yes.
 13           Q.       Did you notice anything
 14    specific about his body?
 15           A.       Not that I recall.             I mean
 16    -- yeah, not that I -- I can't really
 17    remember.         It was quite a -- it was
 18    a -- it wasn't a pleasant experience.
 19           Q.       What did you do with Alan?
 20           A.       I gave him oral sex,
 21    masturbated him.
 22           Q.       Anything else?
 23           A.       He did the same with Nadia.
 24    He performed the same on me.
 25           Q.       Did he ejaculate?




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                                                                  Page 194
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       He did, yeah.
  3           Q.       In your mouth?
  4           A.       No.
  5           Q.       Did you have intercourse
  6    with him?
  7           A.       No, not penetration, no.
  8           Q.       Did you see him ejaculate
  9    more than once?
 10           A.       No, I didn't see him
 11    ejaculate more than once.
 12           Q.       You didn't notice any scars?
 13                    MS. MCCAWLEY:          Objection.
 14           A.       I don't recall specific
 15    markings on every man I've been with
 16    body.       So it's not something -- I
 17    wasn't ravishing Alan's body.                    I was
 18    trying to close my eyes and just get
 19    it done so I could go home and watch
 20    TV, really.           So I wasn't really aware.
 21                    I didn't really like kind of
 22    go, woo, his body.              I don't -- I don't
 23    recall his body at all.                Like, I don't
 24    make a mental note of every man's body
 25    I've slept with.




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                                                                  Page 195
  1                 HIGHLY CONFIDENTIAL AEO
  2           Q.       Other than Jeffrey, is that
  3    the first time you had sex with
  4    another man in his home or on his
  5    property?
  6           A.       Sorry, can you just repeat
  7    the question.
  8                    MR. GUIRGUIS:          Or rephrase
  9           it.
 10                    THE WITNESS:          I'll just read
 11           it.
 12                    MR. GUIRGUIS:          If you
 13           understand it.
 14           A.       Yeah, he was the only
 15    person, Alan Dershowitz.
 16           Q.       Did you have sex with him
 17    more than once?
 18           A.       No.
 19           Q.       At the occasion you just
 20    described, did he have an erection?
 21           A.       It was -- it was -- it
 22    wasn't particularly hard.                 It was
 23    pretty disappointing.
 24           Q.       And where did he ejaculate?
 25           A.       I had given him oral sex




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                                                                  Page 196
  1                HIGHLY CONFIDENTIAL AEO
  2    and, well, he ejaculated -- he
  3    ejaculated.          I mean, there's only so
  4    many places a man can ejaculate.                     He
  5    didn't ejaculate on me.
  6                    He didn't ejaculate in my
  7    mouth.       I gave him oral and I
  8    masturbated him and finished him off.
  9    He ejaculated over himself, me.
 10    Just -- there wasn't a lot of
 11    ejaculation.          I don't remember a lot
 12    of sperm.         I didn't see massive
 13    amounts of semen.             But I just remember
 14    him ejaculating, but it wasn't in my
 15    mouth.
 16           Q.       And in terms of time frame,
 17    the best you can say is this is after
 18    you had been to the island a few
 19    times?
 20           A.       That's correct.
 21           Q.       And you don't remember if it
 22    was before or after you went to South
 23    Africa?
 24           A.       I can't remember
 25    specifically, no.




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                                                                  Page 197
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Did you see Alan Dershowitz
  3    again after that one occasion?
  4           A.       No.
  5           Q.       So you saw him at the
  6    office, you say saw him at dinner, and
  7    you saw him that one time in the
  8    bedroom at Jeffrey's house?
  9           A.       That's correct.
 10                    MS. MENNINGER:            It's 1:00.
 11           I think we should take a small
 12           lunch break.
 13                    (Time noted:          1:01 p.m.)
 14                    (Luncheon recess.)
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25




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                                                                  Page 198
  1               HIGHLY CONFIDENTIAL AEO
  2            A F T E R N O O N             S E S S I O N
  3                    (Time noted:          1:54 p.m.)
  4                    MR. GUIRGUIS:          Counsel,
  5           before you commence with your
  6           questioning, I think there's one
  7           issue from this morning that the
  8           witness wants to correct herself
  9           on, so just let her do that now.
 10                    THE WITNESS:          I said earlier
 11           that I would just like to correct
 12           that my lawyers are paying for --
 13           they are covering my hotel
 14           expense.
 15                    MS. MENNINGER:            Thank you
 16           for that clarification.
 17                    THE WITNESS:          And --
 18                    MR. GUIRGUIS:          Go ahead.
 19                    THE WITNESS:          And my flight.
 20                    MS. MENNINGER:            Thank you.
 21                    SARAH RANSOME, RESUMED,
 22           having been previously and duly
 23           sworn, was examined and testified
 24           further, as follows:
 25                    CONTINUED EXAMINATION




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                                                                  Page 199
  1                HIGHLY CONFIDENTIAL AEO
  2                    BY MS. MENNINGER:
  3           Q.       Going back to your first
  4    conversation with Alan Dershowitz, at
  5    any point in that conversation, had
  6    Mr. Dershowitz agreed to act as your
  7    lawyer?
  8           A.       Yes.
  9           Q.       Did he do anything in terms
 10    of contacting anyone on your behalf?
 11                    MR. GUIRGUIS:          Objection.
 12                    Do not answer.
 13           Q.       What was the specific legal
 14    matter that you were seeking
 15    representation for?
 16                    MS. MCCAWLEY:          Objection.
 17                    MR. GUIRGUIS:          Objection.
 18                    Do not answer.
 19           Q.       What did you understand the
 20    purpose of Jeffrey Epstein being in
 21    the room for during that conversation?
 22           A.       Jeffrey was there to support
 23    me and Jeffrey was looking after me.
 24           Q.       When you engaged in sexual
 25    conduct with Alan Dershowitz, did you




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                                                                  Page 200
  1                HIGHLY CONFIDENTIAL AEO
  2    see any evidence on his body of his
  3    surgical procedure?
  4           A.       I don't recall seeing
  5    anything.         I can't remember.
  6           Q.       Did you see any bandages?
  7           A.       I can't remember.
  8           Q.       Did you see him bleed
  9    through his penis?
 10           A.       Not that I recall.
 11           Q.       Do you recall seeing
 12    Mr. Dershowitz bleed through his
 13    penis?
 14                    MS. MCCAWLEY:          Objection,
 15           asked and answered.
 16           A.       Not that I recall.
 17           Q.       When you were on the island,
 18    sometime less than ten times, you
 19    think, did you ever use any drugs?
 20           A.       No.
 21           Q.       Did you use cocaine?
 22           A.       No.
 23           Q.       Did you ever get thrown off
 24    the island for using cocaine?
 25           A.       No.




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                                                                   Page 201
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Did you drink alcohol?
  3           A.       No.
  4           Q.       None?
  5           A.       During on the island,
  6    whenever I was around Jeffrey,
  7    absolutely not.
  8           Q.       Other than going to the
  9    island, did you travel with Jeffrey
 10    anywhere else?
 11           A.       No.
 12           Q.       Did you ever travel anywhere
 13    with Ghislaine Maxwell?
 14           A.       No.
 15           Q.       Did you ever fly on an
 16    airplane with Ghislaine Maxwell?
 17           A.       I don't -- I don't remember.
 18           Q.       You don't remember any time
 19    you flew on a plane with Ghislaine
 20    Maxwell?
 21           A.       No, I don't remember.               There
 22    were always many people on the plane.
 23           Q.       When you refer to the plane,
 24    you're referring to a private plane?
 25           A.       Jeffrey's plane, yes.




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                                                                  Page 202
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Did you travel on more than
  3    one plane of Jeffrey's?
  4           A.       Not that I -- no, I don't
  5    remember.         I don't remember.
  6           Q.       Can you visualize in your
  7    head any other layout of a different
  8    type of plane than the one you drew in
  9    Defendant's Exhibit 1?
 10           A.       No.
 11           Q.       Why did you go to South
 12    Africa in early 2007?
 13           A.       To visit my family.
 14           Q.       And which family members did
 15    you visit?
 16           A.       My father and my stepmother.
 17           Q.       Anyone else?
 18           A.       No.
 19           Q.       Any siblings?
 20           A.       My younger brother and
 21    sister lived with my parents; my dad
 22    and my stepmom and their two younger
 23    children.
 24           Q.       Did you see any school
 25    friends there?




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  1                HIGHLY CONFIDENTIAL AEO
  2           A.       No.
  3           Q.       Who paid for your plane
  4    ticket to go to South Africa?
  5           A.       Jeffrey did.
  6           Q.       How did that come about?
  7           A.       I wanted to see my family,
  8    and he funded the plane ticket because
  9    he was funding everything else at that
 10    time.
 11           Q.       What else was he funding at
 12    that time?
 13           A.       Accommodation, travel,
 14    taxis, food, my prescription that I
 15    had to pay for, for the prescription
 16    that -- prescription drugs.
 17           Q.       Had you taken any
 18    prescriptions for mental health
 19    disorders before October 2006?
 20           A.       No.
 21           Q.       Have you taken any since May
 22    of 2007?
 23           A.       Yes, I have.
 24           Q.       Which ones?
 25           A.       Paroxetine.




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  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Anything else?
  3                    MS. MCCAWLEY:          I'm going to
  4           object.       There's no time frame on
  5           this.      You're talking about one
  6           year?      All the years from 2007 to
  7           2015?      Which I would say is
  8           inappropriate for a nonparty
  9           witness to talk about her -- if
 10           you're talking generally about
 11           prescriptions.
 12           Q.       Are you on any medications
 13    right now?
 14           A.       Yes, I am.
 15                    MS. MCCAWLEY:          Objection.
 16           Q.       What are you on right now?
 17           A.       Paroxetine.
 18           Q.       What's that for?
 19           A.       It's for posttraumatic
 20    stress and anxiety.              Paroxetine, about
 21    a year, a year now.
 22           Q.       Was it prescribed to you
 23    before you moved to Barcelona?
 24           A.       Yes, it was.
 25           Q.       Who prescribed it to you?




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                                                                  Page 205
  1               HIGHLY CONFIDENTIAL AEO
  2                    MR. GUIRGUIS:          Objection.
  3                    You don't have to answer
  4           that.
  5                    MS. MENNINGER:            On what
  6           grounds, Counsel?
  7                    MR. GUIRGUIS:          I don't know
  8           what period you're talking about.
  9           I don't know what doctor you're
 10           talking about.           I don't know why
 11           any of this is relevant.                That's
 12           why I'm objecting.
 13                    MS. MENNINGER:            So you're
 14           objecting on relevance grounds?
 15                    MR. GUIRGUIS:          I'm objecting
 16           for relevance, and also for the
 17           same reasons that were just
 18           explained by counsel for
 19           plaintiff, which is that this is
 20           a nonparty witness and you're not
 21           even proffering a reason why
 22           you're asking the question.
 23                    So, yes, I'm not going to
 24           let this go totally far afield
 25           without objection.             If you'd like




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                                                                  Page 206
  1                HIGHLY CONFIDENTIAL AEO
  2           to proffer a reason, we can talk
  3           about it.
  4           Q.       You've been taking
  5    paroxetine for approximately a year?
  6           A.       Mm-hmm.
  7           Q.       Did you take any medications
  8    between 2007 and 2016 for any mental
  9    health disorders?
 10           A.       Yes, I did.
 11           Q.       What were they?
 12           A.       When I moved back to the UK,
 13    it was the same prescription drugs
 14    that Jeffrey's psychiatrist had
 15    prescribed me.           I continued on with my
 16    medication even though I was wrongly
 17    diagnosed.         I didn't know I had been
 18    wrongly diagnosed.
 19           Q.       When did you learn you had
 20    been wrongfully diagnosed?
 21           A.       When I went to a real
 22    doctor.
 23           Q.       When was that?
 24           A.       I saw a psychologist after
 25    2008, and they told me that the drugs




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  1                 HIGHLY CONFIDENTIAL AEO
  2    I had been prescribed were incorrect.
  3           Q.       Those are the ones you
  4    mentioned earlier in your testimony?
  5           A.       Yeah.      I had to stop and
  6    change medication, because I was first
  7    started on lithium.              The lithium made
  8    me put on weight at quite a rapid
  9    rate, so I was put on so many
 10    different types of medication because
 11    I didn't -- not every one agrees with
 12    you.        Weight was a massive issue for
 13    Ghislaine and Jeffrey, so the lithium
 14    just didn't work for me.                  I mean, I
 15    put on weight quite quickly.
 16           Q.       What did Ghislaine Maxwell
 17    say to you about weight?
 18           A.       Well, what did she not say?
 19    She bullied me massively about my
 20    weight.
 21           Q.       What did see say?
 22           A.       I was told that I would lose
 23    Jeffrey's financing if I didn't lose
 24    weight, and I would not -- they would
 25    not help me get into FIT.




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                                                                     Page 208
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Who were you told that by?
  3           A.       Ghislaine and Jeffrey.
  4           Q.       In the same conversation?
  5           A.       Various conversations.
  6           Q.       Tell me your conversations
  7    with Ghislaine.            When did she say that
  8    to you?
  9           A.       On the island.
 10           Q.       Before you went to South
 11    Africa?
 12           A.       Yes.
 13           Q.       And was that in person?
 14           A.       Yes.
 15           Q.       Who else was present?
 16           A.       Sarah Kellen, Nadia, a girl
 17
 18
       named
                -           and a girl named
       Sorry, I just remembered a name.                     A
                                                                 .


 19
 20
 21
       girl named


              Q.
                   .    -          and a girl named


                       So they were all present
 22    when you had a discussion with
 23    Ghislaine about your weight on the
 24    island?
 25           A.       Yes.




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  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       And what did Ghislaine say
  3    to you about your weight when you were
  4    on the island in front of all these
  5    people?
  6           A.       I can't remember the
  7    specific conversation, how it went.
  8    We got into an argument about my
  9    weight, quite a heated argument.
 10           Q.       What do you recall about the
 11    argument?
 12           A.       I recall it got so heated
 13    that I ran off and tried to swim off
 14    the island.          I wanted to get as far
 15    away from Jeffrey and Ghislaine as
 16    possible.
 17           Q.       Okay.      And then what
 18    happened?
 19           A.       I left the main house.               I
 20    took -- there's like a buggy thing.
 21    It was evening.            I drove to a
 22    particular spot on the island.                    It was
 23    -- so Jeffrey's island is quite rocky
 24    around the edges, so -- and it's not
 25    really -- you can't just go into the




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  1                HIGHLY CONFIDENTIAL AEO
  2    water.       It was quite steep.             And,
  3    well, I didn't really know how to swim
  4    away.       I didn't know how to escape.
  5    But I wanted to, at that precise
  6    moment, get as far as away from him as
  7    possible.
  8           Q.       So you had a heated argument
  9    about your weight with Ghislaine?
 10           A.       Ghislaine and Jeffrey.
 11           Q.       They were both there?
 12           A.       Yes.
 13           Q.       And do you remember anything
 14    that was said during that argument?
 15           A.       It was basically an
 16    ultimatum that I either lose weight
 17    or -- or that's it.
 18                    THE WITNESS:          Sorry, can I
 19           -- sorry.        I need to get a
 20           headache tablet, if you don't
 21           mind.
 22                    MS. MENNINGER:            Go off the
 23           record for a second.
 24                    (An off-the-record
 25           discussion was held.)




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  1                HIGHLY CONFIDENTIAL AEO
  2                    MS. MENNINGER:            Go back on.
  3           Q.       You were given an ultimatum
  4    to lose weight or what?
  5           A.       They wouldn't help me to get
  6    into FIT, and that my time with
  7    Jeffrey would be -- would end.
  8           Q.       Who said what?
  9           A.       Well, they both -- they both
 10    said it in so many words.                  I can't
 11    remember the exact conversation.                      I
 12    remember it being heated.                  I remember
 13    them giving me the ultimatum.                    I think
 14    a few curse words were shared.                    I
 15    can't -- it was a very heated
 16    conversation.           I can't remember the
 17    exact words.
 18           Q.       Was Natalya there?
 19           A.       No, I don't recall her being
 20    there.
 21           Q.       Were you taking the
 22    medications that you talked about
 23    earlier during this time period?
 24           A.       Yes.
 25           Q.       Had you put on weight since




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                                                                  Page 212
  1                HIGHLY CONFIDENTIAL AEO
  2    taking those medications?
  3           A.       Yes, I had.         And I had also
  4    put on weight because I wasn't allowed
  5    to smoke any cigarettes at all, with
  6    Jeffrey on the island or anywhere near
  7    Jeffrey.        Jeffrey wasn't allowed to
  8    know that we smoked.
  9                    So I put on also a lot of
 10    weight as well, in conjunction with
 11    the lithium.          So yeah.
 12           Q.       How did the topic of your
 13    weight come up?
 14           A.       Well, I wasn't as skinny as
 15    the other girls, and Jeffrey liked his
 16    girls very thin.
 17           Q.       Were you interested in
 18    modeling at that point in time?
 19           A.       I was doing freelance
 20    modeling at the time, but I mean, I
 21    wasn't exactly going to be a Kate
 22    Moss.       And the modeling agency thought
 23    I wasn't petite enough for them
 24    either.
 25                    I would like to clarify I




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                                                                  Page 213
  1                HIGHLY CONFIDENTIAL AEO
  2    wasn't actually fat; I was normal
  3    weight, by the way, just to make that
  4    clear.       I am 64, 65 kilograms at that
  5    time.
  6           Q.       Why did you understand that
  7    Jeffrey and Ghislaine wanted you to
  8    lose weight?
  9           A.       I was one of the girls that
 10    Jeffrey had sexual encounters with
 11    regularly.         He liked his girls thin.
 12           Q.       Did you ask Jeffrey to help
 13    you become a model?
 14           A.       No.     I wanted to get a
 15    degree and an education.
 16           Q.       So you were not attempting
 17    to become a model at that point in
 18    time?
 19           A.       No.     I wanted to get an
 20    education as opposed to being a model.
 21           Q.       Did you talk to Jean Luc
 22    Brunel about becoming a model?
 23           A.       I -- as I was freelancing
 24    during that time, or trying to get
 25    freelancing work, Jeffrey kept us on a




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  1                HIGHLY CONFIDENTIAL AEO
  2    little string with his massage
  3    payments, so I wanted to earn a
  4    separate income while I was doing my
  5    education to fund my living expenses.
  6    So, you know, I wanted to potentially
  7    increase my jobs.
  8                    But no, my job was not to be
  9    a high-fashion model.               I wanted to get
 10    my degree, get my education and work
 11    in the fashion industry.
 12           Q.       You had worked as a model
 13    during college earlier, correct?
 14           A.       Yes.
 15           Q.       And you saved up money from
 16    that job, correct?
 17           A.       Yes.
 18           Q.       And you had used that money
 19    to fly to New York at some point,
 20    correct?
 21           A.       Yes.
 22           Q.       And what you're saying now
 23    is you would also potentially do
 24    modeling while you were studying in
 25    the future?




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  1                HIGHLY CONFIDENTIAL AEO
  2                    MR. GUIRGUIS:          Objection.
  3           That's not at all what she's
  4           saying.
  5           A.       As in future, as in would I
  6    do modeling now?
  7           Q.       No.     I'll rephrase the
  8    question.
  9           A.       Please.
 10                    MS. MENNINGER:            Let's take a
 11           break, go off the record.                 And
 12           when you finish the salad, we'll
 13           proceed.
 14                    (Time noted:          2:14 p.m.)
 15                    (Recess.)
 16                    (Time noted:          2:15 p.m.)
 17                    MS. MENNINGER:            Go back on
 18           the record.
 19           Q.       At the time you were having
 20    a discussion with Jeffrey and
 21    Ghislaine about your weight when you
 22    were on the island, did you have any
 23    intention of being a model at that
 24    time?
 25           A.       I was a freelance model.                I




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                                                                  Page 216
  1                HIGHLY CONFIDENTIAL AEO
  2    wanted to increase my workload to help
  3    fund my living expenses.                  So it was
  4    not my intention to be a full-time
  5    model, because I quite clearly applied
  6    to a college to get an education that
  7    I was promised by Jeffrey Epstein.
  8           Q.       Between January of 2007 and
  9    today, have you worked as a model?
 10           A.       No.
 11           Q.       When you left for South
 12    Africa, did you have a ticket to
 13    return to the U.S.?
 14           A.       At that time, a return
 15    ticket hadn't been booked by Jeffrey
 16    yet.
 17           Q.       You traveled to South Africa
 18    to visit your family without a return
 19    ticket?
 20           A.       Yes.
 21           Q.       Did anyone travel with you
 22    to South Africa?
 23           A.       No.
 24           Q.       Your mother was not in South
 25    Africa when you went to South Africa




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                                                                    Page 217
  1                HIGHLY CONFIDENTIAL AEO
  2    on that occasion in 2007, correct?
  3           A.       Correct.
  4           Q.       What did you do while you
  5    were in South Africa in February of
  6    2007?
  7           A.       Spend time with my family.
  8           Q.       Anything else?
  9           A.       I spent time with my family,
 10    that's -- that's it.
 11           Q.       Did you visit any modeling
 12    agencies?
 13           A.       Yes, I did visit some
 14    modeling agencies.
 15           Q.       Which modeling agencies did
 16    you visit?
 17           A.       I can't remember the exact
 18    names.       The modeling agencies were on
 19    Long Street in Cape Town.                 I visited
 20    several modeling agencies on Long
 21    Street, and Bree Street as well.                      Bree
 22    Street and Long Street and a few
 23    others in central Cape Town.                   So I
 24    visited a few, actually.
 25           Q.       Had you worked with any of




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                                                                  Page 218
  1                HIGHLY CONFIDENTIAL AEO
  2    those modeling agencies in the past?
  3           A.       No.
  4           Q.       Did you have any connections
  5    with any of those modeling agencies?
  6           A.       No.
  7           Q.       Did you have an agent at
  8    that time?
  9           A.       No.
 10           Q.       What did you do when you
 11    visited the modeling agencies in Cape
 12    Town in February of 2007?
 13           A.       I was requested to look for
 14    a PA for Mr. Epstein.
 15           Q.       What does that mean?
 16           A.       It means that he told me he
 17    would pay me a certain amount of money
 18    to find him a PA in South Africa.
 19           Q.       What do you understand the
 20    initials PA to stand for?
 21           A.       Personal assistant.
 22           Q.       What are the job
 23    responsibilities of a personal
 24    assistant?
 25           A.       To book flights, type, do




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                                                                  Page 219
  1                HIGHLY CONFIDENTIAL AEO
  2    faxes.       Basically a PA is your -- a
  3    CEO's right-hand man of, you know,
  4    company's -- anything business-wise.
  5    They do everything, really, for that
  6    person.
  7           Q.       When did Jeffrey ask you to
  8    find him a PA while in South Africa?
  9           A.       Before I went.
 10           Q.       Did you agree to do that?
 11           A.       Yes.
 12           Q.       And you did go to the
 13    modeling agencies?
 14           A.       I told Jeffrey I did, but I
 15    actually -- I went to a couple and
 16    then I just -- it wasn't right.                     My
 17    gut instinct was -- yeah.
 18           Q.       What happened when you went
 19    inside the modeling agencies in Cape
 20    Town?
 21           A.       I was humiliated.            I was
 22    completely embarrassed.                I couldn't
 23    even ask them what Jeffrey was
 24    wanting.        I mean, it was so absolutely
 25    ridiculous, his request of me finding




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                                                                  Page 220
  1                HIGHLY CONFIDENTIAL AEO
  2    him a PA.
  3           Q.       So what happened?
  4           A.       So I -- I asked if they had
  5    any girls that would want to travel;
  6    they would be put up in accommodation
  7    and they would be a PA.
  8                    And when I actually spoke to
  9    the modeling agencies, they actually
 10    laughed at me, because it was quite
 11    ridiculous that a young 22-year-old
 12    was asking a modeling agencies for a
 13    18-year-old PA for a multi-billionaire
 14    who had several already.
 15           Q.       So you recall a conversation
 16    where the person you were speaking to
 17    started laughing?
 18           A.       Yes.
 19           Q.       What type of person were you
 20    describing that you were looking for?
 21           A.       The same specifications that
 22    Jeffrey told me:            She had to be 18,
 23    thin, very young looking, pretty.
 24           Q.       Anything else?
 25           A.       Well, bright and able to




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                                                                  Page 221
  1                HIGHLY CONFIDENTIAL AEO
  2    type.
  3           Q.       Did you go on a diet while
  4    you were in South Africa?
  5           A.       I was forced to go on a
  6    diet.
  7           Q.       Tell me what you mean by
  8    forced to go on a diet.
  9           A.       After that incident on the
 10    island in -- it was December, when
 11    Ghislaine brought me back to the main
 12    house after she -- she sent a search
 13    party.       She led a search party to find
 14    me on the island and bring me back.
 15           Q.       Ghislaine led a search
 16    party?
 17           A.       Yeah, yeah, yeah.            She got
 18    everyone together and they all went
 19    looking for me when I disappeared.
 20           Q.       Who went looking for you?
 21           A.       Jean Luc, Jeffrey, the
 22    girls, Ghislaine.
 23           Q.       Which girls?
 24           A.                   and                the girl
 25    named




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  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Did Jeffrey go searching for
  3    you?
  4           A.       Yes.
  5           Q.       How do you know that?
  6           A.       I was told.
  7           Q.       About whom?
  8           A.       By               and the other
  9    girl.
 10           Q.       Where were you located?
 11           A.       On the island.
 12           Q.       Where on the island?
 13           A.       A corner of the island.
 14           Q.       On the water?
 15           A.       No.     It was quite a long
 16    drop off the -- it was like a
 17    cliff-type -- I wasn't able to jump or
 18    get in the water.
 19           Q.       Your intent was to swim off
 20    the island, but you didn't make it
 21    into the water?
 22           A.       No, because I would have
 23    killed myself, so it wasn't safe.
 24           Q.       So who located you on this
 25    corner of the island?




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  1                HIGHLY CONFIDENTIAL AEO
  2           A.       I can't remember who got to
  3    me first.         I remember the -- I can't
  4    remember who found me first.
  5           Q.       Do you remember anyone who
  6    found you?
  7           A.       Yes, I was definitely found
  8    because I didn't have enough time to
  9    find a different location on the
 10    island so I could get off and swim
 11    away from Jeffrey and Ghislaine.
 12           Q.       Once they found you, what
 13    happened?
 14           A.       I was brought back to the
 15    main house.
 16           Q.       How were you brought back?
 17           A.       The same way that I got
 18    there, on the, like, beach buggy,
 19    black 4-by-4, not -- what are they.
 20    Quad things.
 21                    MS. MCCAWLEY:          Quad bikes?
 22           A.       Quad bikes, yeah.
 23           Q.       Did you bike back?
 24           A.       Yes.
 25           Q.       Accompanied by some people?




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  1                HIGHLY CONFIDENTIAL AEO
  2           A.       I was accompanied back, yes.
  3           Q.       By whom?
  4           A.       I can't remember
  5    specifically who it was.
  6           Q.       Okay.      And once you got
  7    back, what happened?
  8           A.       They tried to calm me down.
  9           Q.       And then what happened?
 10           A.       From that evening onwards, I
 11    was -- Jeffrey put me on the Atkins
 12    Diet.
 13           Q.       Did you calm down?
 14           A.       Yes, I did.
 15           Q.       Did you take some more
 16    medications?
 17           A.       No.     When you're on
 18    prescription drugs, you only take them
 19    at a specific required time.
 20    Generally you don't take more than
 21    your prescription when you're on
 22    prescription drugs, so you don't kind
 23    of just throw tablets in your mouth.
 24    You kind of just take them in the
 25    morning or --




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  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       I asked a bad question.
  3           A.       Yeah.
  4           Q.       You said earlier that the
  5    prescriptions were causing you to gain
  6    weight, I thought you said.
  7           A.       Yes.
  8           Q.       And then you just said you
  9    were put on a diet after this event,
 10    correct?
 11           A.       Yes.
 12           Q.       And what do you mean by you
 13    were put on a diet?
 14           A.       Jeffrey said, you either go
 15    on the Atkins Diet, or I can go.
 16           Q.       Go meaning off the island?
 17           A.       As in, don't call me back,
 18    Sarah.
 19           Q.       Here's the question:              Did
 20    you discontinue the medications at the
 21    same time you went on the Atkins Diet?
 22           A.       No.
 23           Q.       And how long were you on the
 24    Atkins Diet?
 25           A.       Long enough for my kidneys




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  1                HIGHLY CONFIDENTIAL AEO
  2    to be incredibly painful and for me to
  3    no longer continue on the diet because
  4    it was unsafe to do so.
  5           Q.       Did you seek medical help
  6    for that pain?
  7           A.       I just took painkillers.
  8           Q.       What painkillers did you
  9    take?
 10           A.       I can't remember what
 11    painkillers.
 12           Q.       Prescription or
 13    over-the-counter?
 14           A.       Over-the-counter.
 15           Q.       Were you on the diet for
 16    more than a week?
 17           A.       Yes, I was.
 18           Q.       More than a month?
 19           A.       Yes.
 20           Q.       More than two months?
 21           A.       I can't remember.
 22           Q.       Were you on the diet the
 23    whole time you were in South Africa?
 24           A.       Yes.
 25           Q.       Did you continue on the diet




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  1                HIGHLY CONFIDENTIAL AEO
  2    after you returned?
  3           A.       Yes.
  4           Q.       What was the lowest weight
  5    that you reached during that period of
  6    time on the diet?
  7           A.       56 kilograms.
  8           Q.       Had you ever weighed
  9    56 kilograms in your adult life --
 10           A.       No.
 11           Q.       -- previously?
 12           A.       No.
 13           Q.       Have you since?
 14           A.       No.
 15           Q.       Did you speak to Jeffrey
 16    again about that diet?
 17           A.       Multiple times.
 18           Q.       What did you say?
 19           A.       I complained frequently
 20    about the diet that he had put me on,
 21    because it was seriously affecting my
 22    physical health as well as my mental
 23    health.       Yeah, it's a pretty hectic
 24    diet.
 25           Q.       The time you were on this




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  1                HIGHLY CONFIDENTIAL AEO
  2    diet, did you have a boyfriend?
  3           A.       Oh, yeah.        Yes.
  4           Q.       Who was your boyfriend at
  5    the time?
  6           A.       Adam.
  7           Q.       Ralph?
  8           A.       That's Andy Ralph.             This is
  9    Adam.
 10           Q.       What's Adam's last name?
 11           A.       I think it's Castellani.
 12           Q.       Where did he live?
 13           A.       In the Upper East Side.
 14           Q.       Did you talk to Adam about
 15    your diet?
 16           A.       Yes.
 17           Q.       Were you living with Adam?
 18           A.       Not at -- not when I was in
 19    South Africa.
 20           Q.       When you returned from South
 21    Africa, did you move in with Adam?
 22           A.       Yes, I did, to get away from
 23    Jeffrey.
 24           Q.       And where on the Upper East
 25    Side did Adam live?




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  1                HIGHLY CONFIDENTIAL AEO
  2           A.       I can't remember.
  3           Q.       Walkup or elevator building?
  4           A.       Elevator.
  5           Q.       How big was that apartment?
  6           A.       It's relatively small.
  7           Q.       More than one bedroom?
  8           A.       No, it was just one bedroom.
  9    It was a small, tiny apartment.
 10           Q.       And what did Adam do for a
 11    living?
 12           A.       He was a banker.
 13           Q.       Where did he work?
 14           A.       He worked at -- I can't
 15    remember where he worked.
 16           Q.       How did you meet Adam?
 17           A.       At a delicatessen, when I
 18    was buying food.
 19           Q.       Had you started dating him
 20    before you went to South Africa?
 21           A.       I think we had gone on a
 22    couple dates or something.
 23           Q.       Where had you gone on your
 24    dates?
 25           A.       I can't remember.




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  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       When you were in South
  3    Africa, did you have contact with
  4    Adam?
  5           A.       Once or twice, like three
  6    times.       Well, we were sort of seeing
  7    each other, so I don't know how many
  8    phone times I spoke to him in a month.
  9    Yeah, a few times I spoke to Adam.
 10           Q.       When you spoke to him, did
 11    he ask you to move in with him when
 12    you returned?
 13           A.       I wouldn't really say that.
 14    I wouldn't really say he asked me to
 15    move in.
 16           Q.       Okay.      What would you say?
 17           A.       I asked him for me to move
 18    in with him.
 19           Q.       Okay.      While you were in
 20    South Africa, did you receive any
 21    phone calls from Jeffrey?
 22           A.       Yes.
 23           Q.       Did you want Jeffrey to call
 24    you there?
 25           A.       Yes.     He was helping me get




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  1                HIGHLY CONFIDENTIAL AEO
  2    into FIT.
  3           Q.       Any other reason for you to
  4    have communications while you were in
  5    South Africa?
  6           A.       I was living in his
  7    apartment.
  8           Q.       In South Africa?
  9           A.       In New York.
 10           Q.       So you wanted to have
 11    communications with Jeffrey while you
 12    were in South Africa because you were
 13    living in his apartment in New York?
 14                    MS. MCCAWLEY:          Objection.
 15           A.       And he was going to -- he
 16    promised that he would pay for my
 17    education.         And I was staying in his
 18    apartment and he was funding my life,
 19    so of course I would want him to
 20    contact me.
 21                    And, also, he was still --
 22    he told me he would pay for my return
 23    ticket.       So, yeah, of course I wanted
 24    him to contact me.
 25                    (An off-the-record




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  1                HIGHLY CONFIDENTIAL AEO
  2           discussion was held.)
  3           Q.       Did you have an intention
  4    while you were in South Africa to go
  5    to Miami upon your return?
  6           A.       I think there was a vague
  7    conversation about it, but I had no
  8    real intention of going to Miami.                      I
  9    had a conversation with Natalya about
 10    it.
 11           Q.       What, if anything, were you
 12    going to do in Miami?
 13           A.       I can't remember.
 14           Q.       Did you have a job lined up
 15    in Miami?
 16           A.       I can't remember.
 17           Q.       An internship?
 18           A.       It was something to do with
 19    Jeffrey, that Jeffrey, Natalya and --
 20    it would have -- it would have -- it
 21    was through Jeffrey, something with
 22    Miami.       I can't remember what it was
 23    for or -- I don't remember.                  It
 24    didn't -- it was just a conversation
 25    about Miami.




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  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       So not a real firm plan to
  3    go to Miami?
  4           A.       No, no.
  5           Q.       Were you disappointed when
  6    you didn't go to Miami?
  7           A.       No, no, not at all.
  8           Q.       And you weren't planning to
  9    be a model in Miami, for example?
 10           A.       No.
 11           Q.       You said that Jeffrey had
 12    agreed to pay for your education?
 13           A.       Yes.
 14           Q.       Did you apply to any other
 15    school besides FIT?
 16           A.       No.
 17           Q.       Do you know whether you met
 18    the qualifications to get into FIT?
 19                    MR. GUIRGUIS:          Objection,
 20           form.
 21           A.       Yes.
 22                    MR. GUIRGUIS:
 23           Comprehensibility.
 24                    MS. MENNINGER:            She seemed
 25           to understand it just fine.




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  1                HIGHLY CONFIDENTIAL AEO
  2                    MR. GUIRGUIS:          I don't know
  3           if she did, but fine.
  4           Q.       Do you know how much FIT was
  5    supposed to cost per year?
  6           A.       No.
  7           Q.       Did you believe it to be
  8    expensive?
  9           A.       All schools are expensive.
 10           Q.       You had previously attended
 11    Queen Margaret College; is that right?
 12           A.       Queen Margaret University.
 13           Q.       My apologies.
 14                    How much did Queen Margaret
 15    University cost?
 16           A.       I can't remember.
 17           Q.       Did you apply for any
 18    financial aid for FIT?
 19           A.       No.     Jeffrey was covering
 20    FIT.
 21           Q.       That's what Jeffrey told
 22    you?
 23           A.       Multiple, multiple times.
 24           Q.       Did Ghislaine Maxwell say
 25    anything to you with regards to FIT?




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                                                                  Page 235
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       It was various
  3    conversations.           It was known among
  4    everyone that I was going to FIT, and
  5    Jeffrey -- everyone knew he was
  6    helping me to get into FIT.                  It was
  7    common knowledge.
  8           Q.       You described earlier that
  9    Ghislaine was helping review your
 10    application and your essay.
 11                    Was there something else
 12    that she was doing to help you?
 13           A.       Well, she said she would,
 14    but whether she did, I have no idea.
 15    She said she would.              Whether she made
 16    calls, I doubt, because I didn't end
 17    up at FIT.         So...
 18           Q.       Did you get accepted there?
 19           A.       I never heard from anyone at
 20    FIT.
 21           Q.       You never got a response?
 22           A.       No.
 23           Q.       Did you have an email
 24    address at that time?
 25           A.       Yes, I did.




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                                                                  Page 236
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Do you have a copy of your
  3    FIT application?
  4           A.       I think it's somewhere.                I
  5    think it's in the email.
  6           Q.       There's an essay and then
  7    there's an application, correct?
  8           A.       Yes, that's correct.              I can
  9    find the essay if you want.
 10                    MR. GUIRGUIS:          I think we've
 11           already produced that essay.
 12           Q.       While you were in South
 13    Africa, did you have any phone
 14    conversation with Ghislaine?
 15           A.       Yes.
 16           Q.       When was that?
 17           A.       Through various times
 18    throughout my stay in South Africa.
 19           Q.       What phone were you using
 20    while you were in South Africa?
 21           A.       I had the BlackBerry that
 22    they had given me, and they also
 23    phoned my parents' landline as well.
 24           Q.       Who is they?
 25           A.       Jeffrey, Ghislaine and




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                                                                  Page 237
  1                HIGHLY CONFIDENTIAL AEO
  2    Lesley Groff.
  3           Q.       Did Ghislaine speak to your
  4    parents?
  5           A.       Yes.
  6           Q.       Who did she speak to?
  7           A.       I can't remember if she
  8    spoke -- I can't remember, actually.
  9    I can't remember who she spoke to.
 10           Q.       How do you know that she
 11    spoke to your parents?
 12           A.       Because I remember it being
 13    a huge thing, and my family -- because
 14    they couldn't quite understand what
 15    Jeffrey and Ghislaine were doing
 16    paying for their daughter's education,
 17    and they obviously thought --
 18    suspected something was going on.
 19           Q.       So how do you know that
 20    someone spoke to your parents?
 21           A.       Because my parents and I
 22    fought about it.
 23           Q.       Did your parents tell you
 24    that they spoke to Ghislaine?
 25           A.       I -- I can't remember.               I




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                                                                  Page 238
  1                HIGHLY CONFIDENTIAL AEO
  2    remember having a huge row with my
  3    family because they had spoken to --
  4    so there were multiple phone calls
  5    during the duration of that month,
  6    okay.       There's not a specific call.
  7    There were multiple calls.
  8                    There were multiple emails.
  9    I produced emails during that time
 10    frame, back-and-forth emails between
 11    Lesley Groff and myself.                  So they
 12    were -- they contacted me regularly.
 13    Ghislaine, Lesley Groff and Jeffrey
 14    Epstein phoned me a few times.
 15           Q.       Did your parents tell you
 16    that they spoke to Ghislaine?
 17           A.       I knew with my own -- that
 18    they had spoken to Ghislaine.
 19           Q.       How did you know that?
 20           A.       Because I know that they had
 21    spoken.       They told me that they had
 22    spoken.       I know she made communication
 23    with my family.
 24           Q.       Your family told you that
 25    they had spoken to Ghislaine?




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                                                                  Page 239
  1                HIGHLY CONFIDENTIAL AEO
  2                    MR. GUIRGUIS:          Objection,
  3           asked and answered.
  4           A.       Yes.
  5           Q.       Who in your family told that
  6    you they had spoken to Ghislaine?
  7           A.       I can't remember whether it
  8    was my stepmother or my father.                     I
  9    cannot remember which one it was.
 10           Q.       What did your stepmother or
 11    father tell you they had discussed
 12    with Ghislaine?
 13           A.       That she had reassured them
 14    that my education would be paid for
 15    and -- basically that.                You know, they
 16    spent a lot of time and effort
 17    reassuring my family they weren't
 18    abusing me, which they were, and that
 19    they weren't going to traffic me,
 20    which they were.
 21                    So there you go.            I had to
 22    lie to my family.
 23           Q.       What is your stepmother's
 24    name?
 25           A.       Linda Ransome.




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                                                                  Page 240
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       And do you have an email
  3    address or phone number for her?
  4           A.       No, I don't.
  5                    MR. GUIRGUIS:          Objection.
  6           No current information.                Same
  7           objection as at the outset of
  8           deposition.
  9                    MS. MENNINGER:            Are you
 10           instructing her not to answer?
 11                    MR. GUIRGUIS:          I am
 12           instructing her not to answer.
 13           Q.       Where does Linda --
 14                    MR. GUIRGUIS:          And I'm again
 15           offering you to the opportunity
 16           to proffer a reason for these
 17           questions.        And I --
 18                    MS. MENNINGER:            I'll tell
 19           you.     Your client has signed an
 20           affidavit and a complaint
 21           discussing this conversation, and
 22           I'm asking for contact
 23           information for a witness to the
 24           conversation, the person who
 25           actually supposedly had a phone




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  1                HIGHLY CONFIDENTIAL AEO
  2           conversation with my client.                  And
  3           you're telling me I can't follow
  4           up with those witnesses.
  5           Q.       So please tell me how to
  6    reach your stepmother, Linda Ransome.
  7           A.       I'm not going to offer you
  8    my family's address details.
  9                    MR. GUIRGUIS:          You don't
 10           have to answer.
 11                    Go on.
 12                    MS. MENNINGER:            You may come
 13           back and answer it another day,
 14           but...
 15           Q.       Where does Linda Ransome
 16    live?
 17           A.       She lives in Cape Town.
 18           Q.       Where in Cape Town?
 19           A.       I don't know.
 20           Q.       Have you been in touch with
 21    her?
 22           A.       Not recently, no.
 23           Q.       When is the last time you
 24    communicated with her?
 25           A.       A while back.




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                                                                  Page 242
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       More than a year?
  3           A.       Less than a year.
  4           Q.       Is she still married to your
  5    father?
  6           A.       I presume so.
  7           Q.       Have you talked to him in
  8    the same period of time?
  9           A.       No.
 10           Q.       Why haven't you talked to
 11    your family in more than a year?
 12                    MS. MCCAWLEY:          Objection.
 13           This is getting into her current
 14           relationships, which is not
 15           relevant to the case and also can
 16           be used for harassment.
 17           Q.       Why haven't you talked to
 18    your family in a year?
 19           A.       Because I came forward.
 20           Q.       When did you come forward?
 21           A.       October, around October.
 22           Q.       Have you spoken to your
 23    family since October?
 24           A.       No.
 25           Q.       When was the last time you




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                                                                  Page 243
  1                HIGHLY CONFIDENTIAL AEO
  2    spoke to your father or stepmother
  3    before October?
  4           A.       September.
  5           Q.       And did you tell them not to
  6    contact you or did they tell you not
  7    to contact them?
  8           A.       Well, I didn't -- I
  9    basically said to them, either accept
 10    me for who I am or we need to stop
 11    this relationship.
 12           Q.       What did you mean by accept
 13    you as you are?
 14           A.       I've made a lot of poor
 15    choices, particularly Jeffrey, being
 16    involved with Jeffrey Epstein.                    And
 17    they feel I've come a long way from
 18    that time, and they thought that they
 19    didn't want me going back to a time
 20    that was very traumatic for me.
 21           Q.       Did they tell you they would
 22    not be in touch with you going
 23    forward?
 24           A.       I didn't give them that
 25    option for them to tell me that.




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                                                                  Page 244
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       So your not having a
  3    conversation with your father and
  4    stepmother in a year is because of
  5    your choice to come forward?
  6           A.       That's correct.
  7           Q.       What about your mother?
  8                    MR. GUIRGUIS:          Objection to
  9           form.
 10           A.       What about my mother?
 11           Q.       Have you had contact with
 12    her in a year?
 13           A.       Yes.
 14           Q.       When was the last time you
 15    had contact with your mother?
 16           A.       Last week.
 17           Q.       When you returned to New
 18    York and moved in with Adam, did you
 19    talk to Adam about Jeffrey Epstein?
 20           A.       Yes.
 21           Q.       What did you tell Adam?
 22           A.       I told him that I was
 23    frightened.
 24                    He was incredibly concerned
 25    about my weight loss and about the




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                                                                  Page 245
  1                HIGHLY CONFIDENTIAL AEO
  2    weight goal that Jeffrey and Ghislaine
  3    set for me, which was 52 kilograms.
  4    He was scared for me, actually.
  5           Q.       To your knowledge, did he
  6    contact anyone about it?
  7           A.       Not to my knowledge.
  8           Q.       What did he do about his
  9    concern, to your knowledge?
 10           A.       I begged him if I could live
 11    with him, and he agreed.
 12           Q.       How long did you live with
 13    him?
 14           A.       It wasn't really long,
 15    because I moved in with him after
 16    South Africa.           So about a month or
 17    something.
 18           Q.       From the time you returned
 19    from South Africa to when you returned
 20    to South Africa?
 21           A.       Oh.     Yeah, no, we only kind
 22    of went -- we only dated for briefly.
 23    It wasn't a serious relationship.
 24    Yeah.       So when I moved to New York --
 25    sorry, back to London, kind of our




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                                                                  Page 246
  1                HIGHLY CONFIDENTIAL AEO
  2    relationship couldn't really go
  3    anywhere, I guess.
  4           Q.       The long distance?
  5           A.       Yeah, long distance doesn't
  6    really work, so...
  7           Q.       So about the time you moved
  8    back to London is when you and he
  9    broke up?
 10           A.       That's correct.
 11           Q.       Have you had contact with
 12    him since then?
 13           A.       I had contact with him again
 14    in 2008.
 15           Q.       Did you come back to the
 16    U.S. then?
 17           A.       No.
 18           Q.       You did not come back to the
 19    U.S. in 2008?
 20           A.       Oh, I did, sorry, for a
 21    business trip.           I went -- I did a
 22    tour, yeah, from -- I think it was
 23    Atlantic to Atlanta to San Francisco.
 24           Q.       With which business?
 25           A.       Belfairs International.




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                                                                    Page 247
  1                HIGHLY CONFIDENTIAL AEO
  2    It's a private company at that time
  3    that did private planes, the interiors
  4    of private planes.
  5                    (An off-the-record
  6           discussion was held.)
  7           Q.       One more time.            Can you
  8    spell that?
  9           A.       Sorry.      B-A-R- -- sorry, B-
 10    -- sorry.         It's getting so bad.              I'm,
 11    like, really bad at spelling.                    It's
 12    B-E-L-F-A-I-R-S, Belfairs
 13    International.
 14           Q.       You were working with them
 15    in 2008?
 16           A.       Briefly.
 17           Q.       And you came for a business
 18    trip?
 19           A.       Yes.
 20           Q.       And how long were you in the
 21    U.S. on that occasion?
 22           A.       Gosh, I can't remember.                 It
 23    was like a week.
 24           Q.       And who did you come with?
 25           A.       My manager of business.




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  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       What was that person's name?
  3           A.       David.
  4           Q.       What's the last name?
  5           A.       I can't remember the last
  6    name.
  7           Q.       So you came back to the U.S.
  8    in 2008, but you did not have contact
  9    with Adam on that trip?
 10           A.       No.
 11           Q.       When did you have contact
 12    with Adam in 2008?
 13           A.       He moved to London in 2008.
 14           Q.       Did you see him in London?
 15           A.       Yes, I did.
 16           Q.       Where did you see him?
 17           A.       He came to stay with me in
 18    London.
 19           Q.       Did you resume your
 20    relationship?
 21           A.       Briefly.
 22           Q.       Is that the last time you've
 23    had contact with him?
 24           A.       Yes.
 25           Q.       Was that about the time you




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                                                                  Page 249
  1                HIGHLY CONFIDENTIAL AEO
  2    became engaged to --
  3           A.       Andy.
  4           Q.       -- Andy?
  5           A.       Andy and I got together at
  6    the end of 2008.            We didn't meet and
  7    then get engaged immediately.                    It was
  8    like we dated and then got engaged.
  9           Q.       Understood.
 10                    In addition to discussing
 11    Jeffrey with Adam, is there someone
 12    else you discussed Jeffrey with in
 13    your life in 2006 or 2007?
 14           A.       Well, I discussed it with
 15    everyone I knew.            It's quite an amaz-
 16    -- he's an amazing man.                Yeah,
 17    everyone I knew knew that I was
 18    involved with Jeffrey Epstein.
 19    Everyone that I met in New York knew
 20    that I was affiliated with Jeffrey
 21    Epstein and Ghislaine Maxwell.
 22           Q.       More specifically, who did
 23    you tell that you had concerns about
 24    your relationship with Jeffrey?
 25           A.       My friend Pam.            And there




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  1                HIGHLY CONFIDENTIAL AEO
  2    were a few other friends I had at the
  3    time, but I don't remember their
  4    names.
  5           Q.       Did you discuss it with
  6    Pumla?
  7           A.       Yes.
  8           Q.       What did you tell Pumla?
  9           A.       Everything that Jeffrey did
 10    to me.       I told her every single detail
 11    on how he abused me.
 12           Q.       How did Jeffrey abuse you?
 13           A.       There were times that I was
 14    -- I mean, look, I was intimidated.                       I
 15    was frightened of Jeffrey, okay.                     I
 16    wanted to go to FIT, get an education.
 17    But if I didn't comply with Jeffrey's
 18    requests, I was scared.                Okay?
 19                    So how did he abuse me?
 20    When he had me on, like, the massage
 21    table, I had no option.                So how did he
 22    abuse me?         By putting a vibrator and
 23    pushing it down on my clitoris for ten
 24    minutes, that's abuse.                That was not
 25    pleasurable; that was exceptionally




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  1                HIGHLY CONFIDENTIAL AEO
  2    painful.        He hurt me physically and he
  3    abused me mentally, both.
  4           Q.       How did he abuse you
  5    mentally?
  6           A.       Jeez.      Well, I think the
  7    fact that -- A, physical abuse always
  8    leads to mental abuse.                It's a fact.
  9    So you can't physically abuse someone
 10    and they can't be mentally, because
 11    they will -- without a doubt, I'm sure
 12    myself and all the other girls will
 13    have suffered some form of
 14    posttraumatic stress.
 15                    So in terms of how did he
 16    mentally abuse me?              He bullied me.          He
 17    went on about my weight.                  He
 18    intimidated me.            He promised me things
 19    he didn't deliver.              I mean, I could go
 20    on.     So...
 21           Q.       What things did he promise
 22    you that he didn't deliver?
 23           A.       An education.
 24           Q.       And what do you know about
 25    what he did or didn't do to get you an




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  1                HIGHLY CONFIDENTIAL AEO
  2    education?
  3           A.       Well, I didn't go to FIT, so
  4    I presume not very much.
  5           Q.       Do you know why you didn't
  6    get into FIT?
  7           A.       No, no.       It just didn't ever
  8    materialize.
  9           Q.       Did you ever contact FIT to
 10    find out?
 11           A.       During that time, Jeffrey
 12    had it in hand.            I didn't think I
 13    needed to contact anybody at FIT.                      I
 14    mean, Jeffrey -- it was Jeffrey's
 15    contact in the first place that he was
 16    contacting.          So I didn't contact
 17    anyone at FIT.
 18           Q.       You didn't contact them at
 19    all?
 20           A.       Well, no, because Jeffrey
 21    said that he was going to do that for
 22    me to get me into FIT.
 23           Q.       And how did you ever confirm
 24    or deny that you weren't admitted to
 25    FIT?




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  1                HIGHLY CONFIDENTIAL AEO
  2           A.       I was never told.            I was
  3    never given a letter.               I didn't have
  4    anyone phone me.            I didn't have the
  5    contact that Jeffrey had been speaking
  6    to about getting me in.                She didn't
  7    contact me.          So I'm presuming as an
  8    educated woman it was all hearsay,
  9    because nothing ever materialized from
 10    that.
 11           Q.       Did FIT have your address at
 12    Adam's?
 13           A.       Not that I recall.
 14           Q.       Did you give Jeffrey your
 15    address at Adam's?
 16           A.       Yes, Jeffrey knew where I
 17    lived.
 18           Q.       I understood you were going
 19    to live with Adam in order to get away
 20    from Jeffrey.
 21           A.       So when -- so basically when
 22    you live in someone's apartment, it's
 23    a form of control.              So when you don't
 24    comply with their instructions all the
 25    time, hundred percent, it's like




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  1                 HIGHLY CONFIDENTIAL AEO
  2    leverage for them to control you.
  3                    I don't like being
  4    controlled by people, especially by
  5    someone like Jeffrey Epstein and
  6    Ghislaine Maxwell.
  7                    So Jeffrey Epstein, he knew
  8    where I was all the time, so...
  9           Q.       Did Jeffrey come to Adam's
 10    apartment?
 11           A.       He came around the Upper
 12    East Side near the apartment, yes, he
 13    did.        There was an occasion that
 14    Jeffrey Epstein picked me up when I
 15    didn't go to the mansion.
 16           Q.       Picked you up where?
 17           A.       I can't remember the
 18    location.
 19           Q.       Jeffrey lived on the Upper
 20    East Side?
 21           A.       I can't remember where
 22    Jeffrey -- his exact location is.                      I
 23    mean, it's a nice -- I think it's near
 24    5th.        It's near 5th Avenue.
 25           Q.       Was it on the Upper East




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  1                HIGHLY CONFIDENTIAL AEO
  2    Side?
  3           A.       I think.        I don't think it
  4    was on the West Side.               So hang on.         So
  5    5th Avenue is there.               Is the West Side
  6    that side?
  7                    I don't know -- sorry.               I'm
  8    really -- I'm a tourister, so I don't
  9    know.       I don't know where Jeffrey -- I
 10    know that he's got -- it was near 5th
 11    Avenue.       That's where I know his
 12    apartment was.
 13                    I'm not a New Yorker, so...
 14           Q.       Do you recall an occasion
 15    while you were living with Adam that
 16    Jeffrey came and picked you up?
 17           A.       Yes.
 18           Q.       Somewhere on the Upper East
 19    Side?
 20           A.       Yes.
 21           Q.       You don't know where?
 22           A.       No, I don't know the
 23    specific street, name or pavement that
 24    I was standing on, no, I don't.
 25           Q.       Where did you go with




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  1                HIGHLY CONFIDENTIAL AEO
  2    Jeffrey when he picked you up on the
  3    Upper East Side?
  4           A.       I got in his car and went
  5    back to his mansion.
  6           Q.       What kind of car was it?
  7           A.       It was a -- I can't remember
  8    what car it was.
  9           Q.       Who was driving the car?
 10           A.       He wasn't driving.             I can't
 11    remember who was driving.
 12           Q.       Was anyone else in the car?
 13           A.       Someone was driving the car.
 14           Q.       Anyone else?
 15           A.       I can't remember anyone
 16    else.
 17           Q.       What was the purpose of your
 18    going back to the mansion on that
 19    occasion?
 20           A.       I don't know.          You're going
 21    to have to ask Jeffrey.
 22           Q.       Why did you get in the car?
 23           A.       Because I was frightened.
 24           Q.       What were you frightened of?
 25           A.       The fact that he had found




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                                                                    Page 257
  1                 HIGHLY CONFIDENTIAL AEO
  2    me and wasn't supposed to know where I
  3    was.        So I was incredibly intimidated
  4    that he drove up beside me and knew
  5    where I was.
  6           Q.       You were somewhere out on
  7    the street visible and he found you?
  8           A.       No.     I was supposed to meet
  9    Jeffrey.        I was instructed to meet
 10    Jeffrey.        I failed to turn up to meet
 11    Jeffrey and Jeffrey found me.
 12           Q.       Who instructed you to meet
 13    Jeffrey?
 14           A.       It was one of the girls.                It
 15    was either Sarah Kellen or Lesley
 16    Groff.
 17           Q.       How did they instruct you to
 18    meet Jeffrey?
 19           A.       Via the BlackBerry they gave
 20    me.
 21           Q.       You kept the BlackBerry
 22    after you returned from South Africa?
 23           A.       Yes, I did.
 24           Q.       While you were living with
 25    Adam?




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                                                                  Page 258
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       Yes.
  3           Q.       Why did you keep the
  4    BlackBerry after you were living with
  5    Adam?
  6           A.       Because Jeffrey and I were
  7    still in contact.
  8           Q.       What were you in contact
  9    about?       The FIT application?
 10           A.       He was trying to get me a
 11    visa, and he -- he devised a way of me
 12    getting -- I don't know what you call
 13    it, sorry -- an apprenticeship, an
 14    internship with a cosmetic company.
 15    Yeah, a cosmetic agency, doctor's
 16    medical facility.
 17           Q.       When you came back from
 18    South Africa in February of 2007, did
 19    you have a tourist visa?
 20           A.       Yeah, yes.
 21           Q.       So Jeffrey was trying to
 22    help you get a job so you could get a
 23    different kind of visa?
 24           A.       Yeah.      Well, you can't live
 25    in New York on a tourist visa.                    It's




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                                                                     Page 259
  1                 HIGHLY CONFIDENTIAL AEO
  2    three months, so -- so I don't know
  3    what it's like anymore, the laws.                      But
  4    back then, if you wanted to tour
  5    America, you would go and fill -- I
  6    think it was 90 days, but then you
  7    would have to leave.               You couldn't
  8    stay.
  9                    And Jeffrey was trying to
 10    get me a -- it's difficult, not
 11    being -- it's difficult actually going
 12    to university here if you don't have a
 13    British -- I don't know the system.                       I
 14    just didn't have a visa I could go to
 15    FIT.
 16                    And this friend of his that
 17    owned a cosmetic surgery, he had
 18    organized that I would go in and do an
 19    internship, and that way would be a
 20    legitimate way to -- for me to get a
 21    visa, for me to stay and continue in
 22    FIT.        If that makes sense.
 23           Q.       What was the name of that
 24    friend?
 25                    MR. GUIRGUIS:          Do you need a




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                                                                  Page 260
  1                HIGHLY CONFIDENTIAL AEO
  2           break?
  3                    THE WITNESS:          I do, sorry.
  4           Do you mind?
  5                    MS. MENNINGER:            There was a
  6           question pending.
  7                    MR. GUIRGUIS:          She has a
  8           question pending.            You can answer
  9           that, then.         Go ahead.
 10                    What was the name of that
 11           friend?
 12                    THE WITNESS:          I don't know.
 13           It was a man.
 14           Q.       Did you end up working in
 15    that internship?
 16           A.       No.
 17           Q.       Did you ever meet with that
 18    man?
 19           A.       Yes.
 20           Q.       Why didn't you end up
 21    working in that internship with that
 22    man?
 23           A.       I wanted to return home.
 24                    MR. GUIRGUIS:          Can we take
 25           that break?




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                                                                  Page 261
  1               HIGHLY CONFIDENTIAL AEO
  2                    MS. MENNINGER:            Yes.
  3                    (Time noted:          3:04 p.m.)
  4                    (Recess.)
  5                    (Time noted:          3:20 p.m.)
  6                    MS. MENNINGER:            Going back
  7           on the record.
  8                    MR. GUIRGUIS:          Before you
  9           proceed with your questions,
 10           Counsel, I raised an objection to
 11           providing Linda Ransome's email
 12           address before.           Then you
 13           proffered a reason for it.
 14                    I accept your proffer and I
 15           will provide you that email
 16           address now, or have the witness
 17           do it.
 18                    MS. MENNINGER:            Okay.
 19                    THE WITNESS:          It's
 20
 21                    (An off-the-record
 22           discussion was held.)
 23                    MR. GUIRGUIS:          And let the
 24           record reflect she's taking it
 25           down from a Google search on the




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                                                                  Page 262
  1                HIGHLY CONFIDENTIAL AEO
  2           web.     She believes that's right.
  3           Q.       What is your father's email
  4    address?
  5           A.       I don't remember it offhand.
  6                    MS. MENNINGER:            Can you mark
  7           this.
  8                    (Defendant's Exhibit 3,
  9           affidavit, was marked for
 10           identification.)
 11           Q.       Do you recognize the
 12    document we marked as Defendant's
 13    Exhibit 3?
 14           A.       Yes.
 15           Q.       What is it?
 16           A.       My affidavit.
 17           Q.       Who wrote this affidavit?
 18           A.       Well, I -- I -- I didn't
 19    type it up, but I gave the affidavit.
 20           Q.       So you spoke words to
 21    someone else and they typed it?
 22           A.       Yes.
 23           Q.       Who was that person?
 24           A.       I don't know.
 25           Q.       Who was the person you gave




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                                                                  Page 263
  1                HIGHLY CONFIDENTIAL AEO
  2    words to?
  3                    MR. GUIRGUIS:          Was it an
  4           attorney?
  5                    THE WITNESS:          Yes.
  6                    MR. GUIRGUIS:          Okay.
  7           Q.       Which attorney?
  8                    MR. GUIRGUIS:          I think I'm
  9           going to object to that.                I don't
 10           know that it matters which
 11           attorney or which attorney
 12           provided the work or did specific
 13           tasks.      I think that's
 14           privileged.
 15           Q.       Did you communicate these
 16    words to a attorney with the intent
 17    that they would put it into an
 18    affidavit that you would share
 19    publicly?
 20           A.       I don't know that the
 21    affidavit is public, but to share
 22    with -- with you guys.
 23           Q.       With a third party?
 24           A.       Yeah, with a third party.
 25           Q.       And you knew that at the




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                                                                   Page 264
  1                HIGHLY CONFIDENTIAL AEO
  2    time you were giving the words to the
  3    person to type up?
  4           A.       Yeah, to give to you guys.
  5           Q.       So who was the person that
  6    you were speaking to that took down
  7    the words for your affidavit?
  8           A.       Sorry.      It was Stan and
  9    Brad.
 10           Q.       And when did you have that
 11    conversation with them?
 12           A.       I think it was either -- I
 13    think it was in January.
 14           Q.       Last month?
 15           A.       Oh, God.        Last month.         Yeah,
 16    last month.
 17           Q.       In person?
 18           A.       In person.
 19           Q.       Did they give you multiple
 20    drafts of this document?
 21           A.       I wouldn't say multiple, but
 22    I made sure that it was accurate.
 23           Q.       Did you make any changes to
 24    the document you were originally
 25    presented with?




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                                                                  Page 265
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       No.
  3           Q.       The first document that you
  4    were presented with, is that the one
  5    that you signed?
  6           A.       Yes.
  7           Q.       And nothing was changed
  8    after you reviewed it?
  9           A.       No.
 10           Q.       Is that your signature on
 11    the second page?
 12           A.       Yes, that is my signature.
 13           Q.       And the last page, is that
 14    the official in Spain who witnessed
 15    your signature?
 16           A.       Yes.
 17           Q.       Did you sign page 2 in front
 18    of the person indicated on page 3?
 19           A.       Yes.
 20           Q.       Did you present that person
 21    with some form of identification?
 22           A.       Yes.
 23           Q.       What form of identification
 24    did you present?
 25           A.       My passport.




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                                                                  Page 266
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Which passport?
  3           A.       My British passport.
  4           Q.       Is that a current British
  5    passport?
  6           A.       Yes.
  7           Q.       Did you have a British
  8    passport that expired in 2014?
  9           A.       Yeah, I can't remember when
 10    it expired, but I think you guys have
 11    a copy as well of my passport.                    I
 12    don't remember the exact date that it
 13    expired.
 14           Q.       Not the South African
 15    passport that was stolen?
 16           A.       The South African passport
 17    is completely irrelevant.                 You can't
 18    travel on a South African passport.
 19    It's -- you can't go into any other
 20    country bar South Africa, other than
 21    South Africa, on a passport.                   So I've
 22    hardly used my South African passport
 23    at all.
 24           Q.       I'm just asking which
 25    passport you showed to the person on




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                                                                  Page 267
  1                HIGHLY CONFIDENTIAL AEO
  2    page 3.
  3           A.       Sorry.      My British passport.
  4           Q.       And it's a British passport
  5    that's current?
  6           A.       Yes.
  7                    MR. GUIRGUIS:          Asked and
  8           answered.
  9                    MS. MENNINGER:            Just a bit
 10           of a detour.
 11           Q.       Can I have you take a look
 12    at paragraph 1?
 13           A.       Yep.
 14           Q.       Is paragraph 1 true?
 15           A.       "I am currently over the age
 16    of 18," paragraph 1, yes.
 17           Q.       And you presently reside in
 18    Spain?
 19           A.       Yes.
 20           Q.       Paragraph 2, you state, "In
 21    the summer of 2006, when I was
 22    22 years old and living in New York, I
 23    was introduced to Jeffrey Epstein by a
 24    girl I had met named Natalya
 25    Malyshev."




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                                                                  Page 268
  1                HIGHLY CONFIDENTIAL AEO
  2                    Is that true?
  3           A.       Yes.
  4           Q.       Was it the summer of 2006
  5    when you met Natalya?
  6           A.       Okay, well, it was summer.
  7    End of summer going into fall.
  8           Q.       So when was it, do you
  9    think?
 10           A.       It was fall of 2006.              It was
 11    just after the summer.
 12           Q.       So it was the fall of 2006
 13    when you met Natalya?
 14           A.       Well, it was the end of the
 15    summer, so I don't know -- fall or in
 16    the summer or -- it was end of summer,
 17    fall.
 18           Q.       Sometime after you came into
 19    the U.S.?
 20           A.       Yes, yeah.
 21           Q.       And do you know when in the
 22    fall of 2006 you met Natalya?
 23           A.       What, you mean the end of
 24    summer/fall slash -- if you really
 25    want to go -- can you define, like,




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                                                                  Page 269
  1                 HIGHLY CONFIDENTIAL AEO
  2    geography lessons?              Should we do
  3    geography lessons?
  4                    MS. MCCAWLEY:          All right.
  5           Hang on a second.
  6           A.       Maybe summer?          Fall?
  7    Winter?        What are your dates here in
  8    New York?
  9                    MR. POTTINGER:            Can we get
 10           this clear?
 11                    MR. PAGLIUCA:          Would you
 12           just stop it?
 13                    MR. POTTINGER:            Do you mind?
 14           Do you mind?
 15                    MR. PAGLIUCA:          I mind you
 16           talking.
 17                    MR. POTTINGER:            Do you mind?
 18                    MS. MENNINGER:            If you want
 19           to enter an objection, please do
 20           so.
 21                    MR. POTTINGER:            I object.
 22                    MS. MENNINGER:            What is the
 23           basis of your objection, Mr.
 24           Pottinger?
 25                    MR. POTTINGER:            Define




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                                                                  Page 270
  1                HIGHLY CONFIDENTIAL AEO
  2           summer or fall.
  3                    MS. MENNINGER:            I will do
  4           whatever I want during my
  5           deposition.
  6                    MR. POTTINGER:            Define --
  7           define summer or fall.
  8                    MS. MENNINGER:            I don't have
  9           to define anything.
 10                    MR. POTTINGER:            Define
 11           summer or fall for the client --
 12                    MS. MENNINGER:            All right.
 13                    MR. POTTINGER:            -- and then
 14           we will answer the -- she will be
 15           able to answer the question.
 16                    MS. MENNINGER:            I'm going
 17           off the record until you calm
 18           down.
 19                    Let's go off the record.
 20                    (Time noted:          3:28 p.m. )
 21                    (Recess.)
 22                    (Time noted:          3:30 p.m.)
 23                    MS. MENNINGER:            Go back on
 24           the record.
 25           Q.       Approximately what month and




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                                                                  Page 271
  1                HIGHLY CONFIDENTIAL AEO
  2    day did you meet Natalya Malyshev?
  3           A.       As I said earlier, I can't
  4    remember what day, but it was end of
  5    summer/fall in the United States.                      I
  6    can't remember what specific date or
  7    time that was.
  8           Q.       What month?         Any idea?
  9           A.       It was September.
 10           Q.       When did you meet Jeffrey
 11    Epstein?
 12           A.       Shortly after I met Natalya.
 13           Q.       Was that also in September?
 14           A.       I guess so.         I don't know
 15    the exact date I arrived, so if
 16    someone can provide me with my
 17    passport so I can see my entry date,
 18    maybe that would help.
 19                    So I met Natalya -- if you
 20    look at the date that I arrived in New
 21    York on my passport, I think it's very
 22    clear when I arrived.               You've got the
 23    evidence, I'm sure.
 24                    So two weeks after the date
 25    that is on my passport that I arrived




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                                                                  Page 272
  1                HIGHLY CONFIDENTIAL AEO
  2    in, I met Natalya.              Very soon after I
  3    met Natalya, I was introduced to
  4    Jeffrey Epstein.            It was in and around
  5    September.         I can't specifically
  6    remember the date, time, season,
  7    whatever.
  8           Q.       Did you show your passport
  9    to Mr. Pottinger and Mr. Edwards when
 10    you were standing there at the
 11    consulate having the affidavit
 12    notarized?
 13           A.       I showed my current passport
 14    when I had this signed.
 15           Q.       Not the passport that
 16    contained dates from 2006?
 17           A.       My current valid passport.
 18    You can only show a valid passport.
 19           Q.       Fair enough.
 20                    So you believe that your
 21    lawyers have produced your current
 22    valid passport to me?
 23           A.       No --
 24                    MS. MCCAWLEY:          Objection.
 25           A.       -- they have not produced my




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  1                 HIGHLY CONFIDENTIAL AEO
  2    current passport.             They produced have
  3    my passport during that time frame,
  4    which clearly shows that -- when I
  5    entered the United States.
  6           Q.       So when your lawyers wrote,
  7    "A copy of nonparty Sarah Ransome's
  8    current passport is attached hereto as
  9    RANSOME 157 to 168, which should be
 10    treated as confidential pursuant to
 11    the party's protective order," do you
 12    believe that to be an accurate
 13    statement?
 14                    MS. MCCAWLEY:          Objection.
 15           You're asking her legal
 16           information that she's not privy
 17           to.
 18                    MS. MENNINGER:            There was
 19           nothing legal about that comment.
 20           A.       Sorry.      That makes no sense
 21    to me, please.           Can you repeat the
 22    question.
 23           Q.       I'll do it this way.
 24                    MS. MENNINGER:            Defendant's
 25           Exhibit 4.




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                                                                   Page 274
  1                HIGHLY CONFIDENTIAL AEO
  2                    (Defendant's Exhibit 4,
  3           RANSOME_000168, was marked for
  4           identification.)
  5           Q.       Take a look at Defendant's
  6    Exhibit 4.
  7           A.       Okay.
  8           Q.       Just take a look at it.                Do
  9    you recognize it?
 10           A.       Yeah, this is my passport.
 11           Q.       Do you know which passport
 12    this is?
 13           A.       This is my old passport.
 14           Q.       So it's not your current
 15    passport, correct?
 16           A.       No, it's not my current
 17    passport, because it expired on --
 18    let's have a look here --
 19           Q.       Can you turn to the
 20    second-to-last page.               Sorry.
 21           A.       Yes, here we go.
 22           Q.       Does that have a Bates
 23    number?       In other words, your name,
 24    RANSOME, with an underscore and then
 25    page numbers after that, that were




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                                                                  Page 275
  1                HIGHLY CONFIDENTIAL AEO
  2    placed there by your attorneys.
  3           A.       Hmm, sorry.         I don't
  4    understand.
  5           Q.       Do you see at the bottom of
  6    that page, your name, RANSOME_000158?
  7           A.       Yes.
  8           Q.       All right.         And that's on a
  9    document that is an expired passport?
 10           A.       Yes.
 11           Q.       This is not your current
 12    passport?
 13                    MR. GUIRGUIS:          Objection,
 14           asked and answered.
 15           A.       No.
 16           Q.       You have another passport
 17    that's not this passport that's
 18    currently in effect?
 19                    MR. GUIRGUIS:          Objection,
 20           asked and answered.
 21           Q.       Correct?
 22           A.       Yes.
 23           Q.       If I could also have you
 24    take a look at -- and I'll have to
 25    show, if you can see, there are the




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  1                HIGHLY CONFIDENTIAL AEO
  2    passport page numbers --
  3           A.       Mm-hmm.
  4           Q.       -- that show up on a
  5    passport.
  6           A.       Yeah.
  7           Q.       And these have been put in
  8    some order.
  9           A.       Mm-hmm, the order of my
 10    passport, yes.
 11           Q.       Right.      That's not how they
 12    were produced, but that's the order
 13    they're in now.
 14           A.       Okay.
 15           Q.       If we could have you turn to
 16    RANSOME 162, which is page 16 of your
 17    passport.
 18                    MR. GUIRGUIS:          Is that the
 19           front -- sorry, 162.
 20                    MS. MENNINGER:            They're not
 21           in Bates order.           They're put in
 22           the order of the passport.
 23                    THE WITNESS:          Oh, yeah.
 24           Mm-hmm.
 25                    MS. MENNINGER:            It's page




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  1                 HIGHLY CONFIDENTIAL AEO
  2           16.
  3           Q.       Do you see on that page a
  4    stamp from the Department of Homeland
  5    Security of the U.S., dated
  6    October 19, 2006?
  7           A.       Mm-hmm.
  8           Q.       Does that indicate to you
  9    that you were admitted to visit the
 10    U.S. on October 19th of 2006?
 11           A.       Yes, it does.
 12           Q.       Do you believe October 19th
 13    is during the summer in the U.S.?
 14           A.       No.     I don't see the
 15    relevance.
 16           Q.       What season do you think
 17    October 19th is in the U.S.?
 18           A.       Okay.      Well, considering I
 19    arrived in September, October's in
 20    winter.        But I arrived in September.
 21           Q.       Okay.      Well, do you believe
 22    that you did not enter the U.S. on
 23    October 19th, 2006?
 24           A.       Well, it's stamped.
 25           Q.       Does it say "admitted"?




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                                                                  Page 278
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       "Admitted," yes.
  3           Q.       Does it say "October 19,
  4    2006"?
  5           A.       Yes.
  6           Q.       Does it say "Department of
  7    Homeland Security, U.S. Customs and
  8    Border Patrol"?
  9           A.       Yes.
 10           Q.       So you do or do not believe
 11    you were admitted to the United States
 12    on October 19, 2006?
 13           A.       I flew in and had my
 14    passport stamped after I went on my
 15    trip to London in the UK.
 16                    Every time you go into a --
 17    as you all know, using your passport,
 18    every time you go into a new country,
 19    if you don't have their passport, you
 20    get a stamp.           So if you go in several
 21    times, every time you go into that new
 22    country, it gets stamped.
 23           Q.       So you think you went on a
 24    trip in October and came back to the
 25    U.S. on October 19th?




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  1                HIGHLY CONFIDENTIAL AEO
  2           A.       I obviously went -- I
  3    arrived in New York a day on the 19th
  4    of October.
  5           Q.       Where were you coming from
  6    on October 19th?
  7           A.       I can't remember.
  8           Q.       You have no idea?
  9           A.       I think it was London.               I
 10    made a trip to London.
 11           Q.       And how long were you in
 12    London in October?
 13           A.       I can't remember.
 14           Q.       A week?
 15           A.       I can't remember.
 16           Q.       Who paid for that ticket?
 17           A.       Myself.
 18           Q.       Did you go with anyone?
 19           A.       No.
 20           Q.       Did you have a new 90 days
 21    that began on October 19th?
 22           A.       Yes.     It automatically
 23    starts every time you enter.
 24           Q.       So in order to be compliant
 25    with that visa, you needed to leave




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                                                                  Page 280
  1                HIGHLY CONFIDENTIAL AEO
  2    within 90 days of October 19th?
  3           A.       That's correct.
  4           Q.       Do you know which airline
  5    you flew to London in 2006?
  6           A.       I can't remember.
  7           Q.       Do you know which class of
  8    service you flew?
  9           A.       I can't remember.
 10           Q.       Where is your current
 11    passport right now?
 12           A.       It is in my hotel room.
 13    Here, in -- it's in my hotel room.
 14           Q.       Got it.
 15                    Did Natalya fly with you to
 16    London?
 17           A.       No.
 18           Q.       Did Jeffrey pay for you to
 19    go to London?
 20           A.       I can't remember.
 21           Q.       Do you know whether you had
 22    met Jeffrey before you went to London
 23    in October of 2006?
 24           A.       I had met Jeffrey by then.
 25           Q.       Do you have any emails or




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                                                                  Page 281
  1                HIGHLY CONFIDENTIAL AEO
  2    anything reflecting your travel plans
  3    on that trip?
  4           A.       Oh, I think there was a
  5    plane, I think there was a plane
  6    booking or something.
  7           Q.       For that trip to London in
  8    October of 2006?
  9           A.       I think so.         I would have to
 10    double check.
 11           Q.       Where would you check?
 12           A.       Well, I'm trying to go and
 13    find it in my email, my old email
 14    account, where all of my other emails
 15    exchanged between Sarah Kellen and
 16    Lesley Groff are.
 17           Q.       Do you have any frequent
 18    flyer accounts?
 19           A.       No.
 20           Q.       Did your first trip to the
 21    private island in the U.S. Virgin
 22    Islands before or after you went to
 23    London and returned?
 24           A.       What was the date in October
 25    again?       19th.      I can't remember.            I




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                                                                  Page 282
  1                HIGHLY CONFIDENTIAL AEO
  2    mean, I said earlier I can't remember
  3    the first time.
  4           Q.       In the next sentence you
  5    say, "After that first trip, I
  6    traveled to the island several more
  7    times, usually on one of Jeffrey's
  8    private airplanes, and always at his
  9    direction."
 10                    What do you mean by "always
 11    at his direction"?
 12           A.       Well, I wasn't going to go
 13    there on my own, so I would have to be
 14    invited first.           I didn't want to just
 15    go chill on my own.              It was Jeffrey's
 16    house, so he had to phone me and
 17    invite me before I decided I wanted to
 18    go to his island.
 19           Q.       So he phoned you, he invited
 20    you, and you decided you wanted to go
 21    to his island.
 22           A.       No, I had to go to his
 23    island.
 24           Q.       Why did you have to go to
 25    his island?




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                                                                  Page 283
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       Because I was frightened of
  3    him.
  4           Q.       Did Jeffrey ever hit you?
  5           A.       No, he didn't.
  6           Q.       Did you ever see Jeffrey
  7    with a weapon?
  8           A.       No.
  9           Q.       Have you reviewed any flight
 10    logs?
 11           A.       No, not that I recall.
 12           Q.       You've never seen a flight
 13    log?
 14           A.       I've seen one which showed
 15    my name.
 16           Q.       When did you first become
 17    frightened of Jeffrey Epstein?
 18           A.       During my time with him in
 19    New York.
 20           Q.       What period of time?
 21           A.       Pretty much soon after I met
 22    him, actually, and he forced the
 23    vibrator on my vagina for an extended
 24    period of time, which considerably
 25    hurt my lady region, actually.




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                                                                  Page 284
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       That's when you became
  3    frightened of him?
  4           A.       Yes, absolutely.
  5           Q.       You've seen a flight log
  6    with your name on one flight?
  7           A.       Yes, I have.
  8           Q.       When did you see that?
  9           A.       I saw it in January, and it
 10    was to confirm that --
 11                    MR. GUIRGUIS:          I'm going to
 12           object.       Hold on.
 13                    Is this -- if this is a
 14           communication with counsel, you
 15           should understand, any time she
 16           asks you a question, if the
 17           answer is it was with counsel,
 18           then you don't answer.
 19                    Was this with counsel?
 20                    THE WITNESS:          Yes.
 21                    MR. GUIRGUIS:          Don't answer.
 22                    MS. MENNINGER:            Seeing a
 23           document when you're with counsel
 24           is privileged?
 25                    MR. GUIRGUIS:          I don't know




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                                                                  Page 285
  1                HIGHLY CONFIDENTIAL AEO
  2           what your next question is going
  3           to be, so...
  4                    MS. MENNINGER:            I asked her
  5           when she saw the flight logs.
  6           And she said in January, correct?
  7                    MR. GUIRGUIS:          Right.       And
  8           then she was about to continue
  9           the answer.         I'm fine with the I
 10           saw it in January.             That's why I
 11           didn't object when you asked the
 12           question.
 13                    I'm objecting to her
 14           continuing and caution the
 15           witness not to waive her
 16           attorney/client privilege.
 17           Q.       Don't tell me anything that
 18    your lawyer said to you.
 19                    You reviewed the flight log
 20    in January?
 21           A.       I reviewed one flight log,
 22    which confirmed that I was there.
 23           Q.       What other documents did you
 24    review?
 25           A.       No other documents.




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                                                                  Page 286
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       In addition to Jeffrey and
  3    Nadia, what other girls did you have
  4    sexual relations with on the island?
  5           A.       I can't remember their
  6    names.
  7           Q.       Can you remember any of
  8    their names?
  9           A.       There were a few.
 10           Q.       Can you remember any of
 11    their names?
 12           A.                  , Jen -- sorry, I
 13    misunderstood your question.                   I didn't
 14    have sexual relations with                           .
 15    Sorry, I misunderstood you.
 16                    It was Jen, Natalya and
 17    Nadia.       And there were a couple
 18    others, I don't remember their names.
 19           Q.       What are other guests did
 20    you have sexual relations with on the
 21    island?
 22           A.       It was only those ones.
 23           Q.       Do you know the ages of any
 24    of the individuals you had sexual
 25    relations with on the island?




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                                                                  Page 287
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       They were 18, I assumed.
  3    Natalya was around my age, was my age.
  4           Q.       In the next paragraph, you
  5    refer to meeting Ghislaine Maxwell on
  6    one of your visits to the island,
  7    correct?
  8           A.       Correct.
  9           Q.       You said, "Watching her
 10    interact with the other girls on the
 11    island, it became clear to me that she
 12    recruited all or many of them to the
 13    island."
 14                    What do you mean that?
 15           A.       That she recruited a lot of
 16    the girls.
 17           Q.       What did you see?
 18           A.       I saw how she interacted
 19    with all the girls.              You know, if you
 20    walk into any -- I mean, common
 21    sensewise, if you walk into a firm,
 22    you kind of know who the boss is.
 23                    You know, all the girls kind
 24    of reported to Ghislaine.                 Ghislaine
 25    was like the mama bear, if you know




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                                                                  Page 288
  1                HIGHLY CONFIDENTIAL AEO
  2    what I mean.          She called the shots; we
  3    had to listen to Ghislaine.
  4                    And Ghislaine was Jeffrey's
  5    right-hand woman, so, you know,
  6    whatever Jeffrey wanted went through
  7    Ghislaine and then filtered through.
  8           Q.       What did any girl report to
  9    Ghislaine in your presence?
 10                    MR. GUIRGUIS:          Objection.
 11           I'm not sure that's -- just
 12           objection to form.
 13           Q.       You said that the girls
 14    reported to Ghislaine.                What did you
 15    see or hear that caused you to say
 16    that?
 17           A.       Well, it's pretty obvious.
 18    I mean, Ghislaine called the shots.
 19                    So, for example, when -- I
 20    can't remember specifics, but Natalya,
 21    I think, had an issue.                And she had to
 22    speak to Ghislaine if there was ever
 23    an issue.
 24           Q.       What issue?
 25           A.       I can't remember




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                                                                  Page 289
  1               HIGHLY CONFIDENTIAL AEO
  2    specifically.           We always have issues.
  3    Girls have issues.              We have period
  4    pains, we've got headaches.
  5                    You know, we had to look a
  6    certain way for Jeffrey.                  So if we put
  7    on a little bit of weight or, for
  8    example, if my hairstyle was wrong --
  9    Jeffrey liked girls to look a certain
 10    way.
 11                    So, for example, there was
 12    one occasion where Jeffrey didn't like
 13    my hair and Ghislaine told me to
 14    change it.
 15                    So there was -- everyone was
 16    afraid of Ghislaine.               All the girls
 17    were afraid of her, so everyone --
 18    Sarah Kellen reported to her.                    Lesley
 19    Groff reported to her.                I don't know
 20    how to tell you.
 21                    So when I say reporting, I
 22    witnessed with my own two eyes Sarah
 23    Kellen reporting to Ghislaine in front
 24    of me, but I can't remember specifics.
 25    They were talking about girls.                    I




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                                                                  Page 290
  1                HIGHLY CONFIDENTIAL AEO
  2    can't remember the specific
  3    conversation.           But every single person
  4    100 percent, 200 percent reported to
  5    Ghislaine.         100 percent.
  6           Q.       Okay.      Great.      I appreciate
  7    your certainty.
  8           A.       Absolutely.
  9           Q.       So we have Sarah Kellen
 10    having a discussion with Ghislaine
 11    about girls.          What other discussions
 12    did you overhear?
 13           A.       There were various
 14    discussions.          We were always talking
 15    about girls.          There was a constant
 16    influx of girls.            There were so many
 17    girls.       There were girls in Miami.
 18    There were guests coming.                 There
 19    were --
 20                    It's like, I'm sure if you
 21    go into a hooker's brothel and see how
 22    they run their business, I mean, it's
 23    just general conversation about who's
 24    going to have sex with who and, you
 25    know -- what do you talk about when




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                                                                     Page 291
  1                HIGHLY CONFIDENTIAL AEO
  2    all do you is have sex every day on
  3    rotation?         I mean, what is there to
  4    talk about?
  5           Q.       You were in Miami?             When did
  6    you go to Miami?
  7                    MR. GUIRGUIS:          Objection.
  8                    MS. MCCAWLEY:          Objection.
  9           A.       No, I didn't go to Miami.                 I
 10    didn't say that.
 11           Q.       Apart from general
 12    conversation, do you recall any
 13    specifics of any female reporting to
 14    Ghislaine?
 15           A.       Yes, I saw.         And with my own
 16    eyes, I saw how Ghislaine and Lesley
 17    Groff and the other girls reported to
 18    them.
 19                    If you would like me to
 20    report specific conversations, I
 21    can't.       But in my being an adult and
 22    having common sense and a sensible
 23    head on my shoulders, you can quite
 24    quickly work out who is the management
 25    there.




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                                                                  Page 292
  1                HIGHLY CONFIDENTIAL AEO
  2                    And we were told by Jeffrey
  3    Epstein to listen to Ghislaine.                     So
  4    Ghislaine was the main right-hand
  5    woman of Jeffrey Epstein.                  We were
  6    told by Jeffrey Epstein to listen to
  7    Ghislaine.
  8           Q.       When did Jeffrey Epstein
  9    tell you that?
 10           A.       I can't remember the exact
 11    time, date or where I was standing, on
 12    which pavement or crack.                  But it was
 13    around the time that I met Ghislaine.
 14           Q.       Which was on the island?
 15           A.       I can't remember what date,
 16    time, pavement, where I was standing.
 17    But I was told during around the time
 18    I met Ghislaine that I had to listen
 19    to Ghislaine.
 20           Q.       By Jeffrey?
 21           A.       By Jeffrey.         And every
 22    single other girl that I've ever met
 23    with Jeffrey.
 24           Q.       And we know three names, but
 25    that's it?




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                                                                    Page 293
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       Those are three names that I
  3    remember, but I met -- I met lots of
  4    girls.       Lots.
  5           Q.       Okay.
  6           A.       Yeah.
  7           Q.       What activities was
  8    Ghislaine Maxwell in charge of?
  9           A.       In terms of -- can you
 10    explain activities, please?
 11           Q.       I'm actually just looking at
 12    your affidavit on paragraph 3, so why
 13    don't you take a look at that.
 14           A.       Activities.         Activities.         So
 15    when we had to go to the island, when
 16    we had to go see Jeffrey in New York,
 17    when we had to go to his mansion.
 18                    You know, we saw Jeffrey
 19    pretty regularly.             I was on rotation
 20    pretty much every day, so -- amongst
 21    other girls.
 22                    So Ghislaine also called
 23    me -- she also called the other
 24    girls -- when Jeffrey wanted his
 25    massage.        So there was an occasion




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                                                                  Page 294
  1                HIGHLY CONFIDENTIAL AEO
  2    that I didn't want to go, and she got
  3    angry with me because I didn't want to
  4    give Jeffrey a massage.
  5           Q.       When was that?
  6           A.       It was on one of my -- one
  7    of my stays on the island.                  I can't
  8    remember what specific date or what
  9    specific time.
 10           Q.       How many times were you on
 11    the island with Ghislaine?
 12           A.       I can't remember
 13    specifically.
 14           Q.       More than once?
 15           A.       Yeah.
 16           Q.       More than twice?
 17           A.       I can't remember.            I also
 18    saw her in New York quite a lot, so --
 19    I mean, this isn't just based on the
 20    island.       I spent just as much time
 21    with Jeffrey and Ghislaine in New
 22    York, so we can't just concentrate on
 23    the island, please.
 24           Q.       Did you believe Ghislaine
 25    was living in New York in January of




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                                                                  Page 295
  1                HIGHLY CONFIDENTIAL AEO
  2    2007?
  3           A.       I don't know where the hell
  4    Ghislaine lived, to be honest.
  5           Q.       But you saw her regularly in
  6    January of 2007?
  7                    MR. GUIRGUIS:          Objection.
  8                    MS. MCCAWLEY:          Objection.
  9           A.       Regularly, what's regularly?
 10    I saw her a few times.                I don't know
 11    where she was living.               I tried to
 12    actually not spend -- well, I tried to
 13    spend as little time with her as
 14    possible because every time I saw her
 15    on the island, she would call me to
 16    give Jeffrey a massage, so...
 17           Q.       You saw her more than once
 18    on the island and you saw her a few
 19    times in New York.              Did you see her
 20    anywhere else?
 21                    MR. GUIRGUIS:          Objection.
 22                    MS. MCCAWLEY:          Objection,
 23           mischaracterizes testimony.
 24           A.       No.
 25           Q.       In New York, you saw her at




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                                                                  Page 296
  1                HIGHLY CONFIDENTIAL AEO
  2    Jeffrey's office.             Did you see her
  3    anywhere else in New York?
  4           A.       I can't remember.            I saw
  5    them, I spent a lot of time with them,
  6    so...
  7           Q.       How much time did you spend
  8    with Ghislaine?
  9           A.       Enough.
 10                    MR. GUIRGUIS:          Objection.
 11           That's vague.
 12           A.       Enough time.          I mean, how
 13    long is a piece of string?                  I was here
 14    for a certain amount of time, and in
 15    that time, the majority of the time I
 16    spent with Jeffrey Epstein being
 17    involved with his pedophiling -- I
 18    mean, how much time have you spent
 19    with him?         I don't know.           It wasn't a
 20    lot of time, because I couldn't stand
 21    the woman and she was a bully and no
 22    one liked her, so no one really went
 23    out of their way to spend time with
 24    her.
 25                    So I didn't spend a lot of




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                                                                  Page 297
  1                HIGHLY CONFIDENTIAL AEO
  2    time with her because she's a
  3    particularly unpleasant person.                     And
  4    when I did spend time with her, it was
  5    either directing me to massage Jeffrey
  6    or her showing me how to massage
  7    Jeffrey, or I spent a lot of time with
  8    her on the island.
  9                    Yeah, so how much time did I
 10    spend with Ghislaine in total of
 11    hours?       I can't recall because it was
 12    ten years ago.           I mean, how many hours
 13    did I spend with Jeffrey?                 I mean,
 14    what a silly question.
 15           Q.       How many days did you see
 16    Ghislaine?
 17           A.       Don't know.
 18           Q.       Less than ten or more than
 19    ten?
 20           A.       I can't remember.
 21           Q.       Less than five or more than
 22    five?
 23           A.       Can't remember.
 24           Q.       You indicate that many girls
 25    you saw appeared to be young




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                                                                  Page 298
  1                HIGHLY CONFIDENTIAL AEO
  2    teenagers.         Where did you see young
  3    teenagers?
  4           A.       It says they appeared to be
  5    teenagers.         All the girls I saw looked
  6    young.
  7           Q.       Okay.      Where did you see
  8    girls who appeared to be young
  9    teenagers?
 10           A.       On the island and in New
 11    York.
 12           Q.       Describe for me a young
 13    teenager that you saw.
 14                    MR. GUIRGUIS:          Objection,
 15           mischaracterizes testimony.
 16           A.       So I never said I saw a
 17    teenager.         They appeared to look like
 18    teenagers, okay?                          was -- I try
 19    to look at                  .    I don't know how
 20    old                is, but she looked young.
 21    And I'm sure you can agree, as a mom,
 22    in the photos, that she looks pretty
 23    young for an old man to be bonking.
 24    So she looks really young.                  She looks
 25    younger than me.




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                                                                   Page 299
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Did you see her bonk
  3    someone?
  4           A.       No, but she told me.              She
  5    told me and Nadia that they abused her
  6    on the island.
  7           Q.       Nadia said they abused who
  8    on the island?
  9                    MR. GUIRGUIS:          Objection,
 10           mischaracterizes testimony.
 11           That's not what she said.
 12           A.                   said that Jeffrey
 13    and Nadia had abused her.
 14           Q.       Okay.      And do you have any
 15    way to reach                    ?
 16           A.       I haven't spoken to her.                I
 17    don't -- I just know her first name.
 18           Q.       You said you recall seeing
 19    "a particularly young, thin girl who
 20    looked well under 18," and you recall
 21    asking her her age.
 22                    When did you see this
 23    particularly young, thin girl who
 24    looked well under 18                and you recall
 25    asking her age?




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  1                HIGHLY CONFIDENTIAL AEO
  2           A.       It was on the trips.              I
  3    think you've got the photos.
  4    is in the photos.             So it was that trip
  5    in December.
  6           Q.       Did you take a photo of the
  7    young, thin girl who looked well under
  8    18?
  9           A.       I think I did take a photo
 10    of her.       I don't have any more photos
 11    of her of my own.
 12                    Well, I have photos of her.
 13    You've got the photos.
 14           Q.       So the person --
 15           A.       I've given you all the
 16    photos that I have.
 17           Q.       The person that you wrote
 18    here was "a particularly young, thin
 19    girl who looked well under 18" is
 20    reflected in photographs you've
 21    produced in this case?
 22           A.       That's correct.
 23           Q.       And do you know her name?
 24           A.       Sorry, can you just repeat
 25    that?       Didn't I just answer this




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                                                                  Page 301
  1                HIGHLY CONFIDENTIAL AEO
  2    question?
  3                    Yeah, that's                     who I
  4    was particularly concerned about,
  5    about her age, in the photos that I
  6    have supplied with -- you with, with
  7    me in them with                     .
  8           Q.       So in your affidavit in
  9    paragraph 3 where you talk about "a
 10    particularly young, thin girl who
 11    looked well under 18," you are
 12    referring to                    ?
 13           A.       Yes.
 14           Q.       And you said you later
 15    learned she was a
 16           A.       That's correct.
 17           Q.       How did you learn she was a
 18
 19           A.       Because she told me.              And
 20    she told me Jeffrey Epstein was
 21
 22
 23
       funding her
              Q.          -
                       And where was her
                                                   -
 24           A.       I don't know.
 25           Q.       When did she tell you this?




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                                                                  Page 302
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       During that December trip.
  3           Q.       Was that the only trip you
  4    took with her?
  5           A.       I can't -- I can't remember.
  6    I think there was another trip, but I
  7    can't remember.
  8           Q.       Did you ever see her name on
  9    a flight log?
 10           A.       No.
 11           Q.       Was she on the plane with
 12    you?
 13           A.       I can't -- I can't remember.
 14    I can't remember.             Yeah, I just
 15    remember                   on the island.
 16           Q.       Other than her telling you
 17    she was a                        did she tell you
 18    anything else about herself?
 19           A.       Yeah, you know, I think she
 20    came from quite a tough background.
 21           Q.       What did she say?
 22           A.       Well, I can't remember the
 23    specifics, but I remember that -- I
 24    don't know if she had issues with her
 25    parents -- I don't know.                  She was a




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                                                                  Page 303
  1                 HIGHLY CONFIDENTIAL AEO
  2    bit of a -- you know, she was a -- I
  3    was worried about her.
  4           Q.       What did she say to cause
  5    you to be worried about her?
  6           A.       Well, I first met her -- she
  7    was new to Jeffrey Epstein's list of
  8    girls in December.              And when I first
  9    met her, she was a really bubbly girl
 10    and -- I mean, she was young.                    She was
 11    inexperienced.           She -- she was frail.
 12    And she changed quite quickly after
 13    that first trip.
 14           Q.       How many trips did you take
 15    with her?
 16           A.       I think it was more than
 17    one.        I can't remember.          I saw her a
 18    lot.
 19           Q.       Where did you see her?
 20           A.       Oh, it was either New York
 21    or the island.           I mean, I can't
 22    remember.
 23           Q.       In New York, where did you
 24    see her?
 25           A.       I think we met -- like we




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                                                                  Page 304
  1                HIGHLY CONFIDENTIAL AEO
  2    all met a couple times in New York.
  3    We all kind of knew each other.
  4
  5
  6
              Q.
              A.
              Q.
                       Did you ever see her
                       No.
                       Did she live in an apartment
                                                       -
  7    that you went to?
  8           A.       I can't remember about her
  9    living arrangements.
 10
 11
 12    -
              Q.


              A.
                   was?
                       Do you know where her


                       No.
                                                         -
 13           Q.       When did you ask to see her
 14    passport?
 15           A.       When we shortly arrived to
 16    the Virgin Islands, she looked
 17    particularly young.              And you know what
 18    girls are like with passport -- with
 19    passport pictures.              They don't -- they
 20    get embarrassed about their passport
 21    pictures.
 22                    And she was quite cagey
 23    about her passport, so she didn't show
 24    me.     I don't know whether that -- I
 25    don't know.           She just didn't show me.




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                                                                  Page 305
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Did she say why she wasn't
  3    showing it to you?
  4           A.       She said it was because she
  5    was embarrassed about the picture.
  6           Q.       Were you living in the same
  7    room with her on the island?
  8           A.       Yeah, we stayed in the same
  9    room.
 10           Q.       Did you ever attempt to look
 11    at her passport when she wasn't there?
 12           A.       No.
 13           Q.       Did you ever call any
 14    authorities about having seen this
 15    young, thin girl who looked well under
 16    18?
 17           A.       No.
 18           Q.       In the fourth paragraph, you
 19    described being lent out to Jeffrey's
 20    friends in New York.
 21                    Which friends of Jeffrey's
 22    were you lent out to to have sex?
 23           A.       Alan Dershowitz.
 24           Q.       Who else?
 25           A.       Nadia.      All the girls that




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                                                                  Page 306
  1                HIGHLY CONFIDENTIAL AEO
  2    were involved, really.                I had to have
  3    sex with them, so...
  4           Q.       Well, what do you mean by
  5    lent out?
  6           A.       Lent out as in -- so I was
  7    one of the girls that regularly --
  8    that Jeffrey regularly asked to see
  9    sexually.
 10                    And what my description was
 11    of being lent out is when -- it's
 12    almost like Jeffrey's quite possessive
 13    of his girls.           He's -- you know, he
 14    lends them out.
 15                    He samples the girls, he has
 16    friends come over to New York or the
 17    island and they -- they get to see who
 18    all the girls are around Jeffrey, and
 19    they get to pick one which they want
 20    to be with.
 21           Q.       So you were with Jeffrey and
 22    a number of other females in New York
 23    when a person, a friend would come in,
 24    Alan Dershowitz would come in and look
 25    at all of the girls and choose one?




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                                                                  Page 307
  1                HIGHLY CONFIDENTIAL AEO
  2                    MS. MCCAWLEY:          Objection.
  3                    MR. GUIRGUIS:          Objection,
  4           mischaracterizes testimony.
  5                    MS. MENNINGER:            I'm asking a
  6           question.
  7                    MR. GUIRGUIS:          I'm objecting
  8           to your question.
  9           A.       So let me give you a
 10    specific example of that.                  So, for
 11    example, there was an occasion where I
 12    and some of the other girls were on
 13    the island.          So a specific occasion
 14    was when Sergey -- I don't know his
 15    surname, but he owns Google or
 16    whatever, and he came with his
 17    fiancée.
 18                    So, you know, you got a
 19    table with Jeffrey Epstein of lots of
 20    women -- girls, women, whatever --
 21    beautiful girls, and you've got
 22    friends joining him.               And friends
 23    popped over all the time.
 24                    So I had other -- there were
 25    other males that visited Jeffrey on




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                                                                  Page 308
  1                 HIGHLY CONFIDENTIAL AEO
  2    the island.          I don't know who they
  3    are.        I can't remember their names.
  4                    But, yeah.         I mean, he
  5    didn't -- he didn't line them up and
  6    go, hey, boys, pick which vagina you
  7    want.        He didn't do it that blatantly.
  8                    But they had spent time with
  9    the girls during a lunch on the
 10    island -- yeah, I mean, they -- his
 11    friends would spend time with us.
 12           Q.       Okay.      In paragraph 4, where
 13    you say, "At his townhouse, I was also
 14    lent out by him to his friends and
 15    associates to have sex."
 16                    What do you mean by that
 17    sentence?
 18           A.       Well, I mean, it's quite
 19    obvious with the incidents -- well,
 20    the incident that happened with Alan.
 21    So I would classify that as being lent
 22    out.        I didn't willingly go, hey,
 23    Alan, let's have some fun, because no
 24    one on the planet would say that to
 25    Alan.




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                                                                     Page 309
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       So you say "lent out by him
  3    to his friends and associates."
  4                    Who are the friends and
  5    associates that you were lent out to?
  6                    MR. GUIRGUIS:          Objection,
  7           asked and answered.
  8           A.       Alan Dershowitz and Nadia.
  9    The girls that I mentioned.                  There
 10    were other girls that I had sexual
 11    intercourse with, but I can't remember
 12    their names.
 13           Q.       Were there any other men?
 14           A.       No, there weren't any other
 15    men.
 16           Q.       Prince Andrew?
 17           A.       No.
 18
 19
 20
              Q.
              A.
              Q.
                                   -
                       No, no, I don't know that.
                       Bill Richardson?            Yes?
                                                           ?


                                                               No?
 21           A.       No.     That I would be lent
 22    out to have sex with?
 23           Q.       Yes.
 24           A.       No, no.
 25           Q.       Tom Pritzker?




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                                                                  Page 310
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       No.
  3           Q.       Marvin Minsky?
  4           A.       No.
  5           Q.       Were you paid money after
  6    you had sex with Alan Dershowitz?
  7           A.       No.
  8           Q.       Were you paid money after
  9    you had sex with Nadia?
 10           A.       No.
 11           Q.       Were you paid money after
 12    you had sex with Natalya?
 13           A.       No.
 14           Q.       Were you paid money after
 15    you had sex with any of the other
 16    girls --
 17           A.       No.
 18           Q.       -- of names you can't
 19    remember?
 20           A.       I was only ever paid to --
 21    when I had sex with Jeffrey himself.
 22           Q.       In the course of massage?
 23           A.       Yes.
 24           Q.       Did you ever have sex with
 25    Jeffrey not in a massage context?




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                                                                     Page 311
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       Yeah, we -- yeah.            He was
  3    really intimate all the time.                    We
  4    had -- multiple times.                I can't tell
  5    you how many times I've slept with
  6    Jeffrey.        I mean, we were on rotation.
  7    Every single day, it was -- sometimes
  8    twice a day I was called.
  9                    You know, Ghislaine, Sarah
 10    Kellen -- you know, it was -- yeah.                       I
 11    mean, how -- we were on rotation
 12    pretty much the whole time I was here.
 13           Q.       And when you say you were on
 14    rotation, you mean you were having sex
 15    with Jeffrey multiple times per day?
 16           A.       No.     As in when I was
 17    finished, another girl was called by
 18    Ghislaine.         And when they had
 19    finished, another girl was called.
 20           Q.       How do you know that another
 21    girl was called by Ghislaine?
 22           A.       Because I was there, and I
 23    saw it and heard it with all my
 24    senses.       I saw Ghislaine call another
 25    girl, and she called me herself, to go




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                                                                     Page 312
  1                HIGHLY CONFIDENTIAL AEO
  2    give Jeffrey Epstein a sexual massage.
  3           Q.       What do you mean by call?                 I
  4    guess I'm thinking like telephone.
  5    That may be my --
  6           A.       No.     As in going up to the
  7    person and going, Jeffrey wants to see
  8    you in his bedroom, which meant it's
  9    your turn to be abused.                That kind of
 10    thing.
 11           Q.       And this is on the island?
 12           A.       This is on the island.
 13           Q.       You heard -- as soon as you
 14    were done with Jeffrey, you heard
 15    Ghislaine go up to another girl and
 16    say, it's your turn with Jeffrey?
 17           A.       So every single day, I
 18    mean -- so I don't know how quickly
 19    Jeffrey's sperm bank fills up.                    I
 20    mean, I know guys can normally cum
 21    once or twice a day, but Jeffrey's not
 22    a normal person.
 23                    So, I mean, our rotation
 24    changed every day that specific trip
 25    we had in December.




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                                                                  Page 313
  1                HIGHLY CONFIDENTIAL AEO
  2                    So, for example, I would be
  3    called.       Maybe a couple hours when
  4    Jeffrey had a little, you know, break,
  5    another girl was called,                           .
  6    Then another girl was called.                     Every
  7    single day.
  8                    We tried to hide on
  9    different -- like, so we wouldn't have
 10    to get called.           We'd generally have to
 11    sit in the main area.               There was like
 12    a big pool, the main seating area.
 13    There was a big table.                We'd sit there
 14    and do kind of art on the table, and
 15    we always had to be around.                  We
 16    weren't allowed to go very far on the
 17    island.
 18                    We always had to report to
 19    Ghislaine and Jeffrey and tell them if
 20    we were going down to the beach to
 21    swim because they had an inflatable
 22    trampoline.          So they -- I mean, we
 23    always had to tell Ghislaine and
 24    Jeffrey where we were at all times.
 25           Q.       On the island?




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  1                HIGHLY CONFIDENTIAL AEO
  2           A.       On the island, yeah.
  3           Q.       In New York -- strike that.
  4                    How many times a day, to
  5    your knowledge, did Jeffrey Epstein
  6    have sex?
  7           A.       To my knowledge, from what I
  8    saw and what I've witnessed -- I don't
  9    know what he did when I wasn't
 10    there -- up to about three, four times
 11    a day.
 12           Q.       So you had sex with him
 13    three or four times a day?
 14                    MS. MCCAWLEY:          Objection.
 15           A.       No.
 16           Q.       I'm sorry.         You said to your
 17    knowledge, what you witnessed.                    I'm
 18    trying to understand what you mean.
 19           A.       So as soon as I slept with
 20    Jeffrey, a certain time would go by.
 21    He maybe had a coffee.                And then there
 22    was a specific occasion where then
 23                 was called to go and do that
 24    for Jeffrey.
 25           Q.       And you were not in the room




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  1                HIGHLY CONFIDENTIAL AEO
  2    when                 was with Jeffrey?
  3           A.       No, but I was certainly
  4    there afterwards, because she was
  5    forced to have sex with Nadia and
  6    Jeffrey Epstein.
  7           Q.       That happened?
  8           A.       Yes.     And she had never had
  9    a female experience before and she was
 10    very upset, very upset.
 11           Q.       So you didn't personally see
 12    it, but you talked to                          and saw
 13    her afterwards?
 14           A.       Well, I don't think the
 15    girls, when they were called, were
 16    making cups of tea with Jeffrey in his
 17    room.       So -- and when a girl comes out
 18    crying and I know that I've been
 19    sexually abused, it's quite safe to
 20    assume.
 21                    And when that girl tells you
 22    she's being forced to have sex with
 23    Jeffrey Epstein and Nadia, you know,
 24    it's there, isn't it.
 25           Q.       So she told you?




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  1                HIGHLY CONFIDENTIAL AEO
  2           A.       Yes, she told me.            And with
  3    my own intelligence, in my -- you
  4    know, I can see with my own senses.                       I
  5    can hear things, see things.                   It's
  6    quite obvious what was going on.
  7                    MS. MENNINGER:            I need a
  8           small break.
  9                    (Time noted:          4:17 p.m.)
 10                    (Recess.)
 11                    (Time noted:          4:28 p.m.)
 12           Q.       On Defendant's Exhibit 3 in
 13    the last paragraph, you describe
 14    having had sex with Alan Dershowitz,
 15    correct?
 16           A.       Correct.
 17           Q.       You say in the last sentence
 18    that you recall "specific key details
 19    of his person."
 20                    What specific key details of
 21    his person do you recall?
 22           A.       You know, I recall his
 23    appearance.          You know, I'd met him,
 24    you know, twice beforehand.                  So in
 25    terms of specific key details, I can




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                                                                  Page 317
  1                HIGHLY CONFIDENTIAL AEO
  2    describe how he looked.
  3           Q.       How did he look?
  4           A.       He was, as I've explained --
  5    described earlier, quite -- quite an
  6    elderly man, wore glasses, quite
  7    pasty, pasty-skinned.               Not well, I
  8    assumed, not at all well.                 He wasn't
  9    well, W-E-L-L.           Like, he wasn't a --
 10    he wasn't -- he wasn't a healthy
 11    person.
 12           Q.       And do you recall whether he
 13    had a mustache?
 14           A.       I can't -- I can't recall if
 15    he had a mustache, no.
 16           Q.       Which of those that you just
 17    described are the key details you are
 18    referring to in paragraph 4?
 19                    MS. MCCAWLEY:          Objection,
 20           asked and answered.
 21           A.       As I've described.             I
 22    mean...
 23           Q.       Pasty skin?
 24           A.       Pasty skin, wrinkly.               I
 25    didn't -- I tried to pay as little




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  1                HIGHLY CONFIDENTIAL AEO
  2    attention to him as possible.                    During
  3    that session, I was completely
  4    overwhelmed.          I -- it completely took
  5    me by surprise, that incident, and I
  6    was exceptionally upset by what was
  7    going on because I felt that I had
  8    been coerced beforehand, that it had
  9    been prior arranged to me arriving
 10    there.
 11           Q.       Can you describe any other
 12    specific key detail of his person that
 13    you haven't already mentioned?
 14           A.       I can't remember specific
 15    ones.       It was -- I just tried to just
 16    get it done as soon as possible to get
 17    out of there.           I couldn't wait to get
 18    out of there quick enough, to be
 19    honest.
 20           Q.       Did you tell your attorneys,
 21    I recall specific key details of this
 22    person?
 23           A.       I think I've just described
 24    that key details of this person.
 25           Q.       Did you say those words to




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                                                                  Page 319
  1                HIGHLY CONFIDENTIAL AEO
  2    your attorneys when you drafted this?
  3                    MR. GUIRGUIS:          Objection,
  4           asked and answered.
  5                    MS. MCCAWLEY:          Objection.
  6           A.       I do recall specific
  7    details, which I've given.
  8           Q.       And they're the ones you've
  9    already given?
 10           A.       I don't -- as I specified,
 11    this was a coerced event that took
 12    place.       I was extremely upset.               I did
 13    not want to have sexual intercourse
 14    with Alan.
 15                    I did not -- I don't -- I
 16    don't remember specific -- I don't
 17    remember specific things.                 I remember
 18    Nadia -- me paying particular
 19    attention to Nadia because I didn't
 20    want Alan touching me, so it was -- as
 21    I said, it was a traumatic experience.
 22                    I don't remember the finer
 23    details of Alan Dershowitz's private
 24    parts or any other thing.                 I tried to
 25    spend as little time as possible




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  1                HIGHLY CONFIDENTIAL AEO
  2    touching Alan, as I'm sure you can
  3    imagine.
  4           Q.       How was it coerced?
  5           A.       It was coerced in the sense
  6    that when I arrived there, Alan
  7    Dershowitz was there and Nadia was
  8    there.       It was quite clear to me what
  9    their intention was after me arriving
 10    there.
 11           Q.       There being where?
 12           A.       Jeffrey's New York
 13    apartment.
 14           Q.       When you arrived at
 15    Jeffrey's New York apartment, Alan was
 16    already there?
 17           A.       Yes.
 18           Q.       And Nadia was already there?
 19           A.       Yes.
 20           Q.       What were the specific key
 21    details of the sex acts that you can
 22    remember that you have not already
 23    described?
 24           A.       There was cunnilingus
 25    involved, masturbation.




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  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Who performed cunnilingus on
  3    who?
  4           A.       We all performed cunnilingus
  5    on each other.
  6           Q.       So did anyone perform
  7    cunnilingus on Mr. Dershowitz?
  8           A.       Is that the same as girls
  9    and boys?         Yeah, same definition.
 10           Q.       Did you perform cunnilingus
 11    on Nadia?
 12           A.       Yes.
 13           Q.       Did she perform it on you?
 14           A.       Yes.
 15           Q.       Did Mr. Dershowitz perform
 16    it on you?
 17           A.       Yes.
 18           Q.       Did he perform it on Nadia?
 19           A.       Yes.
 20           Q.       And any other specific key
 21    details of the sex acts you can
 22    describe?
 23           A.       There was a lot of touching,
 24    fondling, yeah.
 25           Q.       When you say Professor




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  1                HIGHLY CONFIDENTIAL AEO
  2    Dershowitz's name, you say Dershovitz
  3    with a V, phonetically, correct?
  4           A.       I'm slightly dyslexic and
  5    I'm terrible with names.                  So it's
  6    known that I've always struggled with
  7    pronunciations, especially because of
  8    my accent as well.
  9           Q.       Do you believe you were
 10    introduced to him as Dershovitz with a
 11    V?
 12           A.       I was introduced to him as
 13    Alan.
 14           Q.       Did you ever hear anyone say
 15    his last name?
 16           A.       Yes.
 17           Q.       Did you hear those people
 18    say it with a V?
 19           A.       I can't recall the exact
 20    pronunciation of the tongue, but the
 21    way my ears hear words -- perhaps you
 22    can contact my university.                  I don't --
 23    I have difficulty with names and I'm
 24    slightly dyslexic, so...
 25                    MS. MENNINGER:            Okay.     Can




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  1                HIGHLY CONFIDENTIAL AEO
  2           you mark this as Defendant's
  3           Exhibit 5.
  4                    (Defendant's Exhibit 5, jury
  5           trial demand, was marked for
  6           identification.)
  7                    MS. MCCAWLEY:          Because I
  8           forget earlier, just for the
  9           record, the plaintiff in the case
 10           is going to mark the deposition
 11           as confidential.
 12                    MS. MENNINGER:            Yes.    I
 13           discussed it with the court
 14           reporter, and I think he already
 15           has, but if not, he will do it.
 16                    MS. MCCAWLEY:          Okay.
 17           Q.       Can you take a look at
 18    Defendant's Exhibit 5.
 19           A.       Yes.
 20           Q.       Have you seen this document
 21    before?
 22           A.       Yes.
 23           Q.       Did you review it before it
 24    was filed?
 25           A.       Yes.




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                                                                  Page 324
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       What do you understand this
  3    document to be?
  4           A.       This is a complaint against
  5    Jeffrey Epstein.
  6           Q.       Anyone else?
  7           A.       Ghislaine Maxwell, Sarah
  8    Kellen, Lesley Groff, Natalya
  9    Malyshev.
 10           Q.       And this is a complaint that
 11    you authorized be filed on your
 12    behalf?
 13           A.       That's correct.
 14           Q.       And at the end of this
 15    complaint, you ask for money to be
 16    awarded to you, correct?
 17           A.       Can you refer me to the
 18    specific page, please?
 19           Q.       Well, do you understand that
 20    you are asking for money to be awarded
 21    to you?
 22           A.       Can you tell me which page
 23    that's on, please.
 24           Q.       I'm just asking your
 25    understanding.




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                                                                  Page 325
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       Nothing's been promised to
  3    me about money.
  4           Q.       Were you seeking money when
  5    you authorized this complaint to be
  6    filed on your behalf?
  7           A.       No.     I just wanted a
  8    pedophile behind bars, really, and for
  9    him to stop abusing young girls.
 10                    Seeing as I'm going to be a
 11    parent myself, I can't really live
 12    with myself, knowing that there's a
 13    pedophile with my kids on the planet.
 14    So as a responsible human being, I
 15    thought that I would come forward.
 16           Q.       So your hope in filing this
 17    lawsuit was not to recover any money?
 18           A.       No.     I want Jeffery and
 19    Ghislaine and all of these people
 20    behind bars so I can then visit them
 21    in jail.
 22           Q.       In paragraph 36 of this,
 23    which is on page 11, can I have you
 24    review that paragraph.
 25           A.       Yep.




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                                                                  Page 326
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Do you know what that
  3    paragraph refers to?
  4           A.       Yes, I do.
  5           Q.       What is the basis for your
  6    statement that "Defendant Malyshev
  7    reported to Defendants Kellen, Groff
  8    and Maxwell, and was paid for her
  9    recruitment of young females,
 10    including the recruitment of
 11    plaintiff"?
 12           A.       She told me face to face, in
 13    person, that she was paid by Jeffrey.
 14                    And Jeffrey also offered to
 15    pay me $5,000 to find him a new
 16    18-year-old model PA to help him with
 17    his multi-billionaire corporation,
 18    because she's that qualified.
 19           Q.       So when you say recruitment
 20    of young females, you're referring to
 21    people who are 18?
 22           A.       Yes.
 23           Q.       And at the time you were in
 24    touch with Ms. Malyshev, you were 22,
 25    correct?




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                                                                  Page 327
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       That's correct.
  3           Q.       Apart from what Ms. Malyshev
  4    told you, do you have any other basis
  5    for knowing that Malyshev reported to
  6    Kellen, Groff and Maxwell and was paid
  7    for her recruitment of young females,
  8    including you?
  9           A.       What she told me.
 10           Q.       Apart from what she told
 11    you, do you have any other basis for
 12    that?
 13           A.       Well, I saw it with my own
 14    eyes.       I was a witness.
 15           Q.       What did you witness?
 16           A.       I witnessed the same thing
 17    all the other girls did, the same
 18    thing I had to do, was go and report
 19    to Sarah Kellen, Lesley Groff and
 20    Ghislaine.
 21                    Ghislaine was the main lady.
 22    Sarah Kellen and Lesley Groff did all
 23    the admin, like booking flights, like
 24    what a normal PA does.
 25                    Do you understand?




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                                                                  Page 328
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Well, did you get paid for
  3    recruitment of young females?
  4           A.       Jeffrey Epstein told me that
  5    he would give me money to find him a
  6    PA for him in South Africa.
  7           Q.       You did not find a PA,
  8    correct?
  9           A.       Absolutely not.
 10           Q.       And you did not get paid for
 11    recruitment of young females, correct?
 12           A.       Absolutely not.
 13           Q.       You say in paragraph 37 that
 14    you were introduced to Epstein by
 15    Malyshev, correct?
 16           A.       Correct.
 17           Q.       And Epstein confirmed to you
 18    that he would use his wealth and
 19    influence to have you admitted into
 20    FIT, correct?
 21           A.       That's correct.
 22           Q.       What did Epstein say to you
 23    to confirm that?            He said, I will use
 24    my wealth and influence to have you
 25    admitted, or some other words?




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                                                                  Page 329
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       I can't remember the exact
  3    conversation, but from the very
  4    beginning Jeffrey and Ghislaine knew
  5    what my intentions were and why I
  6    wanted to stay in New York, which was
  7    to get a degree.
  8           Q.       Did Epstein say something to
  9    you about a similar institute of
 10    higher learning offering a curriculum
 11    of fashion industry training?
 12           A.       No.     I was pretty adamant
 13    that I wanted to go to FIT.                  It's one
 14    of the best fashion schools, so...
 15           Q.       In paragraph 38, you say
 16    Maxwell told you that you would "need
 17    to provide Epstein with body massages
 18    in order to reap the benefits of his
 19    and her connections."
 20                    What did Ms. Maxwell say to
 21    you in regards to giving body massages
 22    in order to reap benefits of her
 23    connections?
 24           A.       Well, the fact that she told
 25    me I had to weigh 52 kilograms in




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                                                                  Page 330
  1                HIGHLY CONFIDENTIAL AEO
  2    order for them to pay for my
  3    education, that was pretty -- that was
  4    one of the conversations that she had
  5    with me.
  6           Q.       Does that have something to
  7    do with body massages?
  8           A.       Can you repeat -- let me
  9    read the question again.
 10                    So I would just like to
 11    clarify, body massages meant sex,
 12    okay?       That's like a key word for sex.
 13    So as soon as you stop having sex with
 14    Jeffrey and his friends and his girls,
 15    you're out, because otherwise there's
 16    no reason for you to be associated
 17    with Jeffrey, because you're just
 18    there to have sex with him, so...
 19           Q.       Can I direct your attention
 20    to the first sentence in paragraph 38,
 21    and can you just explain to me when
 22    that conversation took place.
 23                    MR. GUIRGUIS:          Objection,
 24           form.
 25           A.       First time I met Ghislaine,




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                                                                  Page 331
  1                HIGHLY CONFIDENTIAL AEO
  2    from the very first beginning.
  3           Q.       What did Ghislaine say to
  4    you?
  5           A.       I can't remember the
  6    specific conversation.                But the fact
  7    that she helped me refine my massage
  8    skills to satisfy Jeffrey, I think
  9    it's pretty self-explanatory.
 10           Q.       The one you described
 11    earlier?
 12           A.       The one I described earlier.
 13           Q.       Okay.      In the second
 14    sentence, where it says, "Maxwell and
 15    Epstein also threatened plaintiff that
 16    while they had the ability to advance
 17    her education and career, they also
 18    had the ability to make sure that she
 19    would obtain no formal education or
 20    modeling agency contracts if she
 21    failed to provide the sexual favors
 22    desired by defendant Epstein or abide
 23    by the instructions given her by
 24    defendants Epstein and Maxwell."
 25           A.       Mm-hmm.




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                                                                  Page 332
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       What did Ms. Maxwell say to
  3    you that gave rise to this particular
  4    statement?
  5           A.       Well, the fact that she used
  6    to personally call me herself to give
  7    Jeffrey sexual massages.                  Not body
  8    massages; sexual massages.                  It should
  9    be rephrased.
 10                    I mean, it was pretty
 11    obvious.        I mean, the whole weight
 12    thing.       I tried to swim off the
 13    island.       I tried to escape from an
 14    island during the evening to try and
 15    escape from her because if I didn't
 16    lose weight, they would cut me out of
 17    their -- financially off.                  I would
 18    lose the place that I was staying at.
 19    I would lose my education.                  You name
 20    it.
 21                    They bullied me with
 22    everything, just like they did with
 23    the other girls.
 24           Q.       In paragraph 38, you say,
 25    "Maxwell and Epstein also threatened




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                                                                    Page 333
  1                HIGHLY CONFIDENTIAL AEO
  2    plaintiff."
  3                    What was the threat that was
  4    made to you by Maxwell?
  5                    MS. MCCAWLEY:          Objection,
  6           asked and answered.
  7           A.       The fact that I would lose
  8    everything that they promised me.
  9    They -- they were really naughty.                      You
 10    know, they took girls from very
 11    underprivileged families.                 They gave
 12    them accommodation, they gave them
 13    food, gave them money for
 14    transportation, you know, private
 15    planes, etcetera, etcetera.
 16                    So if I didn't have sex with
 17    Jeffrey, I would be homeless and
 18    starving in New York, so -- and my
 19    dream of getting a full-time education
 20    at one of the top fashion institutes
 21    in the world would be diminished.
 22                    And that's what he held over
 23    my head, exactly like he did with
 24                 and the other girls.              He was
 25    paying for all of their educations.




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                                                                  Page 334
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       How do you know that?
  3           A.       Because they were telling
  4    me.     It was common knowledge amongst
  5    all the girls.           No other girl would be
  6    there willingly just to have sex with
  7    Jeffrey.
  8           Q.       In paragraph 40, you say,
  9    "Maxwell instructed plaintiff how to
 10    massage Epstein using the techniques
 11    that he preferred."
 12           A.       Correct.
 13           Q.       Is that the accident you
 14    described earlier on the island?
 15           A.       There were many times that
 16    she gave me massage techniques to help
 17    refine my techniques.               Jeffrey Epstein
 18    was all about massages and the
 19    techniques.          He liked as many girls
 20    touching him as possible all the time.
 21                    So there was more than one
 22    occasion that Ghislaine showed me how
 23    to massage him.            It could have been on
 24    that specific trip or the other one.
 25                    I'm not quite sure day,




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                                                                  Page 335
  1                HIGHLY CONFIDENTIAL AEO
  2    time, what seat I was sitting in, what
  3    color the seat it is, but she on more
  4    than one occasion showed me how to
  5    massage Jeffrey and how to get out the
  6    extreme knots in his body.                  Because
  7    everyone knows about his knots and how
  8    he likes them to pop and, yeah, the
  9    specific techniques that he likes.
 10           Q.       The next sentence reads,
 11    "During plaintiff's first massage,
 12    defendant Epstein converted it into a
 13    sexual act..." and it goes on.
 14                    Your first massage that
 15    defendant Epstein converted into a
 16    sexual act was prior to you meeting
 17    Ms. Maxwell, correct?
 18           A.       Yes.
 19                    MS. MENNINGER:            I'm going to
 20           show you Defendant's Exhibit 6,
 21           which are some photographs.
 22                    (Defendant's Exhibit 6,
 23           Bates stamped Ransome_000017, was
 24           marked for identification.)
 25           Q.       Do you recognize the




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                                                                  Page 336
  1                HIGHLY CONFIDENTIAL AEO
  2    photographs contained in Defendant's
  3    Exhibit 6?
  4           A.       Yes, I do.
  5           Q.       What are they?
  6           A.       They are photos of Jeffrey's
  7    island and the trip in December.
  8           Q.       Who took those photos?
  9           A.       Jean Luc took these specific
 10    photos.
 11           Q.       And when you were asked to
 12    provide these to us, where did you
 13    locate them?
 14           A.       I had a disk that Jean Luc
 15    had given me as a present and memento
 16    of that holiday.
 17           Q.       Where is that disk now?
 18           A.       In Spain.
 19           Q.       Do you see in the corner
 20    there are some little numbers with
 21    your last name and then some --
 22           A.       Oh, yeah, okay.
 23           Q.       I'm only showing you that so
 24    we can together go through to some.
 25           A.       Okay.




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                                                                  Page 337
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       So if I could ask you to
  3    turn to -- well, the first ones
  4    show --
  5           A.       Sergey, the guy who owns
  6    Google, is kitesurfing.
  7           Q.       Got it.
  8           A.       Yeah, that's Sergey.
  9           Q.       How do you know that that's
 10    Sergey?
 11           A.       Because he came for lunch
 12    that day and Sergey -- Sergey, hi, I'm
 13    Sergey.
 14                    Hi, Sergey.
 15           Q.       Did you have any sexual
 16    relations with Sergey?
 17           A.       No.
 18           Q.       If you could turn to the one
 19    that says RANSOME 22 in the corner.
 20    It's about five or six pages back.
 21           A.       Yes.
 22           Q.       Who is that in the
 23    photograph?
 24           A.       Jean Luc.
 25           Q.       And who is the other person?




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  1                HIGHLY CONFIDENTIAL AEO
  2           A.       That's me.
  3           Q.       And when was this photograph
  4    taken?
  5           A.       This was taken during the
  6    December trip.
  7           Q.       Was there only one trip in
  8    December?
  9           A.       From what I recall, yeah.
 10           Q.       Was that the first trip that
 11    you had taken?
 12           A.       No.
 13           Q.       When was the first trip you
 14    had taken?
 15           A.       I answered that previously,
 16    which was not so long after I met
 17    Jeffrey Epstein for the first time.
 18    So I had been there various times
 19    before these were taken.
 20           Q.       Do you know how many?
 21           A.       Like I said earlier,
 22    several.        I mean, I...
 23           Q.       And can you turn to RANSOME
 24    24?
 25           A.       Mm-hmm.




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                                                                  Page 339
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Who is that?
  3           A.       That's the wonderful Sarah
  4    Kellen.
  5           Q.       Did you take these
  6    photographs?
  7           A.       Jean Luc took these ones.
  8           Q.       All of them?
  9           A.       There were -- I had other
 10    photos as well.
 11           Q.       That came later, a separate
 12    batch?
 13           A.       Yeah, those are the hard
 14    copies.
 15                    MS. MENNINGER:            I will mark
 16           it now, the second batch,
 17           Defendant's Exhibit 7.
 18                    (Defendant's Exhibit 7,
 19           Bates stamped Ransome_000204, was
 20           marked for identification.)
 21                    MS. MENNINGER:            I apologize,
 22           Counsel.       We just got these last
 23           night, so I only have one copy
 24           for the witness.
 25                    MR. GUIRGUIS:          That's fine.




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                                                                  Page 340
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       So is Defendant's Exhibit 7
  3    the second batch that you were
  4    referring to?
  5           A.       Yes.
  6           Q.       Okay.      So I'm just trying to
  7    help be clear.
  8                    Defendant's Exhibit 6, you
  9    believe were all given to you by Jean
 10    Luc on a disk?
 11           A.       Well, there's a lot of
 12    photos here.           So I took some, I had
 13    some hard copies, and they're all
 14    actually all together, so...
 15           Q.       Okay, that's fine.
 16           A.       Yeah.      I don't want to be
 17    unclear on which exhibit is which.
 18    There's hundreds here.
 19           Q.       So the photographs of Sarah
 20    Kellen, you're saying were taken by
 21    Jean Luc, that we were looking at in
 22    RANSOME 24?
 23           A.       Well, I can recheck the disk
 24    and then I can actually tell you
 25    exactly which ones he took, but I




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                                                                  Page 341
  1                HIGHLY CONFIDENTIAL AEO
  2    can't recall every single photo on
  3    Jean Luc's disk.            But there were
  4    multiple photos that were produced
  5    from myself as well.
  6           Q.       Okay.      I will just ask you
  7    about a few.
  8           A.       Okay.
  9           Q.       RANSOME 24 is one that you
 10    said was -- of Sarah Kellen, was one
 11    you said you thought Jean Luc had
 12    taken?
 13           A.       Yes.
 14           Q.       If you could turn to RANSOME
 15    40.     And these are in order, so
 16    hopefully that will be easy.
 17           A.       Okay.      Mm-hmm.
 18           Q.       Who is represented in this
 19    photograph?
 20           A.       That's
 21
 22
 23
              Q.       And where is
       photograph, if you know?
              A.
                                           -
                       This is by the beach.
                                                      in this




 24    There's like -- there's like a small
 25    beach, like there's a beach house on




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                                                                  Page 342
  1                 HIGHLY CONFIDENTIAL AEO
  2    the beachfront.
  3           Q.       Do you know who took this
  4    photograph?
  5           A.       I can't remember.
  6           Q.       Okay.      Turning a couple more
  7    pages to RANSOME 42, who is that?
  8           A.       That's me.
  9           Q.       Are you smoking?
 10           A.       I am.      And that was after
 11    the argument that I had with Jeffrey
 12    about me being on lithium and me not
 13    being able to smoke.               And that was the
 14    reason I was really upset, that I
 15    couldn't smoke and that I was being
 16    put on a stupid diet.
 17                    So Jeffrey -- yeah, Jeffrey
 18    said it was okay for me to smoke.                      I
 19    wasn't allowed to smoke in front of
 20    him.        That was the rule.
 21           Q.       Do you know who took this
 22    photograph?
 23           A.       I don't remember who took
 24    that photograph.
 25           Q.       Is it on the same trip in




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                                                                  Page 343
  1                HIGHLY CONFIDENTIAL AEO
  2    December?
  3           A.       Yes.
  4           Q.       Turning the next page, is
  5    that also you and Jean Luc?
  6           A.       That's correct.
  7           Q.       Do you know who took this
  8    photograph?
  9           A.       I can't remember.
 10           Q.       Was it also in the same time
 11    frame when you were upset?
 12           A.       It was that same December
 13    trip, yes.
 14                    MS. MENNINGER:            We can go
 15           off the record for just a minute.
 16           I think we're swapping out
 17           counsel.
 18                    (Ms. McCawley left the
 19           hearing and Ms. Syed entered.)
 20                    (Time noted:          4:56 p.m.)
 21                    (Recess.)
 22                    (Time noted:          4:56 p.m.)
 23           Q.       Looking at RANSOME 44,
 24    you're saying it's in the same time
 25    period?




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  1                HIGHLY CONFIDENTIAL AEO
  2           A.       Yeah.
  3           Q.       And also true of 45?
  4           A.       Yes.
  5           Q.       And 47?
  6           A.       Yes.     It was the same
  7    holiday, the same trip.
  8           Q.       And do you know who took
  9    these photographs?
 10           A.       I don't remember.
 11           Q.       Is that also true for 48,
 12    49, 50, 51, 52?
 13           A.       I don't remember who took
 14    those photos.
 15           Q.       Okay.      Can you tell from 52
 16    where you were situated on the island?
 17           A.       It was on the beach.
 18           Q.       53, can you tell me who that
 19    is?
 20           A.       That's
 21           Q.       54 and 55, also
 22           A.       That's correct.
 23           Q.       69, who is that?
 24           A.       That's Jeffrey Epstein.
 25           Q.       Do you know who took this




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                                                                  Page 345
  1                HIGHLY CONFIDENTIAL AEO
  2    photograph?
  3           A.       I can't remember who took
  4    this photograph.
  5           Q.       71, is that you?
  6           A.       That's correct.
  7           Q.       Were you posing for the
  8    photograph?
  9           A.       Most people pose for
 10    photographs, every photograph.                    So I
 11    presume I was posing.
 12           Q.       Do you know what Jean Luc's
 13    line of work is?
 14           A.       I think he's with modeling
 15    or something, like a modeling agent.
 16           Q.       Do you know where he's
 17    based?
 18           A.       I have no idea where he's
 19    based.
 20           Q.       Did you meet him more than
 21    once?
 22           A.       I can't remember if I met
 23    him more than once.
 24           Q.       Did you have sexual contact
 25    with him?




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  1                HIGHLY CONFIDENTIAL AEO
  2           A.       No.
  3           Q.       Did you give him a massage?
  4           A.       No.
  5           Q.       Sorry.      Going back a little
  6    bit further to RANSOME 121.
  7           A.       Mm-hmm.
  8           Q.       Who is in that photograph?
  9           A.       That's Nadia and
 10           Q.       Okay.      So Nadia's on the
 11    left?
 12           A.       That's correct.
 13           Q.       And                 on the right?
 14           A.       That's correct.
 15           Q.       Do you know what they're
 16    doing?
 17           A.       I would love to know what
 18    they're doing myself, personally.
 19           Q.       Did you take this
 20    photograph?
 21           A.       I can't remember.
 22           Q.       Turning to 123, do you know
 23    what is happening in that photograph?
 24           A.       I think we were just playing
 25    around.       I don't think it was serious,




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                                                                  Page 347
  1                HIGHLY CONFIDENTIAL AEO
  2    you know.
  3           Q.       Okay.
  4           A.       Just to make that clear.
  5           Q.       Can I have you look at 126.
  6           A.       Yeah.
  7           Q.       Who is in that photograph?
  8           A.       That's                   and
  9           Q.       And                 is in the
 10    background?
 11           A.       That's correct.
 12           Q.       On 127 --
 13           A.       Mm-hmm.
 14           Q.       -- who is in that
 15    photograph?
 16           A.       To the right -- sorry, to
 17    the left it's myself,                          , Nadia
 18
 19
 20
       and then


       trip?
              Q.     -         .
                       Is this on the same December


 21           A.       That's correct.
 22           Q.       When did Jean Luc give you
 23    the disk?
 24           A.       I can't remember when he
 25    gave me the disk.




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                                                                  Page 348
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Do you know if these
  3    photographs are ones that he took?
  4           A.       They were photos that were
  5    taken during our holiday together, and
  6    they were given to me as a memento, as
  7    a present from John Luc.
  8           Q.       In person?
  9           A.       I can't remember.
 10           Q.       Do you recall the tortoise?
 11           A.       I can't remember the
 12    tortoise.
 13           Q.       Apart from                  ,
 14    Nadia and yourself and Jean Luc, do
 15    you remember anyone else being on this
 16    particular trip?
 17           A.       There were -- there were
 18    quite a few people that visited the
 19    island.       I don't remember their names.
 20           Q.       Can I have you look at 138.
 21           A.       Mm-hmm, yeah.
 22           Q.       Do you know who took that
 23    photograph?
 24           A.       I don't know who took that
 25    photograph.




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                                                                  Page 349
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Do you know when it was
  3    taken?
  4           A.       It was taken that December
  5    trip that I took with Ghislaine and
  6    Jeffrey.
  7           Q.       How do you know that?
  8           A.       Because I remember what she
  9    was wearing.          And I was there.             I was
 10    there in person.            Like, I was there.
 11           Q.       So you saw her on the island
 12    wearing those clothes?
 13           A.       I saw her on the island
 14    wearing those clothes.
 15           Q.       Did you see her sitting in
 16    this position while on the island?
 17           A.       I saw her with my own eyes
 18    sitting in this position.                  I was
 19    probably sitting next to her.
 20           Q.       But you don't know if you
 21    took the photograph or someone else?
 22           A.       You know what?            Photos are
 23    photos.       I don't remember if I took
 24    the photo or if someone else took the
 25    photo.




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                                                                   Page 350
  1                HIGHLY CONFIDENTIAL AEO
  2                    All I remember is I was with
  3    Ghislaine on this trip.                I was
  4    probably sitting next to her in this
  5    photo.       I don't know who -- which
  6    specific girl took the photo.
  7           Q.       Do you know if it was a girl
  8    who took the photo?
  9           A.       I have no idea who took the
 10    photo.       I just remember sitting there
 11    and remember being next to Ghislaine
 12    while she was wearing that outfit.                      I
 13    was there during that time frame.
 14           Q.       RANSOME 139, who is that, if
 15    you know?
 16           A.       That is Sarah Kellen after
 17    she had a shower, and she's in
 18    Victoria's Secret pajamas that were
 19    supplied to us.
 20           Q.       They were supplied to you?
 21           A.       Yes.     All of the outfits --
 22    there were clothes that were provided
 23    on the island by Jeffrey Epstein,
 24    which were all Victoria's Secret
 25    clothing:         bikinis, nightwear.




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                                                                    Page 351
  1                 HIGHLY CONFIDENTIAL AEO
  2           Q.       You're talking about the
  3    flannel pajamas?
  4           A.       Yes.
  5           Q.       Page 140, do you know who
  6    took this photograph?
  7           A.       I don't remember taking this
  8    photo, but I remember that very well
  9    because we are doing mosaic on that
 10    table.        We were busy doing a fish.                So
 11    that's what all these are apparatus
 12    are.        We were doing mosaics.
 13                    So I don't remember if I
 14    took that photo, but I remember I was
 15    there, because we were all doing
 16    mosaics.
 17           Q.       142?
 18           A.       Mm-hmm.
 19           Q.       Do you remember who took
 20    that photograph?
 21           A.       I can't remember -- oh, the
 22    BlackBerry.          I can't remember who took
 23    all the photos when I was there.                     You
 24    can see the mosaics that we were doing
 25    together.




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                                                                  Page 352
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Do you still have that
  3    mosaic?
  4           A.       No.     It was on the big table
  5    that she's sitting at, the large
  6    table.       So we actually stuck the
  7    mosaic on the table.
  8           Q.       143, do you know who took
  9    that?
 10           A.       No.     We were all there
 11    together.
 12           Q.       Going through the rest, do
 13    you see any that you know who took the
 14    photo?
 15           A.       No.
 16                    MR. GUIRGUIS:          Take your
 17           time and look at each onem.
 18           Don't just -- take your time.
 19                    Can we take a break for just
 20           a minute.
 21                    (Time noted:          5:06 p.m.)
 22                    (Recess.)
 23                    (Time noted:          5:15 p.m.)
 24           Q.       Did you have a chance to
 25    look through the rest of the




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                                                                  Page 353
  1                HIGHLY CONFIDENTIAL AEO
  2    photographs in Defendant's Exhibit 6?
  3           A.       No, because I took a break,
  4    so I will continue now.
  5           Q.       Sure.
  6           A.       I can't remember who took
  7    these photos.           It was during all the
  8    same trip.
  9           Q.       It was what?
 10           A.       It was during that same
 11    trip.
 12           Q.       Can I have you take a look
 13    at RANSOME 154.            It's one of the last
 14    few of that exhibit.
 15           A.       Yes.
 16           Q.       Do you know where that
 17    photograph was taken?
 18           A.       I can't remember.
 19           Q.       Do you know if you were
 20    there?
 21           A.       I can't remember.
 22           Q.       Does it appear to be inside
 23    of a shop?
 24           A.       It appears that way.
 25           Q.       Do you recall going to any




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                                                                  Page 354
  1                HIGHLY CONFIDENTIAL AEO
  2    shops on that trip?
  3           A.       I went everywhere with
  4    Jeffrey, so...
  5           Q.       Did that include shops?
  6           A.       Yes.
  7           Q.       Do you recall this shop?
  8           A.       There were many shops that I
  9    visited.        I can't recall this specific
 10    shop.
 11           Q.       Do you know who the
 12    gentleman is?
 13           A.       I can't remember his name.
 14           Q.       And by gentleman, I mean the
 15    person on the left.
 16           A.       Thank you for clarifying
 17    that.
 18                    No, I don't recall.              I don't
 19    know who this Jeffrey -- Jeffrey's on
 20    the right.         I don't know the name, I
 21    can't remember the name of this guy.
 22           Q.       Wearing a belt?
 23           A.       Trying on a belt, yeah.
 24           Q.       Okay.      Turning to
 25    Defendant's Exhibit 7.




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                                                                  Page 355
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       Yes.
  3           Q.       Do you recognize these
  4    photographs?
  5           A.       I remember this photograph,
  6    the first one, very well.
  7           Q.       What is it?
  8           A.       It's a box -- it's a box of
  9    condoms that were placed around the
 10    island for the guests to use at their
 11    leisure.
 12           Q.       Where on the island was this
 13    one?
 14           A.       I can't remember.
 15           Q.       Did you take the photograph?
 16           A.       I can't remember.
 17           Q.       Do you have this photograph
 18    at your house now?
 19           A.       I'll have to recheck.               I
 20    can't remember where this photo came
 21    from, if it was either on the disk or
 22    by myself.         But it was -- I recognize
 23    the box.        There were boxes like this
 24    put everywhere.
 25           Q.       Did you have any photographs




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                                                                  Page 356
  1                HIGHLY CONFIDENTIAL AEO
  2    contained on your computer?
  3           A.       No.
  4           Q.       Where were photographs that
  5    you gathered together to produce?
  6           A.       You've got them all there.
  7    I just need to -- all the photos that
  8    I have, you guys have.                So I don't
  9    know.
 10           Q.       Where were they?            Where did
 11    you find them?
 12           A.       My photos?
 13           Q.       Yes.
 14           A.       In my storage.
 15           Q.       Where is that?
 16           A.       It was in England.             It was
 17    in my private box where I keep all my
 18    photos from, you know, when I was a
 19    baby to now, so...
 20           Q.       Is that with your mother?
 21           A.       No, that wasn't with my
 22    mother.
 23           Q.       Where is the storage in
 24    London?
 25           A.       The storage was in Ramsgate.




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                                                                  Page 357
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       And where did it go?
  3           A.       It's now in my current
  4    residency in Spain.
  5           Q.       When you gathered the photos
  6    together and gave them to your lawyer
  7    to give to us, did you gather them in
  8    Spain or in London?
  9           A.       My stuff was in London and I
 10    moved to Barcelona.              I was currently
 11    staying in Barcelona with Peter, and
 12    we were just going to commute between
 13    St. Albans and Barcelona.
 14                    When I came forward, I knew
 15    that I had photos that I had taken and
 16    I knew that I had materials.
 17                    At that same time is --
 18    during that same time, I contacted
 19    Maureen Callahan.             When I contacted
 20    Maureen Callahan, there were people
 21    that were following me in Barcelona,
 22    and I got scared.
 23                    I then contacted my estate
 24    agent.       I got my entire flat packed up
 25    in St. Albans and moved to Spain.                      I




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                                                                  Page 358
  1                HIGHLY CONFIDENTIAL AEO
  2    was too frightened to actually fly
  3    back myself and pack, so I stayed in
  4    Barcelona and a company packed my
  5    things for me and brought them to me.
  6           Q.       Okay.      So they were in St.
  7    Albans.       You had them all packed up
  8    and sent to you in Barcelona, where
  9    you relocated?
 10           A.       That's correct.
 11           Q.       When you were interacting
 12    with Ms. Callahan, did you send her
 13    any photographs?
 14           A.       Sorry, sorry.          Who is
 15    Ms. Callahan?           Sorry.      I'm just really
 16    tired.       I'm really bad with names.
 17    Callahan first name, please.
 18           Q.       Do you know who Ms. Callahan
 19    is?
 20           A.       It's really late, I've had a
 21    really long day, and I've said
 22    numerous times throughout the day that
 23    I am slightly dyslexic and I have
 24    difficulty with names.
 25                    Can you just tell me




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                                                                     Page 359
  1                     HIGHLY CONFIDENTIAL AEO
  2    Ms. Callahan's first name so I can
  3    answer the question, please.
  4            Q.          Is Ms. Callahan the name of
  5    the individual that you said worked
  6    for the New York Post?
  7            A.          Oh, sorry.          Maureen
  8    Callahan, yes.
  9            Q.          Did you send Ms. Callahan
 10    any photographs?
 11            A.          Not of this, no.             Not of
 12    this.
 13            Q.          Did you send her photographs
 14    of something else?
 15            A.          I did.          I sent her a photo
 16    of my ex-boyfriend and myself.
 17            Q.          Who was your ex-boyfriend?
 18
 19
 20
               A.
               Q.
               A.
                          -Who is that?
                              s        e               r ■■■
                                                         f
 21
 22
 23
           s        e             r        f
                                                        -  .

                                                                 ■

 24            Q.          And when was he your
 25    boyfriend?




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                                                                  Page 360
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       In Edinburgh, before I moved
  3    to New York.
  4           Q.       Why did you send
  5    Ms. Callahan a photograph of yourself
  6    and your boyfriend?
  7           A.       Because I wanted to show her
  8    I was telling the truth about
  9    everything.          I didn't want to send a
 10    journalist anything regarding Jeffrey
 11    Epstein because I -- I -- well, I sent
 12
 13
 14
       her a picture of
                                  -
       to show that I was telling my story,
       that my story was straight from the
                                                         and I




 15    beginning, that I know the people I
 16    mentioned, etcetera.               So...
 17
 18
 19
              Q.       So
                            -
       story that you had relayed to
       Ms. Callahan?
                                       figured into the




 20
 21
 22
              A.       Yes, because
                                           -
       had a breakup, and that was one of the
       reasons I moved to New York.
                                                      and I




 23           Q.       Have you had contact with
 24
 25    -      A.
                   since then?
                       Throughout the years on and




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                                                                  Page 361
  1                HIGHLY CONFIDENTIAL AEO
  2    off, but, no, I don't have any contact
  3    with him now.
  4           Q.       Apart from the photograph
  5    with yourself and                         did you send
  6    Ms. Callahan any other documents or
  7    photographs?
  8           A.       I can't remember.
  9           Q.       Did you have contact with
 10    any other media person?
 11           A.       I can't remember.
 12           Q.       Did you meet with anyone
 13    from the Daily Mail?
 14           A.       No.
 15           Q.       From the Mirror?
 16           A.       No.
 17           Q.       Did you speak to anyone from
 18    the Daily Mail?
 19           A.       No.
 20           Q.       Anyone from the Mirror?
 21           A.       No.
 22           Q.       The Independent?
 23           A.       No.
 24           Q.       The Guardian?
 25           A.       No.




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                                                                   Page 362
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       When you got these boxes of
  3    items from St. Albans and you looked
  4    at them while you were in Barcelona;
  5    is that right?
  6           A.       I --
  7                    MR. GUIRGUIS:          Objection.
  8           A.       I looked at them -- I
  9    vaguely went through the photos in St.
 10    Albans.       I knew what was there.                Yeah,
 11    I -- they were there, so I saw them.
 12    I went through my photos, like all my
 13    memorabilia that had been in storage.
 14    But that's about it.
 15           Q.       And you selected photographs
 16    to send to your lawyers to give to us,
 17    correct?
 18           A.       I was asked to -- well I
 19    just provided every -- all the
 20    evidence that I had.
 21           Q.       When did do you that?
 22                    MR. GUIRGUIS:          I'm going to
 23           object.       If you're talking about
 24           a communication between client
 25           and counsel -- is that what




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                                                                  Page 363
  1                HIGHLY CONFIDENTIAL AEO
  2           you're asking for?
  3                    MS. MENNINGER:            No.    I'm
  4           asking when did you provide all
  5           of your evidence, which is what
  6           she said that she had.
  7                    MR. GUIRGUIS:          The photos --
  8           you mean when she provided them
  9           to her counsel?
 10                    MS. MENNINGER:            Yes.
 11           Q.       When did you provide them to
 12    your counsel?
 13                    MR. GUIRGUIS:          Objection.
 14           Do not answer.
 15           Q.       Did you receive a subpoena
 16    in this case?
 17           A.       I don't know what a subpoena
 18    is.
 19                    MS. MENNINGER:            Let's mark
 20           Defendant's Exhibit 8.
 21                    (Defendant's Exhibit 8,
 22           Notice of Service of Rule 45
 23           Subpoena and Notice of Deposition
 24           of Sarah Ransome, was marked for
 25           identification.)




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                                                                     Page 364
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Have you seen this document
  3    before?
  4           A.       Let me just have a look,
  5    okay.       I don't remember.
  6           Q.       Have you ever seen this
  7    document before?
  8                    MR. GUIRGUIS:          Objection,
  9           asked and answered.
 10                    MS. MENNINGER:            I'm sorry.
 11           I didn't hear an answer.
 12           A.       I've seen various papers.                 I
 13    remember specifically seeing the
 14    depositions.          There's been millions of
 15    documents.         I can't remember which
 16    specific documents I've seen.
 17           Q.       Okay.      If I could have you
 18    turn to the last three pages, where it
 19    says "Documents to be Produced."
 20           A.       Mm-hmm.
 21           Q.       Have you seen that list
 22    before?
 23           A.       Yes, I have.
 24           Q.       Did you conduct a search of
 25    your records to produce documents?




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                                                                  Page 365
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       Yes, I believe that I
  3    produced every single document I can.
  4           Q.       After looking at this list,
  5    did you go back and look through your
  6    photographs in Barcelona?
  7           A.       As I said, I looked at
  8    everything I had during that time
  9    frame and I produced everything I can
 10    during that time frame that I was with
 11    Jeffrey.
 12           Q.       Just tell me what you did in
 13    order to make sure you had produced
 14    everything that was called for in this
 15    list.
 16           A.       Okay.      So I went through a
 17    box of about over 5,000 photos that I
 18    had, and I went through every single
 19    photo, every single disk, everything
 20    that I had.
 21                    I went through all my
 22    emails.
 23                    I tried to look for the
 24    BlackBerry sim card, which I had hoped
 25    that I had kept, which had all




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                                                                  Page 366
  1                HIGHLY CONFIDENTIAL AEO
  2    Ghislaine's messages on and Jeffrey's
  3    and Lesley's, and stupidly I misplaced
  4    that, which is really annoying.
  5                    But I myself, you know,
  6    considering my objective is to get
  7    these people and get justice for the
  8    abuse that Ghislaine caused me -- and
  9    Jeffrey -- I have given as sufficient
 10    evidence that I have.
 11           Q.       Did you look for all
 12    photographs taken by you or containing
 13    any image of you at or near any home,
 14    business, private vehicle or any other
 15    property owned or controlled by
 16    Jeffrey Epstein, as indicated in
 17    paragraph 7?
 18           A.       Yes.
 19           Q.       Likewise in paragraph 8, did
 20    you look for any photographs that
 21    depict any home, business, private
 22    vehicle or any other property owned or
 23    controlled by Jeffrey Epstein?
 24           A.       Yes.
 25           Q.       And you did that after




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                                                                  Page 367
  1                HIGHLY CONFIDENTIAL AEO
  2    reviewing this list of documents?
  3           A.       Yeah, I mean, I received the
  4    list and I've complied with
  5    everything.           I have given absolutely
  6    everything that I can to you guys.
  7           Q.       Have you given all of your
  8    passports, travel visas or permissions
  9    to live, work or study in other
 10    country?
 11           A.       I haven't given my current
 12    passports, but I've given everything
 13    that I have; documents, passports that
 14    I had during, commercial plane
 15    tickets.
 16           Q.       Do you have any visas?
 17           A.       I have a visa coming here,
 18    but that's the only visa that I have.
 19           Q.       Do you have any visa
 20    applications?
 21           A.       No.
 22           Q.       Do you have any other plane
 23    tickets or boarding passes for the
 24    period 2006 to 2007?
 25           A.       No.




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                                                                  Page 368
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Turning back to Defendant's
  3    Exhibit 7, these photographs, do you
  4    know what the second photograph
  5    represents?
  6           A.       Yes, that's me playing with
  7    Ghislaine's dog, a Yorkshire Terrier.
  8           Q.       Where are you in this
  9    picture?
 10           A.       I was in the girls' bedroom
 11    where we all slept, and I was on my
 12    bed playing with Ghislaine's dog.
 13           Q.       When was this photograph
 14    taken?
 15           A.       I can't remember.
 16           Q.       Was it the same trip as
 17    Defendant's Exhibit 6?
 18           A.       I can't remember.
 19           Q.       Okay.      Do you know who took
 20    the photograph in 205?
 21           A.       I can't remember.
 22           Q.       206?
 23                    MR. GUIRGUIS:          Objection to
 24           form.
 25           A.       I can't remember.




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                                                                  Page 369
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       207?
  3                    MR. GUIRGUIS:          Objection to
  4           form.
  5           A.       Can't remember.
  6           Q.       Who is depicted in 208?
  7           A.
  8           Q.       And?
  9           A.       Oh, and me.         That's me.
 10           Q.       And 209?
 11           A.       Sorry.      That's me,
 12    Jean Luc, and one of Jeffrey's staff
 13    members in the background.
 14           Q.       Turning to 213, is that you?
 15           A.       Yes, that's me.
 16           Q.       And where are you located?
 17           A.       I'm trying to remember
 18    specifically where that is on the
 19    island.        I think it's near the main
 20    house, there was a -- yeah, there was
 21    a fountain near the main house.
 22           Q.       Do you know whether you took
 23    this?
 24           A.       I don't remember.
 25           Q.       Do you know whether you had




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                                                                  Page 370
  1                HIGHLY CONFIDENTIAL AEO
  2    this photograph on the disk?
  3           A.       I think these were one of my
  4    photos.
  5           Q.       Was it in hard copy, like an
  6    actual print?
  7           A.       I can't remember.            I have to
  8    double check if there are more copies.
  9    But I think -- yeah, I'm pretty sure
 10    this is a hard copy.
 11           Q.       Does it have a back, like
 12    when it was developed or printed?
 13           A.       I can check.
 14           Q.       Is it back in Barcelona?
 15           A.       No.
 16           Q.       Where are these photographs?
 17           A.       I have given all the
 18    photographs to my lawyers.
 19           Q.       Okay.      How did you do that?
 20    By handing them over in person?
 21    Sending them by mail?
 22           A.       Handing them over in person.
 23           Q.       Was this some type of photo
 24    shoot represented in RANSOME 214, 215,
 25    216?




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                                                                  Page 371
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       Sorry.      214, this is not a
  3    photo shoot.          We were just messing
  4    around on the island.
  5           Q.       Do you know who you were
  6    messing around with?
  7           A.       We were all having fun
  8    together.
  9           Q.       Were there photographs of
 10    other people taken around the same
 11    time that you have?
 12           A.       I have given all the photos
 13    that I have.
 14           Q.       In other words, if you were
 15
 16
 17
       messing around with
       time and there's a photo of    - -
       that you have, did you provide that?
                                                 at this




 18           A.       I provided every single
 19    photograph that I have.
 20           Q.       And 218, was that a photo
 21    shoot?
 22           A.       That was me when I was
 23    naked, actually, and I had a towel
 24    around me.         So I think I just had a
 25    massage by Jeffrey, because I was




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                                                                  Page 372
  1                HIGHLY CONFIDENTIAL AEO
  2    naked underneath the towel.
  3           Q.       Also 219 and 220?
  4           A.       Yep.
  5           Q.       Those were just after a
  6    massage?
  7           A.       Yeah.      You can tell I look
  8    really, really happy to be out of
  9    there, so...
 10           Q.       Do you know which trip that
 11    was on?
 12           A.       I can't remember which trip.
 13           Q.       And page RANSOME 221, who is
 14    in that photograph?
 15
 16
 17
              A.       Myself,
                                   -
       and a staff member in the background.
              Q.
                                              and Jean Luc,


                       Do you know what's happening
 18    in 223?
 19           A.       Oh, no.       Yes.     So Jeffrey
 20    provided cosmetics for all the girls.
 21    We had to look our best.                  So that was
 22    a Crème de la Mer facial mask that he
 23    regularly gave to the girls so their
 24    skin was nice.           We had top-line
 25    cosmetics in our bathroom to use at




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                                                                  Page 373
  1                HIGHLY CONFIDENTIAL AEO
  2    our disposal.
  3           Q.       So in 223 and 224 you're
  4    doing a facial mask?
  5           A.       I'm attempting to do a
  6    facial.       It's not going that well.
  7           Q.       And going to 229, do you
  8    know where that was taken?
  9           A.       That was on Jeffrey's
 10    speedboat to -- going to the island.
 11           Q.       Do you know when?
 12           A.       I don't recall which date
 13    that was.
 14           Q.       Did you have any contact
 15    with the mail on Sunday?
 16                    MR. GUIRGUIS:          Objection.
 17           Huh?
 18           Q.       Did you ever have any
 19    contact with the mail on Sunday?
 20           A.       No.
 21                    MR. GUIRGUIS:          You mean the
 22           mail as in postage?             I'm sorry.
 23                    MR. PAGLIUCA:          The
 24           newspaper.
 25           A.       No, no, I haven't had




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                                                                  Page 374
  1                HIGHLY CONFIDENTIAL AEO
  2    correspondence with them, no.
  3           Q.       Apart from Ms. Callahan,
  4    have you had contact with any member
  5    of the press?
  6           A.       Oh, I contacted Bianca
  7    Jagger because she runs a foundation
  8    that helps abused girls.
  9           Q.       Okay.      Did you have any
 10    contact with any other member of the
 11    press?
 12           A.       No.
 13           Q.       When was the last time that
 14    you saw Ghislaine Maxwell?
 15           A.       In New York, before I left
 16    in 2007.
 17           Q.       How long before you left?
 18           A.       I can't remember.
 19           Q.       What time of year was it?
 20           A.       When I left?
 21           Q.       Yes.
 22           A.       It was the end of April.
 23           Q.       How do you know that?
 24           A.       Because I am -- on some of
 25    the emails, I wanted to go home.




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                                                                  Page 375
  1                HIGHLY CONFIDENTIAL AEO
  2    Actually, back to my mom.
  3           Q.       When's the last time you
  4    spoke to Ghislaine Maxwell?
  5           A.       Before I left New York.
  6           Q.       Okay.      Do you know how long
  7    before you left?
  8           A.       I can't remember.
  9           Q.       Tell me what you recall
 10    about the last time you saw Ghislaine
 11    Maxwell.
 12           A.       I can't remember.
 13           Q.       Where it was?
 14           A.       I can't remember my last
 15    interaction with Ghislaine.
 16           Q.       Or the last time you spoke
 17    with her?
 18                    MR. GUIRGUIS:          Objection,
 19           asked and answered.
 20           A.       I can't remember the last
 21    time I spoke to her.               Yeah, I don't
 22    remember the specifics.
 23           Q.       Were you living with Adam at
 24    the time you last spoke to Ghislaine?
 25           A.       Yes.




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                                                                  Page 376
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       What did she say to you when
  3    you last spoke to her --
  4                    MR. GUIRGUIS:          Objection,
  5           asked and answered.
  6           Q.       -- when you were living with
  7    Adam?
  8                    MR. GUIRGUIS:          Objection,
  9           asked and answered.
 10           A.       I can't remember.
 11           Q.       Did you speak to her about
 12    FIT?
 13                    MR. GUIRGUIS:          Objection,
 14           asked and answered.
 15           A.       I had spoken to her numerous
 16    times about FIT.
 17                    MS. MENNINGER:            Counsel,
 18           when did I already ask her, did
 19           you speak to her about FIT.
 20                    MR. GUIRGUIS:          You've asked
 21           her --
 22                    THE WITNESS:          Several times.
 23                    MS. MENNINGER:            I'm not
 24           talking to you.
 25                    MR. GUIRGUIS:          Okay.




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                                                                  Page 377
  1               HIGHLY CONFIDENTIAL AEO
  2                    THE WITNESS:          That was rude.
  3                    MR. GUIRGUIS:          It was, and
  4           I'm not going to answer her
  5           question now.
  6                    You can proceed, Counsel.
  7                    MS. MENNINGER:            When did I
  8           last ask her about --
  9                    MR. GUIRGUIS:          I'm not going
 10           to answer your question.                I'm not
 11           being deposed.           I'm not arguing
 12           objections with you.               You have
 13           asked her about it before; that's
 14           why I made my objection.
 15                    You can proceed with your
 16           questioning whenever you like,
 17           Counsel.
 18                    MS. MENNINGER:            Thank you.
 19                    MR. GUIRGUIS:          Feel free to
 20           search the transcript later.
 21                    MS. MENNINGER:            I would like
 22           to mark as Defendant's Exhibit 8.
 23                    (Defendant's Exhibit 8,
 24           Bates stamped RANSOME_000004, was
 25           marked for identification.)




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                                                                  Page 378
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Do you recognize Defendant's
  3    Exhibit 8?
  4           A.       Yes, I do.
  5           Q.       What is it?
  6           A.       They're emails.
  7           Q.       Did you find these emails
  8    and produce them?
  9           A.       That's correct.
 10           Q.       Where did you find them?
 11           A.       On my old email account that
 12    I had during that time.
 13           Q.       What was your old email
 14    account?
 15           A.
 16           Q.       When did you stop using that
 17    email account?
 18           A.       A guess a year or a few
 19    months after.           I can't recall when I
 20    stopped using it.
 21           Q.       Do you see on the first page
 22    where it says RANSOME 004, there are
 23    two emails in the chain which are
 24    visible?
 25           A.       That's correct.




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                                                                  Page 379
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       And did you produce the
  3    other emails between those two that
  4    are not visible?
  5           A.       Yes.
  6           Q.       When did you do that?
  7           A.       The same time I provided all
  8    the emails originally.
  9           Q.       Okay.      So you believed that
 10    you produced six emails of
 11    conversation between yourself and
 12    Natalya Malyshev?
 13                    MR. GUIRGUIS:          I'm going to
 14           object and just ask for
 15           clarification.
 16                    I'm not trying to give you a
 17           hard time on this one.               When you
 18           say produced, you're asking the
 19           witness if she provided it to her
 20           attorneys, right?            Because
 21           obviously the attorneys produced
 22           the documents in this case.
 23                    MS. MENNINGER:            Correct.
 24                    MR. GUIRGUIS:          So just --
 25           she didn't produce anything,




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                                                                  Page 380
  1                HIGHLY CONFIDENTIAL AEO
  2           obviously.
  3                    So she's asking you did you
  4           collect this email and give it to
  5           the lawyers, I guess is the
  6           question.
  7           A.       Yeah, I collected all --
  8    all -- everything I had, I gave to my
  9    lawyers.
 10           Q.       Okay.      So you believe you
 11    gave six emails between yourself and
 12    Natalya Malyshev to your attorneys?
 13           A.       Yes, I gave all my evidence.
 14           Q.       Okay.      And --
 15                    MR. GUIRGUIS:          I'm going to
 16           object to that last question also
 17           as misrepresenting the testimony.
 18                    MS. MENNINGER:            What was
 19           misrepresenting what testimony?
 20                    MR. GUIRGUIS:          You're saying
 21           that she gave six emails.
 22                    MS. MENNINGER:            Well, let's
 23           go back, then, and get the
 24           testimony right.
 25           Q.       On RANSOME 004, how many




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                                                                  Page 381
  1                HIGHLY CONFIDENTIAL AEO
  2    emails between yourself and Natalya
  3    Malyshev do you see total?
  4                    There's one at 1:04 a.m.,
  5    correct?
  6                    MR. GUIRGUIS:          Counsel,
  7           you're doing the exact thing that
  8           I just tried to avoid confusion
  9           on, right?
 10                    There's a difference between
 11           what was produced to you -- and
 12           apparently and you're saying that
 13           six emails were produced to
 14           you --
 15                    MS. MENNINGER:            No, I was
 16           not saying that.
 17                    MR. GUIRGUIS:          -- which
 18           she's providing to her counsel.
 19                    MS. MENNINGER:            No, I'm not
 20           saying that.         So I'm trying to
 21           get it straight now.
 22           Q.       There's an email indicated
 23    on the first page from Nataly to you
 24    at 1:04 a.m. on February 3rd, 2007,
 25    correct?




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                                                                  Page 382
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       Mm-hmm.       Yes.
  3           Q.       And you can read the text of
  4    that email, correct?
  5           A.       Yes, I can.
  6           Q.       And the next email down says
  7    "Sarah Ransome" at 4:07 -- at 4:01
  8    p.m.
  9           A.       Mm-hmm.
 10           Q.       Can you read that email?
 11           A.       No, because it's on Yahoo.
 12    It's a technological thing.                  You can't
 13    read all emails.
 14           Q.       So did you produce the
 15    February '04, '07, 4:01 p.m. email
 16    from yourself to Nataly Malyshev to
 17    your attorneys?
 18                    MR. GUIRGUIS:          Objection to
 19           the use of the word produce.
 20           A.       I've given all my email
 21    correspondence to my lawyers.
 22           Q.       Did you give that email to
 23    your lawyer?
 24           A.       I've given all my emails to
 25    my lawyers.




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                                                                  Page 383
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Okay.      The next email down
  3    says "Sarah Ransome, February 5, 2007,
  4    at 10:09 p.m."
  5                    Can you read the text of
  6    that email on this document?
  7           A.       Mm-hmm.
  8           Q.       What does the 10:09 p.m.
  9    email say?
 10           A.       As I've specified before,
 11    this is a screenshot, okay, of the
 12    actual Yahoo email.              This is a
 13    screenshot.          So technically I can't
 14    read that anyways, seeing as it's a
 15    screen shot.
 16           Q.       Okay.
 17           A.       This isn't a computer.               I
 18    can't tap into that email on a page
 19    because it's a screen shot.
 20           Q.       Did you give a February 6th,
 21    '07, 2:00 a.m. email between yourself
 22    and Nataly Malyshev to your attorneys?
 23           A.       I have handed all over my
 24    evidence to my attorneys.
 25           Q.       Did you give a February 8,




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                                                                  Page 384
  1                HIGHLY CONFIDENTIAL AEO
  2    2007, 9:12 p.m. email from yourself to
  3    Nataly Malyshev to your attorneys?
  4           A.       I have given all my evidence
  5    to my attorneys.
  6                    MS. MENNINGER:            I'm going to
  7           show you Defendant's Exhibit 10.
  8                    (Defendant's Exhibit 10,
  9           Bates stamped RANSOME_000006, was
 10           marked for identification.)
 11           Q.       Do you recognize Defendant's
 12    Exhibit 10?
 13           A.       Yes.
 14           Q.       What is it?
 15           A.       It's an email correspondence
 16    between Lesley Groff and myself.
 17           Q.       On the second page, RANSOME
 18    0008, do you see other emails with
 19    headings but no text visible in the
 20    screenshot?
 21           A.       Mm-hmm.
 22           Q.       Did you give each one of
 23    those emails to your attorneys?
 24           A.       I have given all my
 25    correspondence to my attorneys.




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                                                                  Page 385
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Do you see in the "Smart
  3    View" column on the left side a folder
  4    named "Pumla Griszell"?
  5           A.       Yes, I do.
  6           Q.       Does that folder contain
  7    your correspondence with Pumla
  8    Griszell?
  9           A.       I didn't even know that
 10    folder was there, but I presume so,
 11    which is why I would have created it
 12    in the first place.
 13           Q.       And it also shows a
 14    substantial number of documents in
 15    your Inbox.
 16           A.       Yes.
 17           Q.       Did you search your Inbox
 18    for documents responsive to the
 19    subpoena that I showed you a little
 20    while ago?
 21           A.       I did.      I wanted to be
 22    thorough with my research, so I,
 23    during that time frame, went through
 24    every single email.
 25           Q.       You went through each one?




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                                                                  Page 386
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       I went through all of my
  3    emails to make sure I gave all my
  4    evidence to my lawyers.
  5           Q.       Did you search for keywords
  6    or did you just read each email?
  7           A.       I read each email.
  8           Q.       And did you print out each
  9    email?
 10           A.       I didn't print out.              I saved
 11    them to a USB stick.
 12           Q.       All of them or just the ones
 13    that you thought were needed?
 14           A.       Just the ones that were
 15    for -- just anything related to
 16    Jeffrey, I sent over.
 17           Q.       And I think you testified
 18    earlier you believe you still have
 19    your FIT application in an email?
 20           A.       I haven't read it.             I'm
 21    assuming I have it.
 22                    MS. MENNINGER:            I want to
 23           show you Defendant's Exhibit 11.
 24                    (Defendant's Exhibit 11,
 25           Maureen Callahan article, was




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                                                                     Page 387
  1                HIGHLY CONFIDENTIAL AEO
  2           marked for identification.)
  3           A.       Oh, it's 9th of October,
  4    sorry.
  5           Q.       Do you recognize this
  6    document?
  7           A.       Let me go to the last
  8    sentence.         That catchphrase that I
  9    mentioned earlier, as I said earlier,
 10    I couldn't remember the contents of
 11    the article earlier.               I do apologize,
 12    I got the date wrong from the 16th.
 13    It was actually the 9th of October.                       I
 14    couldn't remember the specific date.
 15                    I remember the specific
 16    statement that really struck a chord
 17    with me, which was, "The true number
 18    of Epstein's victims will never be
 19    known."
 20           Q.       So you believe this is the
 21    document by Maureen Callahan that you
 22    read last October that caused you to
 23    come forward?
 24           A.       I'm presuming so, because
 25    I've gone straight to the bank, and




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                                                                  Page 388
  1                HIGHLY CONFIDENTIAL AEO
  2    the sentence that I told you that I
  3    remembered is this.              So I'm assuming,
  4    yes, that it's the same.
  5           Q.       And this article had a big
  6    impact on you because it caused you to
  7    come forward, I think you testified
  8    earlier; is that correct?
  9           A.       That's correct.
 10           Q.       All right.         Do you also see
 11    on that last page, just right where
 12    you were, there's a little box on the
 13    left hand side.            Can you read that out
 14    loud, beginning "Today Jeffrey
 15    Epstein..."
 16                    Do you see that in bold
 17    letters on that last page?
 18           A.       Oh.
 19           Q.       Can you just read that
 20    sentence to us?
 21           A.       "Today Jeffrey Epstein is a
 22    free man, albeit one who routinely has
 23    civil lawsuits brought against him by
 24    young women out of court."
 25                    MS. MENNINGER:            Okay.




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                                                                  Page 389
  1                HIGHLY CONFIDENTIAL AEO
  2           Defendant's Exhibit 12.
  3                    (Defendant's Exhibit 12,
  4           website printout titled How to
  5           Apply, was marked for
  6           identification.)
  7           Q.       Do you recognize this
  8    document?
  9           A.       I've seen it before, yes.
 10           Q.       And what do you recognize it
 11    be?
 12           A.       It's the application how you
 13    apply to FIT.
 14           Q.       It talks about students
 15    applying to different parts of the
 16    school, including arts and design or
 17    business and technology.
 18                    Do you recall if you were
 19    applying to a particular area at FIT
 20    or a general admission?
 21           A.       I wanted to specialize in
 22    fashion designing.
 23           Q.       Do you know if that was a
 24    special area?
 25           A.       Yes, it was.          FIT's the




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                                                                     Page 390
  1                HIGHLY CONFIDENTIAL AEO
  2    financial -- fashion school, so yeah.
  3           Q.       Did you visit the building
  4    where FIT is located?
  5           A.       Yes, I did.
  6           Q.       Did you attend classes
  7    there?
  8           A.       No.
  9           Q.       I mean did you visit a
 10    class.       I know you didn't enroll, but
 11    did you visit a class?
 12           A.       No, I didn't.          But I went to
 13    the university, had a look around.
 14           Q.       Did you take a tour?
 15           A.       Not per se.         I mean, I went
 16    around, I looked at the university.                       I
 17    didn't go on a big personalized tour
 18    with a specific person, no.
 19           Q.       Did you talk to any of the
 20    teachers there?
 21           A.       No, I didn't.
 22           Q.       Do you recall there being
 23    multiple steps for applications to
 24    FIT?
 25           A.       There's multiple steps on




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                                                                  Page 391
  1                HIGHLY CONFIDENTIAL AEO
  2    any college application form.
  3           Q.       Do you remember what those
  4    steps were when you were applying?
  5           A.       No.
  6           Q.       Do you remember an original
  7    application which had details?
  8           A.       I can't remember the
  9    original application form, no.
 10           Q.       Do you remember there being
 11    a separate essay portion?
 12           A.       Yes, I do remember that.
 13           Q.       Do you remember a separate
 14    portion that relates to students who
 15    are applying who are not U.S.
 16    citizens?
 17           A.       I can't remember that.               I
 18    can't remember the specific form.
 19           Q.       Do you remember filling out
 20    any special paperwork for someone who
 21    was applying who was not a U.S.
 22    citizen?
 23           A.       No, there was no paperwork
 24    as such for that.             Jeffrey Epstein was
 25    sorting that out for me with his




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                                                                  Page 392
  1                HIGHLY CONFIDENTIAL AEO
  2    connections at FIT.
  3           Q.       So you don't believe you
  4    filled that part out?
  5                    MR. GUIRGUIS:          Objection.
  6           A.       I said I can't remember
  7    filling that part out.
  8           Q.       Do you remember getting a
  9    copy of your transcript from Queen
 10    Margaret University?
 11           A.       I haven't got my transcripts
 12    yet, but I can get them.
 13           Q.       Do you remember submitting
 14    them to FIT?
 15           A.       I can't remember.
 16           Q.       Did you get a degree from a
 17    school in Edinburgh, high school?
 18           A.       So I finished all my high
 19    school qualification, which, you know,
 20    my grades were good enough to get into
 21    psychology and sociology in Edinburgh.
 22           Q.       What was the name of your
 23    high school?
 24           A.       Grantown Grammar School.
 25           Q.       Did you get a transcript




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                                                                  Page 393
  1                HIGHLY CONFIDENTIAL AEO
  2    from that school to provide to FIT?
  3           A.       I think I was in the process
  4    of getting my transcripts from Queen
  5    Margaret.         I did have a copy of my
  6    high school grades as well.                  When you
  7    fill out an application, you submit
  8    all your grades, high school.
  9           Q.       And that's the one in
 10    Scotland?
 11           A.       Yes, that's correct.
 12                    MS. MENNINGER:            I think I've
 13           only got a couple more questions,
 14           but I got my piles messed up.
 15           Can we take a two-minute break
 16           and I can get organized and
 17           finished.
 18                    (Time noted:          5:54 p.m.)
 19                    (Recess.)
 20                    (Time noted:          6:07 p.m.)
 21                    MS. MENNINGER:            I'm going to
 22           mark a new exhibit Defendant's
 23           Exhibit 13.
 24                    (Defendant's Exhibit 13,
 25           Bates stamped RANSOME_000007 was




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                                                                  Page 394
  1                HIGHLY CONFIDENTIAL AEO
  2           marked for identification.)
  3           Q.       Do you recognize this
  4    document?
  5           A.       Yes, I do.
  6           Q.       What is it?
  7           A.       It was an email sent to my
  8    friend Pam.
  9           Q.       Is that different than Pam
 10    that you were with on the island?
 11           A.       I was never with Pam on the
 12    island.       It was                .
 13           Q.       Do you remember testifying
 14    about someone named Pam?
 15           A.       Pam was my friend in New
 16    York.
 17           Q.       Is that the same person you
 18    were writing here, or is that a
 19    different person?
 20           A.       It's the same person; it's
 21    just I called her Pam.                  It's a South
 22    African name.           She's South African.
 23           Q.       How did you know Pam?
 24           A.       I met her in New York.
 25           Q.       Do you know whether you paid




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                                                                  Page 395
  1                HIGHLY CONFIDENTIAL AEO
  2    for your plane ticket to come back to
  3    New York from South Africa in February
  4    of '07?
  5           A.       I didn't pay for my ticket.
  6           Q.       You did not?
  7           A.       No.
  8           Q.       Do you see in your email
  9    exchange in Defendant's Exhibit 13
 10    that you wrote to Pam on February 8th
 11    of '07, "Not going to Miami anymore,
 12    clearly, and have to pay for me flight
 13    back."
 14                    It's in the second paragraph
 15    towards the bottom.
 16           A.       Mm-hmm.
 17           Q.       Did you write that?
 18           A.       Yes.
 19           Q.       But you did not, in fact,
 20    pay for your flight back?
 21           A.       No.
 22           Q.       Do you know what you meant
 23    by "Not going to Miami anymore,
 24    clearly..."?
 25           A.       I can't remember what that




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                                                                  Page 396
  1                HIGHLY CONFIDENTIAL AEO
  2    whole Miami thing was about.                   It never
  3    came about, so I can't remember the
  4    specific details on Miami.                  But it was
  5    via Jeffrey Epstein.
  6           Q.       Okay.      How did it happen
  7    that you were writing, "I'm going to
  8    have to pay for me flight back," but
  9    you did not, in fact, pay for your
 10    flight back?
 11           A.       Because Jeffrey Epstein and
 12    I had a fight about my weight.                    So
 13    that was probably during the argument,
 14    the time frame that I had the argument
 15    with Jeffrey.           He said that he refused
 16    to pay for my flight back if I didn't
 17    get down to 52 kilograms.
 18           Q.       And how did it come about
 19    that you did not pay for your flight
 20    back?
 21           A.       I carried on losing weight
 22    to try and get to the goal that
 23    Jeffrey and Ghislaine had set for me,
 24    which is 52 kilograms.
 25           Q.       How does that relate to




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                                                                  Page 397
  1                HIGHLY CONFIDENTIAL AEO
  2    payment for a flight?
  3                    MR. GUIRGUIS:          Objection.
  4           A.       Well, I didn't pay for that
  5    flight because Jeffrey was financing
  6    me, so I wouldn't have had the money
  7    to pay for my own flight back.
  8           Q.       But you said you were "going
  9    to have to pay for my flight back,"
 10    right?
 11           A.       That's correct.
 12           Q.       And then what changed?
 13                    MR. GUIRGUIS:          Objection,
 14           asked and answered.
 15           A.       I made up with Jeffrey.                I
 16    tried to meet my target weight of
 17    52 kilograms.
 18           Q.       And how did you make up with
 19    him?
 20           A.       I can't remember if it was
 21    telephone call or email or message,
 22    but there were various phone calls
 23    that were made to my family home from
 24    Ghislaine and Jeffrey during that time
 25    frame.




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                                                                  Page 398
  1                HIGHLY CONFIDENTIAL AEO
  2                    It was a very delicate time
  3    because my family were up in arms the
  4    fact I was told to be 52 kilograms,
  5    which is not -- it can't be achievable
  6    with my body frame, and they saw me
  7    getting very ill.
  8                    And I didn't have the funds
  9    to buy a flight back, so I had to do
 10    what Ghislaine and Jeffrey told me do.
 11           Q.       What did you do?
 12           A.       Continue to lose weight.
 13           Q.       Did you see any medical
 14    professionals while you were in South
 15    Africa?
 16           A.       No.
 17           Q.       How did you communicate to
 18    Jeffrey that you had decided to
 19    continue losing weight?
 20           A.       So Jeffrey, Ghislaine,
 21    again, we all corresponded by
 22    telephonic call, BBM, message, my
 23    house phone.          I decided to lose
 24    weight.       I was given an ultimatum that
 25    either I do it or I'm finished.                     At




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                                                                  Page 399
  1                HIGHLY CONFIDENTIAL AEO
  2    that point I had no option.
  3           Q.       If you wanted the flight
  4    back.
  5           A.       If I wanted the flight back.
  6    I had all my stuff in New York, I had
  7    my life in New York, I was going to
  8    FIT.
  9                    I didn't have any finances;
 10    Jeffrey was funding me.                So I was
 11    stuck.       I either had to do what
 12    Ghislaine and Jeffrey told me do or I
 13    was stuck, really.
 14           Q.       You were stuck at your
 15    father and stepmother's house in South
 16    Africa, where you grew up?
 17           A.       I didn't grow up with my
 18    father and my stepmother.
 19           Q.       You grew up in South Africa?
 20           A.       I grew up in Johannesburg.
 21           Q.       When you say you were stuck,
 22    you're describing a time you were in
 23    South Africa?
 24           A.       I'm describing a time I was
 25    on holiday visiting my family, that




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                                                                  Page 400
  1                HIGHLY CONFIDENTIAL AEO
  2    Jeffrey paid for.
  3           Q.       Okay.      Did you finish your
  4    answer?
  5           A.       Sorry, I just read here.
  6    I'm describing a time that I was on
  7    holiday visiting my family, that was
  8    paid for by Jeffrey and Ghislaine.
  9    They financed my ticket.                  They
 10    financed every ticket.                They financed
 11    my whole lifestyle.
 12           Q.       Ghislaine financed your
 13    ticket?
 14           A.       Well, they were one entity.
 15    Ghislaine is Jeffrey's right-hand
 16    woman.       They --
 17           Q.       When did Ghislaine finance
 18    this ticket?
 19           A.       It was through Jeffrey's
 20    company that she worked with.
 21           Q.       Did you correspond by email
 22    with Ghislaine about financing this
 23    ticket?
 24           A.       No.
 25           Q.       You searched for emails with




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                                                                  Page 401
  1                HIGHLY CONFIDENTIAL AEO
  2    yourself and Ghislaine, correct?
  3           A.       That's correct.
  4           Q.       And you found none, correct?
  5           A.       That's correct.
  6           Q.       You found emails between
  7    yourself and Lesley Groff about the
  8    plane ticket back, correct?
  9           A.       That's correct.
 10           Q.       But none with Ghislaine?
 11           A.       I never said once today that
 12    I had email communication with
 13    Ghislaine.
 14           Q.       But you just said that
 15    Ghislaine financed your holiday in
 16    South Africa.           And what is your basis
 17    for saying that?
 18                    MR. GUIRGUIS:          Objection.
 19           She did not say that Ghislaine
 20           financed it.
 21           Q.       What is your basis for
 22    referring to Ghislaine financing your
 23    holiday in South Africa?
 24                    MR. GUIRGUIS:          Objection.
 25           A.       So Ghislaine is Jeffrey's




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                                                                  Page 402
  1                HIGHLY CONFIDENTIAL AEO
  2    right-hand man, so she -- so we report
  3    to her.       I told them I wanted to go
  4    and see my family.              They paid for my
  5    flight.
  6           Q.       You told them when they were
  7    together in the same place?
  8           A.       I can't remember the
  9    specific location.              I just wanted to
 10    go on holiday to see my family, which
 11    Ghislaine and Jeffrey paid for.
 12           Q.       How did Ghislaine pay for
 13    it?
 14           A.       I don't know.          You should
 15    ask Ghislaine.
 16           Q.       Did she write a check?
 17           A.       You should ask Ghislaine.
 18           Q.       Did she put it on a credit
 19    card?
 20                    MR. GUIRGUIS:          Objection.
 21           A.       You should ask Ghislaine.
 22           Q.       Do you have any idea how
 23    Ghislaine Maxwell paid for your trip
 24    to South Africa?
 25                    MR. GUIRGUIS:          Objection.




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                                                                  Page 403
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       You should ask Ghislaine.
  3           Q.       Is that an answer?
  4                    MR. GUIRGUIS:          Objection.
  5           Q.       Do you have an answer?
  6                    MR. GUIRGUIS:          Objection.
  7           A.       You should ask Ghislaine how
  8    she funded my ticket.
  9           Q.       I appreciate the tip.
 10                    Do you have any information
 11    inside of your head about how
 12    Ghislaine financed your trip to South
 13    Africa?
 14                    MR. GUIRGUIS:          Counsel, she
 15           has repeatedly stated that she
 16           does not know.           You keep asking
 17           her the same question.
 18                    MS. MENNINGER:            No, she has
 19           repeated to he me that she
 20           needed -- I needed to ask my
 21           client.
 22                    MR. GUIRGUIS:          Hold on.
 23                    "QUESTION:         Ghislaine funded
 24           your ticket?
 25                    "ANSWER:        Well, she was his




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                                                                  Page 404
  1                HIGHLY CONFIDENTIAL AEO
  2           right-hand...
  3                    "QUESTION:         When did
  4           Ghislaine finance this ticket?
  5                    "ANSWER:        Well, it was
  6           through Jeffrey's company that
  7           she worked with."
  8                    Are you asking a different
  9           question, Counsel?             Am I
 10           misunderstanding?
 11                    MS. MENNINGER:            Yeah, you
 12           are.
 13                    MR. GUIRGUIS:          Please.
 14                    MS. MENNINGER:            Can you read
 15           the question that I asked.
 16                    (Requested portion of the
 17           record was read back.)
 18           A.       In my head, I can't remember
 19    how she financed, how she and Jeffrey
 20    financed.
 21           Q.       Did you see any invoice paid
 22    by Ghislaine for your ticket?
 23           A.       No.     But a ticket was
 24    produced which enabled me to fly back
 25    to my family, so a ticket was produced




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                                                                  Page 405
  1                HIGHLY CONFIDENTIAL AEO
  2    by Ghislaine and Jeffrey in order for
  3    me to fly home to see my family.
  4           Q.       How did Ghislaine produce a
  5    ticket to you?
  6           A.       I can't remember.
  7           Q.       Did it come by email?
  8                    MR. GUIRGUIS:          Objection.
  9           A.       I've provided all the emails
 10    that I have.
 11           Q.       That's not the question.
 12                    Did the ticket get produced
 13    to you by Ghislaine by email?
 14                    MR. GUIRGUIS:          Objection.
 15           A.       No.
 16           Q.       Did it get sent by a courier
 17    to you from Ghislaine?
 18                    MR. GUIRGUIS:          Objection.
 19           A.       I can't remember how I
 20    received the ticket specifically.
 21           Q.       Your final line to Pam is,
 22    "You must save some partying energy
 23    for me when I come back.                  Lots of
 24    love, Sarah."
 25                    Correct?




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                                                                  Page 406
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       Mm-hmm.
  3           Q.       Is that right?
  4           A.       Mm-hmm.
  5           Q.       In the first paragraph, do
  6    you advise Sarah, "Still very loved
  7    up, so much so that he asked me to
  8    move in with him and I accepted.                     All
  9    good," exclamation point, exclamation
 10    point, exclamation point -- well,
 11    about eight of them, or ten.
 12           A.       Mm-hmm.
 13           Q.       Is that what you wrote?
 14           A.       Yes, that's what you wrote.
 15           Q.       Is that true?
 16           A.       Yes.
 17           Q.       Looking back at Defendant's
 18    Exhibit 8, which you testified earlier
 19    were your communications with Nataly
 20    Malyshev, or some of them --
 21           A.       That's Exhibit 9.
 22                    MR. GUIRGUIS:          We seem to be
 23           missing Exhibit 8 from the stack.
 24                    MS. MENNINGER:            I checked it
 25           during the break.




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                                                                  Page 407
  1                HIGHLY CONFIDENTIAL AEO
  2                    MR. GUIRGUIS:          It's just out
  3           of order.
  4                    THE WITNESS:          Is this
  5           Defendant's Exhibit 8?
  6                    MS. MENNINGER:            Eight.
  7                    THE WITNESS:          Is this
  8           Exhibit 8?
  9                    MR. GUIRGUIS:          Yes, it is.
 10           Q.       So the emails with Malyshev.
 11    Maybe I wrote it down wrong.                   I
 12    apologize.
 13                    MR. GUIRGUIS:          With who?
 14           I'm sorry?
 15                    MS. MENNINGER:            Nataly --
 16                    THE WITNESS:          That was
 17           Exhibit -- oh, gosh.               This is
 18           Exhibit 9 between Natalya and
 19           myself.
 20           Q.       Okay.      And it's got RANSOME
 21    0004 and 0005; is that right?                      Just
 22    making sure we're looking at the same
 23    thing.       On the lower right-hand
 24    corner.
 25           A.       Yes, 000004.




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                                                                   Page 408
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       All right.         Those are emails
  3    that you and Nataly exchanged in
  4    February of 2007, correct?
  5           A.       That's correct.
  6           Q.       And can you read to us the
  7    email at the bottom from you to Nataly
  8    on February 8, 2007.
  9           A.       "Hey sweetie, how are you?
 10    I'm busy writing my essay for FIT.
 11    What fun.         I had a bit of a fight with
 12    Jeffrey.        Oh, well, what can you do.
 13    I meant to ask in my last email can
 14    you please email me your address.                      It
 15    looks like I'm not going to Miami
 16    either.       Well, at least I will be back
 17    in NY.       Hope you are well and look
 18    forward to seeing you soon.                  Please
 19    tell Jennifer I say hi.                Lots of hugs
 20    and kisses, Sarah."
 21           Q.       Were you writing your FIT
 22    essay in February 2007 while you were
 23    in South Africa?
 24           A.       Yeah.      It took me quite some
 25    time writing my essay, so it was over




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                                                                  Page 409
  1                HIGHLY CONFIDENTIAL AEO
  2    a duration of...
  3           Q.       Did you email your essay
  4    from South Africa to Ghislaine
  5    Maxwell?
  6           A.       I don't recall emailing her.
  7           Q.       Defendant's Exhibit 10, I
  8    think it is, with Lesley Groff?
  9           A.       Yes.
 10                    MR. GUIRGUIS:          Hold on a
 11           second.       Let me just find my
 12           copy.
 13           Q.       And I show RANSOME 006 is
 14    the first one in the lower right-hand
 15    corner.
 16           A.       Yes.
 17           Q.       So did you correspond with
 18    Lesley about faxing your FIT
 19    application in to her on or about
 20    February 8, 2007?
 21           A.       Yes.
 22           Q.       Did you also ask her to look
 23    into booking a flight for you back to
 24    New York?
 25           A.       That's correct.




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  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Did you give her the date
  3    you wanted to fly back?
  4           A.       That's correct.
  5           Q.       And the next email down, did
  6    you say, "Hi, can you please phone
  7    back?"
  8           A.       Mm-hmm.
  9           Q.       Was that to Lesley or to
 10    Jeffrey?
 11           A.       I can't remember who it was
 12    to.     Jeffrey never corresponded
 13    directly; he either did it through
 14    Lesley Groff or -- so I can't remember
 15    who phoned me back.
 16           Q.       Can you turn two pages back
 17    to where it says RANSOME_0009.
 18                    Do you see those emails?
 19           A.       Mm-hmm.
 20                    MR. GUIRGUIS:          Read the
 21           emails, don't just...
 22           Q.       Did Lesley ask what type of
 23    visa you were coming on, student or
 24    tourist?
 25                    MR. GUIRGUIS:          Hold on,




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                                                                  Page 411
  1                HIGHLY CONFIDENTIAL AEO
  2           Counsel.
  3                    Are you through with it?
  4                    THE WITNESS:          Sorry, I
  5           haven't finished reading yet.
  6           Q.       Did Lesley ask what type of
  7    visa you were coming on, student or
  8    tourist?
  9           A.       That's correct.
 10           Q.       And what was your response?
 11           A.       I can't remember what my
 12    response was.
 13           Q.       Is it visible in this
 14    exhibit?
 15           A.       No.
 16           Q.       All right.         You said you
 17    left New York in late April --
 18           A.       That's correct.
 19           Q.       -- 2007?
 20                    Did you find any records
 21    reflecting that departure when you
 22    were going through all of your emails
 23    and your other documents?
 24           A.       No.
 25           Q.       When was the last time you




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                                                                  Page 412
  1                HIGHLY CONFIDENTIAL AEO
  2    saw Jeffrey Epstein?
  3           A.       April 2007.
  4           Q.       Where did you see him last?
  5           A.       In New York.
  6           Q.       Where in New York?
  7           A.       I can't remember where I
  8    last saw him.
  9           Q.       Do you remember what
 10    happened the last time you saw him?
 11           A.       No, I can't remember what
 12    happened.
 13           Q.       Do you know whether he gave
 14    you any money the last time you saw
 15    him?
 16           A.       No, he didn't give me money.
 17           Q.       Do you know if you talked
 18    about FIT the last time you saw him?
 19           A.       I didn't really want
 20    anything do with Jeffrey and Ghislaine
 21    at that stage.           So at that point I did
 22    not talk about FIT anymore with them.
 23    I just wanted to go back home to my
 24    mom.
 25           Q.       And this is when you were




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                                                                  Page 413
  1                HIGHLY CONFIDENTIAL AEO
  2    living with Adam?
  3           A.       Yes.
  4           Q.       When did you decide you
  5    didn't want to have anything to do
  6    with Jeffrey Epstein?
  7           A.       After my trip to South
  8    Africa, my relationship deteriorated
  9    with Jeffrey and Ghislaine.                  So I
 10    didn't really want to be here anymore.
 11           Q.       When did you make that
 12    decision?
 13           A.       I was kind of toying with
 14    the idea of going back.                I was in a
 15    bit of a mess after what I had been
 16    through with Ghislaine and Jeffrey,
 17    so -- yeah.
 18           Q.       And who purchased your plane
 19    ticket to London?
 20           A.       I think it was my mom.               I
 21    can't remember.
 22           Q.       Were you still taking the
 23    medications at the time you went back?
 24           A.       Yes.
 25           Q.       And you returned from South




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                                                                  Page 414
  1                HIGHLY CONFIDENTIAL AEO
  2    Africa in February 2007, correct?
  3           A.       That's correct.
  4           Q.       And that's when you made the
  5    decision to break with Jeffrey by
  6    moving in with Adam, correct?
  7           A.       I wanted to distance myself
  8    from Jeffrey.           Things weren't great.
  9    What he was doing was wrong and what
 10    he was doing to me was wrong, and I
 11    got pretty depressed about it.                    I was
 12    in -- I was stuck in a dark hallway.
 13    I was basically being abused by a man,
 14    and I -- I didn't -- I didn't know
 15    what to do, where to go.
 16           Q.       Did you have a bank account
 17    in New York?
 18           A.       Yes, I did.
 19           Q.       With which bank?
 20                    MR. GUIRGUIS:          Objection.
 21           Same objection I gave at the
 22           beginning, financial information
 23           for a nonparty witness.
 24                    MS. MENNINGER:            The name of
 25           the bank.        The name of the bank.




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                                                                  Page 415
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Let me ask you this:              What
  3    did you do with the cash you received
  4    from Jeffrey Epstein?               Did you put it
  5    in the bank?
  6           A.       No.     I spent it on food,
  7    cabs.       General expenses.
  8           Q.       Where did you get the money
  9    that you put into the bank?
 10           A.       From the occasional modeling
 11    job that I got, freelance modeling.
 12           Q.       Were you still modeling in
 13    the spring of 2007?
 14           A.       No.
 15                    MR. GUIRGUIS:          Off the
 16           record.
 17                    (An off-the-record
 18           discussion was held.)
 19                    MR. GUIRGUIS:          Back on the
 20           record.
 21                    MS. MENNINGER:            I think if
 22           you can just give my co-counsel
 23           and I a minute off the record.
 24                    (Time noted:          6:28 p.m.)
 25                    (Recess.)




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                                                                  Page 416
  1                HIGHLY CONFIDENTIAL AEO
  2                    (Time noted:          6:29 p.m.)
  3           Q.       In February of 2007, you
  4    decided to make a break with Jeffrey
  5    Epstein, correct?
  6           A.       No, I didn't decide to make
  7    a break with Jeffrey Epstein.                    He let
  8    me down with my FIT application and he
  9    wasn't taking me seriously, and he
 10    wasn't following through his end of
 11    the deal, basically.
 12           Q.       How did he let you down with
 13    your FIT application?
 14           A.       Because I didn't go to FIT.
 15           Q.       And why didn't you go to
 16    FIT?
 17           A.       Because I wanted to go home
 18    back to my mom.
 19           Q.       When did you decide that he
 20    let you down with the FIT application?
 21           A.       Well, I think it was pretty
 22    much after that incident with Alan and
 23    the fact that I had been sexually
 24    abused for months on end by Jeffrey, I
 25    kind of wanted to call it time with




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                                                                  Page 417
  1                HIGHLY CONFIDENTIAL AEO
  2    him.
  3                    I saw how he was acting with
  4    the other girls.             I saw how they got
  5    pretty mentally messed up as well; for
  6    example,                 .    So...
  7           Q.       And you saw that before you
  8    went to South Africa?
  9           A.       Yes.
 10           Q.       And while you were in South
 11    Africa, you got in a fight with
 12    Jeffrey.
 13           A.       That's correct.
 14           Q.       And you didn't want to lose
 15    this weight, correct?
 16           A.       I didn't want to lose this
 17    weight because I would be dead if I
 18    weighed 52 kilograms.
 19           Q.       You didn't want to lose the
 20    weight in South Africa, correct?
 21           A.       I wanted to -- I was
 22    desperate to go to FIT.                I tried to
 23    lose as much weight as I could for
 24    Jeffrey and Ghislaine.
 25           Q.       While you were in South




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                                                                   Page 418
  1                HIGHLY CONFIDENTIAL AEO
  2    Africa, you did some reevaluating of
  3    your life?
  4                    MR. GUIRGUIS:          Objection.
  5           A.       Reevaluating of my life?                I
  6    wouldn't say I spent the holiday
  7    reevaluating my life, no.
  8           Q.       Were you happy when you were
  9    in South Africa?
 10           A.       I was concerned because I
 11    was being asked and being hounded to
 12    find a 18-year-old PA for Jeffrey, and
 13    I knew that was wrong because he would
 14    do exactly the same thing to that girl
 15    that he did to me, and I would not let
 16    him do that to another girl.
 17           Q.       So when you were in South
 18    Africa, you decided to make a break
 19    from Jeffrey.
 20                    MR. GUIRGUIS:          Objection.
 21           A.       I didn't decide to make a
 22    break; I decided to distance myself
 23    from Jeffrey.           Not make a break, but
 24    to distance myself.
 25           Q.       When you came back, you




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                                                                  Page 419
  1                HIGHLY CONFIDENTIAL AEO
  2    moved in with Adam?
  3           A.       That's correct.
  4           Q.       You can't remember the last
  5    time that you saw Jeffrey?
  6                    MR. GUIRGUIS:          Objection.
  7           That's not the testimony.
  8           A.       No.
  9                    MS. MENNINGER:            No further
 10           questions.        Thank you.
 11                    THE WITNESS:          Thank you.
 12                    MS. MENNINGER:            Do you have
 13           any?
 14                    MR. GUIRGUIS:          Give me one
 15           second to confer.
 16                    We have no questions.
 17                    MS. MENNINGER:            Counsel,
 18           we're going to, unfortunately,
 19           before we go off the record, need
 20           to leave the deposition open,
 21           just because there are some email
 22           documents that were referenced
 23           but not produced.            And we can
 24           follow up and have a discussion
 25           with counsel about that.




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                                                                  Page 420
  1               HIGHLY CONFIDENTIAL AEO
  2                    MR. GUIRGUIS:          Okay.      So on
  3           the record -- we can carry on the
  4           conversation, certainly, off the
  5           record.
  6                    But while we're on the
  7           record, I will say that my
  8           understanding is that those
  9           documents were all produced to
 10           you, including all the emails
 11           that you asked her about, and
 12           where are the missing emails, and
 13           she kept saying they'd been
 14           produced to her attorneys.                 My
 15           understanding is that the
 16           attorneys did provide them to
 17           defense counsel.
 18                    MS. MENNINGER:            Well,
 19           there's a current passport that
 20           we know was not produced, there
 21           is an FIT application that we
 22           know was not produced, and I
 23           believe there are emails that
 24           were not produced.
 25                    And I'm happy to have the




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                                                                  Page 421
  1                HIGHLY CONFIDENTIAL AEO
  2           conversation continue off the
  3           record, but I'm telling you those
  4           are some of my recollections.
  5                    MR. GUIRGUIS:          Okay.      And to
  6           be clear so that I'm not
  7           misrepresenting, I see that I
  8           said there were documents and the
  9           emails.       I meant to clarify, as
 10           in the emails I know were
 11           produced.
 12                    I can't speak to any other
 13           documents that you might want to
 14           raise a dispute about.               But with
 15           respect to the emails that you
 16           said, my understanding, at least
 17           as I sit here, is that they were
 18           produced.
 19                    That said, I think we can go
 20           off the record and resolve any
 21           other issues between counsel and
 22           I.
 23                    (Time noted:          6:34 p.m.)
 24
 25




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                                                                  Page 422
  1               HIGHLY CONFIDENTIAL AEO
  2
  3                    ____________________________
                                       SARAH RANSOME
  4
  5                    Signed and subscribed to
                       before me, this_______day
  6                    of ___________ 2017.
  7                    _________________________
                                Notary Public
  8
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                                                                  Page 423
  1
  2                            C E R T I F I C A T E
  3    STATE OF NEW YORK            )
                                    :
  4    COUNTY OF NEW YORK)
  5
  6                    I, Jeremy Richman, a Notary Public
  7    within and for the State of New York, do hereby
  8    certify:
  9                      THAT SARAH RANSOME, the witness
 10    whose deposition is hereinbefore set forth, was
 11    duly sworn by me and that such deposition is a
 12    true record of the testimony given by such
 13    witness.
 14                      I further certify that I am not
 15    related to any of the parties to this action by
 16    blood or marriage; and that I am in no way
 17    interested in the outcome of this matter.
 18                      IN WITNESS WHEREOF, I have hereunto
 19    set my hand this 19th day of February 2017.
 20
 21
 22                                     ________________________
                                                   Jeremy Richman
 23
 24
 25




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  1
  2                                     INDEX
  3                               EXAMINATION BY
  4      MS. MENNINGER                                              7
  5      P.M. Session                                               199
  6
  7                             EXHIBITS MARKED
  8      (Defendant's Exhibit 1, hand-drawn                         128
  9      picture marked for identification.)
 10      (Defendant's Exhibit 2, hand-drawn                         149
 11      picture, was marked for
 12      identification.)
 13      (Defendant's Exhibit 3, affidavit,                         262
 14      was marked for identification.)
 15      (Defendant's Exhibit 4,                                    274
 16      RANSOME_000168, was marked for
 17      identification.)
 18      (Defendant's Exhibit 5, jury trial                         323
 19      demand, was marked for
 20      identification.)
 21      (Defendant's Exhibit 6, Bates                              335
 22      stamped Ransome_000017, was marked
 23      for identification.)
 24      (Defendant's Exhibit 7, Bates                              339
 25      stamped Ransome_000204, was marked




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  1      for identification.)
  2      (Defendant's Exhibit 8, Notice of                          363
  3      Service of Rule 45 Subpoena and
  4      Notice of Deposition of Sarah
  5      Ransome, was marked for
  6      identification.)
  7      (Defendant's Exhibit 8, Bates                              377
  8      stamped RANSOME_000004, was marked
  9      for identification.)
 10      (Defendant's Exhibit 10, Bates                             384
 11      stamped RANSOME_000006, was marked
 12      for identification.)
 13      (Defendant's Exhibit 11, Maureen                           386
 14      Callahan article, was marked for
 15      identification.)
 16      (Defendant's Exhibit 12, website                           389
 17      printout titled How to Apply, was
 18      marked for identification.)
 19      (Defendant's Exhibit 13, Bates                             393
 20      stamped RANSOME_000007 was marked
 21      for identification.)
 22
 23               QUESTIONS INSTRUCTED NOT TO ANSWER
 24      do you have any source of income?                          10
 25      so I'm going to ask you a last                             12




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  1      time:      Do you have any source of
  2      income?
  3      what is your partner's occupation?                         13
  4      and where do your parents live?                            14
  5      Ms. Ransome, there was a question                          15
  6      pending when you took a break with
  7      your lawyers.          Can you please
  8      answer the question.
  9      what is your partner's cell phone                          28
 10      number?
 11      and you're staying where while                             31
 12      you're here?
 13      have you been promised that you                            34
 14      would have counsel to help you
 15      bring a lawsuit against a number of
 16      people?
 17      what's the private legal matter?                           172
 18      what did you talk about with Alan                          184
 19      Dershowitz?
 20      did you sign a common interest                             185
 21      agreement with Jeffrey?
 22      did he do anything in terms of                             199
 23      contacting anyone on your behalf?
 24      what was the specific legal matter                         199
 25      that you were seeking




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  1      representation for?
  2      who prescribed it to you?                                  204
  3      so please tell me how to reach your                        241
  4      stepmother, Linda Ransome.
  5      when did you see that?                                     284
  6      when did you provide them to your                          363
  7      counsel?
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